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     1               UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
     2                      EASTERN DIVISION
     3
           IN RE: NATIONAL                )
     4     PRESCRIPTION                   )   MDL No. 2804
           OPIATE LITIGATION              )
     5     _____________________          )   Case No.
                                          )   1:17-MD-2804
     6                                    )
           THIS DOCUMENT RELATES          )   Hon. Dan A.
     7     TO ALL CASES                   )   Polster
     8
                         TUESDAY, JULY 31, 2018
     9
             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10                   CONFIDENTIALITY REVIEW
    11                              – – –
    12                 Videotaped deposition of Nathan J.
    13    Hartle, held at the offices of Covington &
    14    Burlington, LLP, One City Center, 850 Tenth
    15    Street Northwest, Washington, DC, commencing
    16    at 9:04 a.m., on the above date, before
    17    Carrie A. Campbell, Registered Diplomate
    18    Reporter, Certified Realtime Reporter,
    19    Illinois, California & Texas Certified
    20    Shorthand Reporter, Missouri & Kansas
    21    Certified Court Reporter.
    22                             – – –
                      GOLKOW LITIGATION SERVICES
    23            877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com
    24
    25

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               Laboratories, Actavis LLC, Actavis
    25         Pharma, Inc., f/k/a Watson Pharma

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          VIDEOGRAPHER:
    17          DANIEL HOLMSTOCK,
                Golkow Litigation Services
    18
    19    TRIAL TECHNICIAN:
                COREY SMITH,
    20          Golkow Litigation Services
    21                        – – –
    22
    23
    24
    25

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      1                      VIDEOGRAPHER:       All right.      We
      2            are now on the record.
      3                      My name is Daniel Holmstock.             I
      4            am the videographer for Golkow
      5            Litigation Services.
      6                      Today's date is July 31, 2018.
      7            The time on the video screen is
      8            9:04 a.m.
      9                      This video deposition is being
     10            recorded at the law firm of Covington
     11            & Burling LLP at 850 Tenth Street,
     12            Northwest, in Washington, DC, in the
     13            matter of In Re: National Prescription
     14            Opiate Litigation.         It is pending
     15            before the United States District
     16            Court for the Northern District of
     17            Ohio, Eastern Division.
     18                      The deponent today is Mr. Nate
     19            Hartle.
     20                      Will counsel please introduce
     21            themselves and whom they represent.
     22                      MR. FARRELL:      Paul Farrell on
     23            behalf of the plaintiffs.
     24                      MR. RAFFERTY:       Troy Rafferty on
     25            behalf of the plaintiffs.

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      1                      MR. FULLER:      Mike Fuller on
      2            behalf of plaintiffs.
      3                      MR. SUDDATH:      Tom Suddath on
      4            behalf of AmerisourceBergen.
      5                      MR. BOGLE:      Brandon Bogle on
      6            behalf of the plaintiffs.
      7                      MR. PELINI:      Craig Pelini,
      8            Prescription Supply.
      9                      MR. FAUVRE:      David Fauvre on
     10            behalf of the Endo and Par
     11            Pharmaceutical defendants.
     12                      MR. LOVRIEN:      Chris Lovrien,
     13            Jones Day, on behalf of Walmart.
     14                      MR. DAVISON:      Bill Davison,
     15            Ropes & Gray, on behalf of
     16            Mallinckrodt, LLC, and SpecGx, LLC.
     17                      MS. PETERSEN:       Miranda
     18            Petersen, Williams & Connolly, on
     19            behalf of Cardinal Health, Inc.
     20                      MS. MCNAMARA:       Colleen
     21            McNamara, Williams & Connolly, on
     22            behalf of Cardinal Health, Inc.
     23                      MR. LIVINGSTON:        Scott
     24            Livingston on behalf of HBC.
     25                      MR. O'CROININ:       Conor

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      1            O'Croinin, CVS.
      2                      MS. MONAGHAN:       Meghan Monaghan,
      3            Covington & Burling, on behalf of
      4            McKesson and the witness.
      5                      MS. HENN:     Emily Henn,
      6            Covington & Burling, on behalf of
      7            McKesson and the witness.
      8                      VIDEOGRAPHER:       Via telephone?
      9                      MS. PEDROZA:      This is Monica
     10            Pedroza on behalf of Teva
     11            Pharmaceuticals USA, Inc., Cephalon
     12            Inc., Watson Laboratories, Inc.,
     13            Actavis, LLC, and Actavis Pharma, Inc.
     14                      MR. LAVELLE:      John Lavelle on
     15            behalf of Rite Aid.
     16                      MR. MONTMINY:       Brendan Montminy
     17            on behalf Henry Schein, Inc., and
     18            Henry Schein Medical Systems, Inc.
     19                      MR. AUBEL:      Bill Aubel, Jackson
     20            Kelly, on behalf of Miami-Luken, Inc.
     21                      MR. WEINBERGER:        Pete
     22            Weinberger on behalf of the
     23            plaintiffs.
     24                      VIDEOGRAPHER:       The court
     25            reporter is Carrie Campbell, who will

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      1            now administer the oath to the
      2            witness.
      3

      4                       NATHAN J. HARTLE,
      5    of lawful age, having been first duly sworn
      6    to tell the truth, the whole truth and
      7    nothing but the truth, deposes and says on
      8    behalf of the Plaintiffs, as follows:
      9

     10                      DIRECT EXAMINATION
     11    QUESTIONS BY MR. FARRELL:
     12            Q.        Good morning.
     13            A.        Good morning.
     14            Q.        Please state your name.
     15            A.        My name is Nathan -- I go by
     16    Nate -- John Hartle.
     17            Q.        And what is your occupation,
     18    and who is your employer?
     19            A.        I'm currently a vice president
     20    of regulatory affairs and compliance for
     21    McKesson Corporation.
     22            Q.        How long have you been employed
     23    by McKesson?
     24            A.        Since May of 2014.
     25            Q.        Have you ever had your

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      1    deposition taken before?
      2            A.        20 years ago when I -- when I
      3    worked at a previous employer for a theft
      4    case, investigative.
      5            Q.        So if you'll bear with me,
      6    we're going to do a little bit of paperwork
      7    to start -- to start off.
      8            A.        Okay.
      9            Q.        The first thing is, is are you
     10    aware that today you'll be testifying not as
     11    Nate Hartle but as McKesson Corporation?
     12            A.        I am.
     13                      (McKesson-Hartle Exhibit 1
     14            marked for identification.)
     15    QUESTIONS BY MR. FARRELL:
     16            Q.        I'm going to have marked and
     17    show you McKesson 30(b)(6) Document 1, and
     18    this is the first notice of deposition that
     19    was filed in this case.
     20                      Have you had a chance to review
     21    this document before today?
     22            A.        I do.    I have copies of this.
     23            Q.        And you understand that today
     24    I'll be asking you questions about the
     25    subject matters that are in Exhibit 1, and

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      1    McKesson has been kind enough to designate
      2    you as its spokesman to answer these
      3    questions?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      I understand.
      6                      (McKesson-Hartle Exhibit 2
      7            marked for identification.)
      8    QUESTIONS BY MR. FARRELL:
      9            Q.        There's a second notice.           We'll
     10    have that marked as Exhibit 2, and it's MCK
     11    30(b)(6)_02.
     12                      Have you had a chance to review
     13    this document before today?
     14            A.        I have.
     15            Q.        Now, it's my understanding that
     16    McKesson has designated you to testify on
     17    certain subject matters within this document
     18    but not all.
     19                      Is that your understanding?
     20            A.        Correct.
     21            Q.        And those numbers are numbers
     22    9, 14, 16, 17, 18, 19, 20, 21 and 22.
     23                      Is that your understanding as
     24    well?
     25            A.        Yes.

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      1                      (McKesson-Hartle Exhibit 3
      2            marked for identification.)
      3    QUESTIONS BY MR. FARRELL:
      4            Q.        The next document, just to be
      5    fair, is I'm going to mark as Exhibit 3
      6    McKesson's objections and responses to each
      7    of these subject matters to create the whole
      8    record, if anybody wants to see it.               This
      9    will be McKesson 30(b)(6)_3.
     10                      Have you had a chance to review
     11    this document before today?
     12            A.        I have.
     13            Q.        It's much longer, isn't it?
     14                      (McKesson-Hartle Exhibit 4
     15            marked for identification.)
     16    QUESTIONS BY MR. FARRELL:
     17            Q.        And finally, I'm going to show
     18    you McKesson 30(b)(6)_4, which we've also
     19    labeled as Exhibit 4, which is simply the
     20    redesignation of the date and location and
     21    the subject matters of today's deposition.
     22                      Have you had a chance to review
     23    this document?
     24            A.        I have.
     25            Q.        So that everybody is on the

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      1    same page, what you'll notice is that there
      2    are a number of different Bates stamps that
      3    we'll see throughout the day.             For purposes
      4    of this deposition, what we've done is we've
      5    created a unique and separate Bates stamp
      6    just for your deposition, which can be found
      7    in the top right-hand corner of, I hope, all
      8    of the exhibits today.          And some of them,
      9    start MCK 30(b)(6) and then underscore, and
     10    then the first number you'll see is the
     11    sequential number of exhibits, followed by a
     12    dash and then individual page numbers.
     13                      As we go through later today, I
     14    abandon the normal sequential numbering
     15    system because we're going to bounce around
     16    the timeline a little bit, and instead I use
     17    basically a date indicator in the top
     18    right-hand corner.
     19            A.        Okay.
     20            Q.        Now, that being said for
     21    everybody on the telephone, a lot of these
     22    documents have been produced in this
     23    litigation, and what you'll find, to the best
     24    of my ability, is I've always tried to find
     25    the document that contains the MDL Bates

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      1    stamp in the bottom right-hand corner.
      2    Sometimes it's not been all that successful
      3    because sometimes the document comes from a
      4    prior production and has not yet matriculated
      5    or made its way over to the MDL production.
      6                      But nonetheless, those are the
      7    three different Bates stamp numbering systems
      8    that we're going to come across today, and
      9    when I talk on the record, I'll try to refer
     10    just to the MDL number.
     11                      For the people on the telephone
     12    and the record and then for you and I, it'll
     13    be easiest for us to use the top right-hand
     14    corner.
     15            A.        Okay.
     16            Q.        When did you first learn that
     17    you would be designated as the corporate
     18    witness for McKesson?
     19            A.        I don't know the exact date,
     20    but I believe within the last, say, 30 days
     21    or so.
     22            Q.        Do you know Gary Boggs?
     23            A.        I do know Gary.
     24            Q.        Are you aware that he has been
     25    designated as a 30(b)(6) designee in another

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      1    litigation pending in West Virginia?
      2            A.        I am aware.
      3            Q.        Have you read the deposition of
      4    McKesson from that litigation?
      5            A.        I have.
      6            Q.        Is there anything in that
      7    deposition that you think is wrong or
      8    factually inaccurate?
      9            A.        Not that I can recall.
     10            Q.        Are you prepared, sitting here
     11    today, to adopt or affirm the representations
     12    McKesson made in the West Virginia Attorney
     13    General litigation?
     14                      MS. HENN:     Objection to form.
     15                      THE WITNESS:      Can you ask that
     16            again, please?
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        So it's a little bit of a
     19    Plato's Theory of the Forms right now, but
     20    for all intents and purposes, McKesson is
     21    sitting here in front of me today, and
     22    McKesson was sitting before Mr. Lee Javins
     23    from the West Virginia Attorney General
     24    litigation pending in Boone County several
     25    weeks ago.

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      1                      And so I'm trying to make the
      2    connection that sitting here today McKesson
      3    affirms or adopts all of its testimony from
      4    the West Virginia litigation.
      5                      MS. HENN:     Objection to form.
      6            This witness is here on -- designated
      7            on behalf of McKesson for the topics
      8            you've indicated.
      9                      But you can answer the
     10            question.
     11                      THE WITNESS:      I'm not sure how
     12            to answer that question.
     13    QUESTIONS BY MR. FARRELL:
     14            Q.        Okay.    So the answer is either
     15    you adopt your testimony from the prior
     16    litigation or you choose not to today.
     17                      MS. HENN:     Objection to form.
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        It's okay either way.
     20            A.        What's that?
     21            Q.        It's okay either way.
     22            A.        Yeah.
     23            Q.        It's just a question of whether
     24    or not I'm going to go back through some of
     25    the other subject matters that Gary Boggs

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      1    testified to or whether or not I can rely on
      2    that sworn testimony --
      3            A.        Okay.
      4            Q.        -- to be applicable today.
      5                      MS. HENN:     Objection to form,
      6            and same comment as I made before.
      7                      MR. FARRELL:      So, Counsel,
      8            that's your second speaking objection,
      9            and so I would ask that you keep your
     10            comments from the record.
     11    QUESTIONS BY MR. FARRELL:
     12            Q.        So it's okay if you do not want
     13    to adopt that prior testimony.             We can go
     14    through it today.         You may not have the
     15    authority by McKesson to do so.
     16            A.        Yeah.    Again, I'm not sure how
     17    to answer that question specifically.
     18            Q.        It's not a problem.
     19            A.        Yeah.    Okay.
     20            Q.        Can you tell me what documents
     21    you reviewed to prepare for today's
     22    testimony?
     23                      MS. HENN:     I'm going to object
     24            to that question as calling for
     25            attorney work product and instruct the

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      1            witness not to respond if you're being
      2            asked, as I understand you are, for a
      3            list of documents counsel showed you.
      4    QUESTIONS BY MR. FARRELL:
      5            Q.        Okay.    Have all of the
      6    documents that counsel shared with McKesson
      7    been disclosed in the MDL?
      8                      MS. HENN:     Do you mean to ask
      9            whether the documents Mr. Hartle has
     10            used in preparing for the deposition,
     11            have they been produced?
     12                      MR. FARRELL:      Yes.
     13                      MS. HENN:     I believe that to be
     14            the case, yes.
     15    QUESTIONS BY MR. FARRELL:
     16            Q.        Okay.    So is it fair to say
     17    that everything Mr. Hartle reviewed has
     18    actually been produced in the litigation
     19    today?
     20                      MS. HENN:     That is my
     21            understanding.
     22                      MR. FARRELL:      The reason I ask
     23            is because when I read Mr. Boggs'
     24            testimony, there are references to a
     25            dozen or so documents that he relied

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      1            upon and discussed that have not yet
      2            been disclosed in the MDL.
      3                      Are you aware of any documents
      4            that are pending that have not been
      5            produced?
      6                      MS. HENN:     I know that we're
      7            not complete with our productions, but
      8            I'm not -- I don't know what those
      9            documents -- what documents you're
     10            referring to.
     11                      MR. FARRELL:      So to the extent
     12            that there are future documents that
     13            are produced that are relevant to the
     14            subject matters that are in the
     15            30(b)(6) notices, we reserve our right
     16            to petition the Court for good cause
     17            to extend or continue this deposition.
     18                      MS. HENN:     I note your
     19            reservation of rights.           We may
     20            disagree on the ability of plaintiffs
     21            to continue this deposition, but let's
     22            continue.
     23    QUESTIONS BY MR. FARRELL:
     24            Q.        Other than the documents
     25    provided by counsel to you in preparation for

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      1    this deposition, did you on your own review
      2    any documents?
      3            A.        Yes, I reviewed a handful of
      4    documents that are standard with our program.
      5            Q.        Okay.    Can you tell me which
      6    ones they are?
      7            A.        Can I ask a clarifying
      8    question?      Can you repeat -- do the documents
      9    that had already -- documents that haven't
     10    been produced?        Anything in addition to
     11    what --
     12            Q.        That would be a swell place to
     13    start.
     14            A.        You know, as I think about
     15    things that I've reviewed, it's standard
     16    operating manuals and procedures, and I think
     17    likely all that -- that stuff is part of what
     18    was produced, so I don't --
     19            Q.        That's actually not a very fair
     20    way to place it because you probably haven't
     21    studied the production list yet from
     22    McKesson.
     23            A.        No.   No.
     24            Q.        So let's talk about it in a
     25    different context.

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      1            A.        Okay.
      2            Q.        I'm assuming at some point in
      3    time your counsel provided you some documents
      4    that they culled through based upon the legal
      5    documents, and that, arguably, has been the
      6    subject of some debate between the lawyers on
      7    whether that list is producible or not.
      8                      Aside from that, did you
      9    independently go and review anything on your
     10    own, document-wise, to prepare for today?
     11            A.        Document-wise?       You know, I
     12    looked at files of mine, you know, just, you
     13    know, what I -- what I have in my own, you
     14    know, storage on things that I've done or
     15    projects that I've been on and reviewed just
     16    a variety of different pieces of information
     17    that personally I have.
     18            Q.        Where would those files be
     19    located?
     20            A.        On my computer, whether it be
     21    e-mails or in documents on my standard
     22    storage on my computer.
     23            Q.        Would it be documents from
     24    MCK.NET?
     25            A.        I don't think there was

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      1    anything stored on MCK.NET, our intra -- the
      2    company's intra site.
      3            Q.        I just wanted to say MCK.NET.
      4            A.        MCK.NET, yeah.
      5            Q.        Did you review documents that
      6    were on your personal computer -- that's a
      7    bad question.
      8                      Did you review documents that
      9    are located on your hard drive of your
     10    computer?
     11            A.        My work computer?
     12            Q.        Yes.
     13            A.        Yes.
     14            Q.        Would those documents also have
     15    been on the server?
     16            A.        Could you clarify "server"?
     17            Q.        Yeah.    So in general, when you
     18    have a network of computers, sometimes
     19    there's a central repository where
     20    everybody's computer can pull up files from,
     21    and then there's also on your own computer a
     22    hard drive that nobody else can look at,
     23    except you, from your computer station.
     24            A.        I understand that, sir, but
     25    I -- you know, in terms of the shared

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      1    repository that we use in regulatory affairs,
      2    yes, there's documents stored on there that
      3    I've reviewed.
      4            Q.        What about documents on your
      5    personal hard drive on your office computer?
      6            A.        Yes, I store documents on my
      7    personal office computer.
      8            Q.        And those documents you
      9    reviewed prior to today's deposition?
     10                      MS. HENN:     Objection to form.
     11                      THE WITNESS:      There are some
     12            documents.
     13    QUESTIONS BY MR. FARRELL:
     14            Q.        Did you rely on any of those
     15    documents or did any of those documents
     16    refresh your recollection about the subject
     17    matters of today's deposition?
     18            A.        I used --
     19                      MS. HENN:     Objection to form.
     20                      Go ahead.
     21                      THE WITNESS:      I used them to
     22            refresh.
     23    QUESTIONS BY MR. FARRELL:
     24            Q.        Okay.    How about e-mails?         Did
     25    you go and review any old e-mails?

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      1            A.        I may have looked at a few
      2    e-mails.
      3            Q.        Do any of them particularly
      4    stand out?
      5            A.        No.
      6            Q.        Who would the e-mails have come
      7    from that you were reviewing?
      8                      MS. HENN:     Objection to form.
      9                      THE WITNESS:      Could be a
     10            variety of people.         I don't recall,
     11            you know, specific e-mails that I
     12            looked at.      Could be from my team or
     13            part of a project or...
     14    QUESTIONS BY MR. FARRELL:
     15            Q.        And I'm sorry if I asked this
     16    before.      How long have you been with
     17    McKesson?
     18            A.        Since 2014.      May of 2014.
     19            Q.        You understand that some of the
     20    subject matters today may predate 2014?
     21            A.        I do understand that.
     22            Q.        Other than documents provided
     23    by your lawyer, where did you find documents
     24    that predated 2014?
     25                      MS. HENN:     Objection to form.

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      1                      THE WITNESS:      They would be on
      2            our shared drive or our space where
      3            regulatory affairs -- it's called the
      4            R drive.      That's where we would share
      5            information.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Okay.    Other than the R drive,
      8    where else would we find those documents?
      9                      MS. HENN:     Objection to form.
     10                      THE WITNESS:      I'm not sure -- I
     11            don't believe I accessed anything else
     12            outside of the hard drive.            I know
     13            there's other sites, a share point
     14            site in the past, but I believe mine
     15            were all from the R drive.
     16    QUESTIONS BY MR. FARRELL:
     17            Q.        Have you reviewed any documents
     18    or seen any documents that predate 2006?
     19            A.        I have.
     20            Q.        And did you -- where did those
     21    documents come from?
     22                      I'll make it easier.         Did those
     23    documents come from the lawyers?
     24            A.        I have some in the -- the -- my
     25    preparation over the past few days, but also

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      1    I do have documents, as I joined McKesson,
      2    that I reviewed and had stored either on my
      3    personal computer, on my work computer, or
      4    the R drive that predate 2006.
      5            Q.        All right.      So we're going to
      6    jump into some topics.
      7            A.        Okay.
      8            Q.        Have you read the Masters
      9    Pharmaceutical case?
     10            A.        Not for a while.        I read it
     11    when it first came out, you know.
     12            Q.        That was June of 2017.
     13                      So when I start asking
     14    questions, I'm going to do my very best to
     15    keep envisioning McKesson's logo sitting in
     16    front of me instead of Nate Hartle.
     17            A.        Okay.
     18            Q.        So let me ask a different way.
     19                      Is McKesson aware of the
     20    publishing of the Masters Pharmaceutical
     21    case?
     22                      MS. HENN:     Objection to form.
     23                      THE WITNESS:      We are.
     24    QUESTIONS BY MR. FARRELL:
     25            Q.        You're aware that in Masters

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      1    Pharmaceutical there was a discussion of the
      2    reporting requirement?
      3            A.        I am.
      4            Q.        And does McKesson acknowledge
      5    that is the law in the United States?
      6                      MS. HENN:     Objection to form.
      7                      THE WITNESS:      Could you ask
      8            that question again, please?             Do I --
      9    QUESTIONS BY MR. FARRELL:
     10            Q.        Sure.
     11                      I'm jumping out of order a
     12    little bit, but I'm going to see if I can
     13    actually grab the folder for you.
     14                      We're not going to premark this
     15    because that will absolutely mess up my
     16    numbering system, but the top right-hand
     17    corner it's Bates stamped 2017_06_30.
     18                      And I apologize for the
     19    flopping of the documents across the big
     20    table.
     21                      This is Masters Pharmaceutical.
     22    Has McKesson read this document?
     23                      MS. HENN:     Objection to form.
     24                      THE WITNESS:      I believe that
     25            several have read this document.

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        Have you read this document in
      3    preparation for today's deposition?
      4            A.        Did I have it in the past?
      5            Q.        No.
      6                      In preparation for today's
      7    deposition, have you read this as McKesson's
      8    corporate designee?
      9            A.        I did not read this specific
     10    right before the deposition.
     11            Q.        So it's not -- it's not a
     12    memory contest --
     13            A.        Right.
     14            Q.        -- and that's why I brought the
     15    documents --
     16            A.        Right.
     17            Q.        -- so that -- so that we can
     18    talk about some of the subject matters.
     19                      The first thing I'd like you to
     20    do is turn to the Bates stamp page 7.                And
     21    you'll notice that there are two columns, and
     22    in the bottom right-hand corner the paragraph
     23    heading number 2.
     24                      Do you see that?
     25            A.        Yes.

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      1            Q.        And midway down through, you'll
      2    see that in the parentheses it says the
      3    "reporting requirement."
      4            A.        I see that.
      5            Q.        Do you see it?
      6            A.        I do.
      7            Q.        And then immediately after
      8    that, it describes what the reporting
      9    requirement is.        And I don't know if you do
     10    better reading it aloud or reading it to
     11    yourself.
     12                      Would you like me to read it,
     13    or would you like to read it?
     14            A.        I can read it.
     15            Q.        All right.      Starting with "the
     16    reporting requirement is a relatively modest
     17    one," will you finish the sentence?
     18            A.        I read that sentence.
     19            Q.        Okay.    Now, will you read it
     20    aloud?
     21            A.        "It requires only that a
     22    distributor provide basic information about
     23    certain orders to DEA so that DEA
     24    investigators in the field can aggregate
     25    reports from every point along the legally

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      1    regulated supply chain and use the
      2    information to ferret out potentially illegal
      3    activity."
      4            Q.        Does McKesson acknowledge that
      5    it has a duty under the reporting
      6    requirement?
      7                      MS. HENN:     Objection to form.
      8                      THE WITNESS:      Acknowledge that
      9            we -- we, as part of the designing and
     10            operating the suspicious order system,
     11            have to report suspicious orders.
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        That wasn't my question.
     14                      My question is:        Does McKesson
     15    acknowledge the reporting requirement, as you
     16    just read aloud, is a duty owed by McKesson
     17    under the federal regulations and United
     18    States Code?
     19                      MS. HENN:     Objection to form.
     20                      THE WITNESS:      And it's our
     21            responsibility to report suspicious
     22            orders.
     23    QUESTIONS BY MR. FARRELL:
     24            Q.        So the answer to my question is
     25    yes --

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      1            A.        Yes.
      2            Q.        -- no, or I don't know.
      3                      MS. HENN:     Objection to form.
      4                      THE WITNESS:      It is our -- yes.
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        Okay.    Now, I want you to go
      7    down, and if you actually flip the page,
      8    we'll cheat to the end, and it's the end of
      9    the first sentence in the top left-hand
     10    corner.      In parentheses it says, "The
     11    shipping requirement."
     12                      Do you see that?
     13            A.        Where am I looking again?
     14    Sorry.
     15            Q.        Very top left-hand corner
     16    there's a --
     17            A.        Okay.    Shipping requirement.          I
     18    see that.
     19            Q.        All right.      Now what we're
     20    going to do is go to the beginning of that
     21    sentence on the previous page, and it's the
     22    last full sentence.         It starts with "once a
     23    distributor has."
     24                      Do you see that sentence?
     25            A.        I see that.

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      1            Q.        Now I'm going to give you a
      2    chance to read it without -- and digest it
      3    for a second.
      4            A.        I've read that.
      5            Q.        All right.      Now, can you read
      6    it aloud for the record?
      7            A.        "Once a distributor has
      8    reported a suspicious order, it must make one
      9    of two choices, decline to ship the order or
     10    conduct some due diligence, and if it is able
     11    to determine that the order is not likely to
     12    be diverted into illegal channels, ship the
     13    order."
     14            Q.        Does McKesson acknowledge that
     15    the shipping requirement is a duty it owes
     16    under the United States Code and the Code of
     17    Federal Regulations?
     18                      MS. HENN:     Objection to form.
     19                      THE WITNESS:      Yes.
     20                      (McKesson-Hartle Exhibit 5
     21            marked for identification.)
     22    QUESTIONS BY MR. FARRELL:
     23            Q.        We'll come back to this later.
     24                      All right.      The next document
     25    we're going to reference is MCK 30(b)(6)_5.

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      1    And so to make this easy so I don't have to
      2    say all those letters and numbers, as we move
      3    forward I'm just going to refer to it exhibit
      4    such-and-such.
      5            A.        Okay.
      6            Q.        And when I do, we're talking
      7    about the exhibit for this deposition.
      8                      I'm going to represent to you
      9    that there are four pages to this exhibit,
     10    that you won't find this exhibit anywhere on
     11    the Internet because I made them myself.                 I'm
     12    going to give you a second to flip through
     13    them, and what I'm going to represent to you
     14    is that these are four different provisions
     15    from four different United States Code
     16    provisions.       So I'll give you a second to
     17    review.
     18            A.        Okay.
     19            Q.        So the first thing I want you
     20    to take note of on Exhibit 5, page 1, is the
     21    top left-hand corner, which is the great seal
     22    of our United States Congress.
     23                      And if you look under the
     24    United States Code, Title 21, for food and
     25    drugs, under Chapter 13, Drug Abuse

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      1    Prevention and Control, Subchapter 1, Control
      2    and Enforcement, Part A, Introductory
      3    Provisions, this is the beginning of the
      4    Controlled Substances Act.
      5                      McKesson is aware of and
      6    acknowledges that its role in the chain of
      7    distribution of opioids is governed by the
      8    Controlled Substances Act, agreed?
      9                      MS. HENN:     Objection to form.
     10                      THE WITNESS:      Yes.
     11    QUESTIONS BY MR. FARRELL:
     12            Q.        Now, I'm going to have you look
     13    down all the way at all those letters and
     14    numbers at the very bottom, Public Law
     15    91-513, Title 2.        And the date there is
     16    October 27, 1970.
     17                      McKesson is aware that the
     18    Controlled Substances Act has been in force
     19    and effect since 1970, correct?
     20                      MS. HENN:     Objection to form.
     21                      THE WITNESS:      Correct.
     22    QUESTIONS BY MR. FARRELL:
     23            Q.        So Section 801, which is on the
     24    first page, is Congressional findings and
     25    declarations regarding controlled substances.

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      1                      Do you see that?
      2            A.        I do.
      3            Q.        And it says, "The Congress
      4    agrees makes the following findings and
      5    declarations."
      6                      And to be fair, paragraph 1,
      7    will you read it aloud?
      8            A.        "Many of the drugs included
      9    within this subchapter have a useful and
     10    legitimate medical purpose and are necessary
     11    to maintain the health and general welfare of
     12    the American people."
     13            Q.        Does McKesson acknowledge and
     14    agree with that finding?
     15                      MS. HENN:     Objection to form.
     16                      THE WITNESS:      Yes.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        Now, will you read Section 2
     19    aloud, please?
     20            A.        "The illegal importation,
     21    manufacture, distribution and possession and
     22    improper use of controlled substances have
     23    substantially and detrimentally effect --
     24    have a substantial and detrimental effect on
     25    the health and general welfare of the

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      1    American people."
      2            Q.        Does McKesson acknowledge and
      3    agree with those findings?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      Yes.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        So you'll notice in paragraph 2
      8    it includes distribution, correct?
      9            A.        Correct.
     10            Q.        And McKesson is engaged in the
     11    distribution business, agreed?
     12            A.        We are.
     13            Q.        And that if they do not follow
     14    the law as provided by the US code and the
     15    Code of Federal Regulations, it has a
     16    substantial and detrimental effect on the
     17    health and general welfare of the American
     18    people, agreed?
     19                      MS. HENN:     Objection to form.
     20                      THE WITNESS:      Could you restate
     21            that question for me, please?
     22    QUESTIONS BY MR. FARRELL:
     23            Q.        Yeah.
     24                      You agree with paragraph 2 --
     25            A.        Right.

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      1            Q.        -- as McKesson's
      2    representative, correct?
      3            A.        Correct.
      4            Q.        And what it says is that the
      5    illegal, and one of the words is
      6    distribution, of controlled substances has a
      7    substantial and detrimental effect on the
      8    health and general welfare of the American
      9    people.
     10                      I'm asking you if McKesson
     11    agrees and acknowledges with this finding by
     12    Congress in 1970.
     13                      MS. HENN:     Objection to form.
     14                      THE WITNESS:      Yes, that the
     15            illegal distribution can -- could
     16            potentially have an impact on the
     17            American --
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        Well, it doesn't say
     20    "potential" in paragraph 2, does it?
     21            A.        It doesn't.
     22            Q.        It says that if you break the
     23    law, it has a substantial and detrimental
     24    effect on the health and general welfare of
     25    the American people.

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      1            A.        That's what it says, correct.
      2            Q.        Does McKesson agree and
      3    acknowledge that finding?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      Yes.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Now, if you flip to page 2,
      8    this is section A 12 of the Controlled
      9    Substances Act, and what it says is it places
     10    drugs into one of several categories.
     11                      Is McKesson aware of the
     12    scheduling of controlled substances?
     13            A.        We are.
     14            Q.        Okay.    And what we're dealing
     15    with in this litigation primarily today are
     16    Schedule II drugs, correct?
     17            A.        Correct.
     18            Q.        Now, there was a period of time
     19    when certain hydrocodone combination products
     20    were Schedule III, but they've since been
     21    reclassified as Schedule II, agreed?
     22            A.        Agreed.
     23            Q.        And McKesson picked up a book
     24    of business when that happened on the HCPs,
     25    agreed?

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      1                      MS. HENN:     Objection to form.
      2                      THE WITNESS:      Can you rephrase
      3            the book of business and the question
      4            a little bit?
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        Yeah, that was a little too
      7    country.
      8                      Is McKesson aware that its
      9    sales of hydrocodone combination products
     10    rose following the reclassification of those
     11    opioids from Schedule III to Schedule II?
     12            A.        Yes.
     13            Q.        So nonetheless, when we're
     14    talking about these products, I'm referencing
     15    Schedule II for today.
     16            A.        Understood.
     17            Q.        So the Schedule II has a
     18    definition, does it not, under the United
     19    States Code?
     20            A.        It does.
     21            Q.        There's three aspects to it.
     22                      Do you see those three aspects?
     23            A.        I do.
     24            Q.        Could you read aspect A?
     25            A.        "The drug or other substance

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      1    has a high potential for abuse."
      2            Q.        McKesson is aware since 1970
      3    that it was engaging in business of
      4    distributing Schedule II controlled
      5    substances which have a high potential for
      6    abuse, agreed?
      7            A.        Agreed.
      8            Q.        And you agree that the opioids,
      9    whether they're Schedule II or formerly
     10    Schedule III, are drugs that have a high
     11    potential for abuse?
     12            A.        Agree.
     13            Q.        McKesson knows this?
     14            A.        We do.
     15            Q.        And McKesson has known this
     16    from the very beginning of their decision to
     17    distribute controlled substances?
     18            A.        Agreed.
     19            Q.        Would you read paragraph B,
     20    please?
     21            A.        "The drug or other substance
     22    has a currently accepted medical use and
     23    treatment in the United States or a currently
     24    accept medical use with severe restrictions."
     25            Q.        Does McKesson agree and

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      1    acknowledge with this statement from
      2    Congress?
      3                      MS. HENN:     Objection to form.
      4                      THE WITNESS:      Yes.
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        Now, read paragraph C, please.
      7            A.        "Abuse of a drug or other
      8    substances may lead to severe psychological
      9    or physical dependence."
     10            Q.        Does McKesson agree and
     11    acknowledge this finding?
     12                      MS. HENN:     Objection to form.
     13                      THE WITNESS:      Yes.
     14    QUESTIONS BY MR. FARRELL:
     15            Q.        So just to be clear, when we're
     16    talking about controlled substances in this
     17    litigation, we're talking about opiates and
     18    opioids, agreed?
     19            A.        Agreed.
     20            Q.        And what these are, are these
     21    are derivatives of opium in the form of a
     22    pill, agreed?
     23                      MS. HENN:     Objection to form.
     24                      THE WITNESS:      It's multiple
     25            formulations but, yes.

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        What we start with is we start
      3    with the poppy plant, agreed?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      Agreed.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Well -- and it's okay if -- I'm
      8    just trying to figure out what McKesson
      9    knows.
     10                      McKesson distributes pills from
     11    a manufacturer to pharmacies.             That's what
     12    they do, yes?
     13            A.        Correct.
     14            Q.        The pills that you're
     15    distributing, you're aware they originally
     16    come from the poppy plant?
     17                      MS. HENN:     Objection to form.
     18            Outside the scope.
     19                      THE WITNESS:      I'm not an expert
     20            in the medical field and design, but I
     21            understand that, yes.
     22    QUESTIONS BY MR. FARRELL:
     23            Q.        Does McKesson acknowledge or
     24    appreciate that what they're selling are
     25    opium pills?

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      1                      MS. HENN:     Objection to form.
      2                      THE WITNESS:      We understand
      3            how -- what's in the pills, so, yes.
      4    QUESTIONS BY MR. FARRELL:
      5            Q.        Okay.    So the opium can be
      6    manipulated by the manufacturers to be
      7    opiate-like?       Opiate-like, right?         There's
      8    opiates and opioid, or opiate-like, and
      9    that's how you get hydrocodone and oxycodone
     10    and all the different types of opium pills,
     11    agreed?
     12            A.        Correct.
     13                      MS. HENN:     Objection to form.
     14    QUESTIONS BY MR. FARRELL:
     15            Q.        So when I say "opium pills,"
     16    what I'm talking about is the big
     17    classification of all of these pills derived
     18    from the poppy plant.
     19                      Is that fair?
     20            A.        Understood.
     21            Q.        All right.      And when we talk
     22    about any of the individual pills, whether
     23    it's hydrocodone or oxycodone, those all fall
     24    within the opium pill umbrella, right?
     25                      MS. HENN:     Objection to form.

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      1                      THE WITNESS:      Yes.
      2    QUESTIONS BY MR. FARRELL:
      3            Q.        So when McKesson is
      4    distributing opium pills, it knows and
      5    understands that these pills have a high
      6    potential for abuse?
      7            A.        We do.
      8            Q.        Now, they also -- you also --
      9    McKesson understands that these pills do have
     10    an accepted medical use in treatment, but
     11    they have severe restrictions, agreed?
     12                      MS. HENN:     Objection to form.
     13                      THE WITNESS:      We understand the
     14            language, yes.
     15    QUESTIONS BY MR. FARRELL:
     16            Q.        You understand the language of
     17    paragraph B?
     18            A.        Right.
     19            Q.        Opium pills have a place in
     20    current medical practice?
     21            A.        Yes.
     22            Q.        But abusing opium pills may
     23    lead to severe psychological and physical
     24    dependence?
     25            A.        Correct.

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      1            Q.        McKesson understands and
      2    acknowledges this?
      3            A.        Yes.
      4            Q.        And that's why the unlawful
      5    distribution of these opium pills, relating
      6    back to page 1, has a substantial and
      7    detrimental effect on the health and general
      8    welfare of the American people.
      9                      Does McKesson acknowledge that?
     10                      MS. HENN:     Objection to form.
     11                      THE WITNESS:      Yes.
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        Now we're going to flip to
     14    page 3, which is Section 821, rules and
     15    regulations.
     16                      Will you please read this
     17    aloud?
     18            A.        "The Attorney General is
     19    authorized to promulgate rules and
     20    regulations and to charge reasonable fees
     21    relating to the registration and control of
     22    the manufacture, distribution and dispensing
     23    of controlled substances and to listed
     24    chemicals."
     25            Q.        All right.      Do you see the date

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      1    of this?
      2            A.        I do.
      3            Q.        What is the date?
      4            A.        October 27, 1970.
      5            Q.        Does McKesson acknowledge that
      6    Congress gave the United States Attorney
      7    General the authority to promulgate rules
      8    regarding the distribution of opium pills?
      9                      MS. HENN:     Objection to form.
     10                      THE WITNESS:      Yes.
     11    QUESTIONS BY MR. FARRELL:
     12            Q.        Now let's flip to the next
     13    page.    This is the -- this is where we'll be
     14    spending most of our time today.              This is
     15    page 4, Section 823.
     16                      This is from the United States
     17    Code, and it includes, as you'll see down in
     18    paragraph 1, what Congress has said is
     19    McKesson's duty.        I'd like you to first read
     20    that to yourself.
     21            A.        I've read it.
     22            Q.        All right.      Does McKesson
     23    acknowledge that it has a duty to maintain
     24    effective control against diversion of opium
     25    pills as mandated by Congress?

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      1                      MS. HENN:     Objection to the
      2            form.
      3                      THE WITNESS:      We do.
      4                      (McKesson-Hartle Exhibit 6
      5            marked for identification.)
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Now this is a much bigger
      8    document, but I promise we won't go through
      9    every page.
     10                      This is going to be marked as
     11    Exhibit 6 in the bottom right-hand corner,
     12    and in the top right-hand corner it's MCK
     13    30(b)(6)_6.
     14                      For our fans following on the
     15    telephone, this is the Congressional history
     16    that can be found at 91-1444.             It is Public
     17    Law 91-513.
     18                      Do you remember when we were
     19    looking at the United States Code and it
     20    referenced Public Law 91-513 from Exhibit 5?
     21            A.        Yes.
     22            Q.        This is that document, I'll
     23    represent to you.
     24            A.        Okay.
     25            Q.        And what this is, is this is

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      1    the Congressional history of all those codes
      2    that we just walked through.             And I'm not
      3    going to ask you to read the entire document
      4    because I've highlighted certain sections for
      5    you.
      6                      The first thing I'd like you to
      7    do is I'd like for you to turn to Bates stamp
      8    page 5.      And while you read the document to
      9    yourself, I'm going to read it out loud to
     10    save you some time.
     11            A.        Okay.
     12            Q.        Under Title 2, Control and
     13    Enforcement, it states, "The bill provides
     14    for control by the Justice Department of
     15    problems related to drug abuse through
     16    registration of manufacturers, wholesalers,
     17    retailers and all others in the legitimate
     18    distribution chain and makes transactions
     19    outside the legitimate distribution chain
     20    illegal."
     21                      Does McKesson acknowledge this
     22    finding from Congress?
     23                      MS. HENN:     Objection to form.
     24                      THE WITNESS:      Yes.
     25

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        I'm going to have you to turn
      3    to Bates stamp page 8.          And again, these are
      4    my highlights.        Congress didn't highlight
      5    this in 1970; Paul Junior did.             So while you
      6    read it, I'm going to read it out loud.
      7                      "The bill was designed to
      8    improve the administration and regulation of
      9    the manufacturing, distribution and
     10    dispensing of controlled substances by
     11    providing for a closed system of drug
     12    distribution for legitimate handlers of such
     13    drugs.     Such a closed system should
     14    significantly reduce the widespread diversion
     15    of these drugs out of the legitimate channels
     16    into the illicit market, while at the same
     17    time providing the legitimate drug industry
     18    with a unified approach to narcotic and
     19    dangerous drug control."
     20                      Does McKesson acknowledge the
     21    truth of this finding by Congress?
     22                      MS. HENN:     Objection to form.
     23                      THE WITNESS:      Yes.
     24    QUESTIONS BY MR. FARRELL:
     25            Q.        So let's just talk about this

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      1    for a minute.
      2                      McKesson understands that in
      3    1970 Congress created a closed system,
      4    agreed?
      5            A.        Agree.
      6            Q.        What a closed system means is
      7    that laissez-faire economics don't apply,
      8    agreed?
      9                      MS. HENN:     Objection to form.
     10                      THE WITNESS:      Have to refresh
     11            my memory on laissez-faire economics.
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        It's just a fancy French word
     14    for "hands off."        The government is
     15    intervening in the marketplace of the chain
     16    of distribution for opium pills, agreed?
     17            A.        For controlled substances.
     18            Q.        Well, for all controlled
     19    substances --
     20            A.        Correct.
     21            Q.        -- but today we're talking
     22    about opium pills.
     23            A.        Understood.
     24            Q.        So the controlled substances
     25    are in a chain of distribution that are

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      1    closed off to the rest of the marketplace.
      2    McKesson acknowledges that?
      3                      MS. HENN:     Objection to form.
      4                      THE WITNESS:      Correct.      It's a
      5            closed system.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        And in order to participate in
      8    the closed system, you have to be one of the
      9    select few that gets a registration
     10    certificate from the DEA, agreed?
     11            A.        Agreed.
     12            Q.        And the reason Congress did
     13    this was to reduce diversion.             Does McKesson
     14    acknowledge that?
     15                      MS. HENN:     Objection to form.
     16                      THE WITNESS:      Yes, I believe
     17            that was the overall intent.
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        So it's creating rules to
     20    prevent diversion to the best of their
     21    ability.     McKesson acknowledges that fact?
     22                      MS. HENN:     Objection to form.
     23                      THE WITNESS:      Yes.
     24    QUESTIONS BY MR. FARRELL:
     25            Q.        Because if McKesson doesn't

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      1    follow the law, then diversion is likely.
      2    You agree with that statement?
      3                      MS. HENN:     Objection to form.
      4                      THE WITNESS:      I don't know if
      5            I'd say -- always characterize it as
      6            likely all the time, but diversion can
      7            happen.
      8    QUESTIONS BY MR. FARRELL:
      9            Q.        Okay.    Well, in this specific
     10    provision, the United States Congress passed
     11    a law to close the system of distribution and
     12    enact laws to reduce the widespread diversion
     13    of these drugs.        You agree with that?          That's
     14    the purpose of this law?
     15                      MS. HENN:     Objection to form.
     16                      THE WITNESS:      Yes.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        So the idea here is that -- to
     19    close the system of distribution so that we
     20    keep these dangerous opium pills inside the
     21    legitimate market for medical care, agreed?
     22            A.        Agreed.
     23            Q.        And that's why we have these
     24    laws enacted, so that we can do our best to
     25    keep these drugs to the patients that need

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      1    them, agreed?
      2            A.        Agreed.
      3            Q.        And if you don't follow those
      4    laws, then what happens is we have diversion
      5    into the illicit market?
      6                      MS. HENN:     Objection to form.
      7                      THE WITNESS:      That can happen
      8            if you don't follow those laws.
      9    QUESTIONS BY MR. FARRELL:
     10            Q.        And that's the reason Congress
     11    created the laws as stated in this finding?
     12                      MS. HENN:     Objection to form.
     13                      THE WITNESS:      Correct.
     14    QUESTIONS BY MR. FARRELL:
     15            Q.        Next I'm going to have you flip
     16    to page 11.       And I just highlighted one
     17    sentence in here.         And it says, "The price
     18    for participation in this traffic," which is
     19    illicit drug trafficking, "should be
     20    prohibitive."
     21                      Do you see that sentence?
     22            A.        I see that.
     23            Q.        Does McKesson acknowledge that?
     24                      MS. HENN:     Objection to form.
     25

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        Does McKesson acknowledge that
      3    sentence to be true?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      Yes.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        It just makes sense, right?            If
      8    you're going to punish somebody and the
      9    punishment isn't very severe, they're likely
     10    to what?
     11                      MS. HENN:     Objection to form.
     12                      THE WITNESS:      To do it again.
     13    QUESTIONS BY MR. FARRELL:
     14            Q.        Why?
     15            A.        There's no penalty or
     16    accountability.
     17            Q.        And so by making the penalty
     18    prohibitive, what does it do?
     19                      MS. HENN:     Objection to form.
     20                      THE WITNESS:      Could you ask the
     21            question in a -- again?           What --
     22    QUESTIONS BY MR. FARRELL:
     23            Q.        If you make the penalty
     24    prohibitive, then what happens?
     25                      MS. HENN:     Objection to form.

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      1                      MR. MONTMINY:       Objection to
      2            form.     Calls for speculation.          This is
      3            Brandon Montminy for Henry Schein.
      4                      MS. HENN:     And just to note for
      5            everyone's knowledge, many of you know
      6            this, but in the deposition protocol,
      7            one defendant's objection counts for
      8            all defendants, so there's no need to
      9            do depositions {sic} if I'm done them.
     10            But if on the phone you can't hear me,
     11            I can try to speak up.
     12                      MR. FARRELL:      So that means
     13            you're not allowed to object to this
     14            question because Henry Schein objected
     15            to it.
     16                      MS. HENN:     I already did, I'm
     17            afraid to say.        There are two.
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        So back to my original
     20    question.
     21            A.        Yeah, could you put it in
     22    simpler terms in --
     23            Q.        Yeah.    Let me put it --
     24            A.        Just so I know.
     25            Q.        -- in other terms.

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      1            A.        Yeah.
      2            Q.        Let's say that a speeding
      3    ticket is a dollar.         What would happen across
      4    America if a speeding ticket was a dollar?
      5                      MS. HENN:     Objection to form.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        What would happen?
      8            A.        It wouldn't hold the same
      9    weight or it wouldn't -- it may not deter
     10    people from speeding.
     11            Q.        What if the speeding ticket was
     12    a million dollars?         What would that do?
     13                      MS. HENN:     Objection to form.
     14                      THE WITNESS:      I'm just
     15            guessing, but likely people would not
     16            speed.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        Because the penalty would be
     19    prohibitive, agreed?
     20            A.        Agreed.
     21            Q.        Like not to be cute, but
     22    McKesson was fined $13 million in 2008 and
     23    then was fined again in 2017 $150 million.
     24                      Do you think that the second
     25    fine was intended to be more prohibitive than

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      1    the first fine?
      2                      MS. HENN:     Objection to form.
      3                      THE WITNESS:      I believe so.
      4    QUESTIONS BY MR. FARRELL:
      5            Q.        All right.      Now, let's go to
      6    Bates stamp page 26.
      7                      And it says, "Titles 2 and 3 of
      8    the bill deal with law enforcement aspect of
      9    drug abuse and provide authority for the
     10    Department of Justice to keep track of all
     11    drugs subject to abuse, manufactured or
     12    distributed in the United States, in order to
     13    prevent diversion of these drugs from
     14    legitimate channels of commerce."
     15                      Does McKesson acknowledge the
     16    truth of that statement?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      Yes.
     19    QUESTIONS BY MR. FARRELL:
     20            Q.        This is just another reflection
     21    of the US Code that we were reading that
     22    Congress is giving the authority to the
     23    Department of Justice to enact safety rules
     24    in order to prevent the diversion of
     25    controlled substances, including opium pills,

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      1    from legitimate channels into illegitimate
      2    channels.
      3                      Does McKesson acknowledge that?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      Yes.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Flip to page 27, the very next
      8    page.
      9                      It says, "The legislation
     10    provides that all persons engaged in a
     11    legitimate distribution chain involving drugs
     12    included in one of the schedules under the
     13    bill must be registered with the Attorney
     14    General."
     15                      So again, this is bringing full
     16    circle the authority of the Attorney General
     17    and the Department of Justice to promulgate
     18    rules for those that wish to engage in the
     19    closed system of distribution for controlled
     20    substances, and McKesson acknowledges that?
     21                      MS. HENN:     Objection to form.
     22                      THE WITNESS:      Yes.
     23    QUESTIONS BY MR. FARRELL:
     24            Q.        Now flip to page 34.         And I
     25    would like for you to please read that

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      1    provision that's highlighted aloud.
      2            A.        One second.
      3                      "The illegal importation,
      4    manufacture, distribution and possession and
      5    improper use of controlled substances have a
      6    substantial detrimental effect on the
      7    public's health and general welfare."
      8            Q.        Does McKesson acknowledge the
      9    truth of that statement?
     10            A.        Yes.
     11            Q.        So if somebody in the chain of
     12    distribution breaks the law, it has a
     13    substantial detrimental effect on the public
     14    health and general welfare, agreed?
     15                      MS. HENN:     Objection to form.
     16                      THE WITNESS:      It can.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        Now go to page 44.
     19                      Again, this is another
     20    reiteration that Congress authorizes the
     21    Attorney General to "promulgate rules and
     22    regulations and to charge reasonable fees
     23    relating to the registration and control of
     24    the manufacture, distribution and dispensing
     25    of substances covered by the Act."

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      1                      Does McKesson acknowledge the
      2    authority of the Department of Justice and
      3    the Attorney General to do so?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      Yes.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Now flip to page 45, the very
      8    next one.      This is a little bit longer, so
      9    I'm going to give you a chance to read it
     10    real quick.
     11            A.        Okay.    I've read it.
     12            Q.        So I'm going to read it aloud,
     13    and I'm going to stop and ask you some
     14    questions.
     15                      It's -- Section B of
     16    Section 303 states that the Attorney General,
     17    when issuing registrations, is going to
     18    consider several factors, agreed?
     19            A.        Can you say that again?          I was
     20    looking at --
     21            Q.        Yeah, I was trying to summarize
     22    the first four lines.
     23            A.        Yeah.
     24            Q.        Basically, what it really boils
     25    down to is this is a reiteration of the

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      1    findings behind the statute that I showed you
      2    regarding maintaining effective control.
      3                      So if you drop down to where it
      4    says number 1 at the bottom of the page --
      5    can you start reading there?
      6            A.        Yeah.    Okay.
      7            Q.        Will you read that aloud,
      8    please, starting with "maintenance of
      9    effective controls"?
     10            A.        "Maintenance of effective
     11    controls against diversion of particular
     12    controlled substances into other than
     13    legitimate medical, scientific and industrial
     14    channels."
     15            Q.        All right.      So again, what
     16    we're talking about is the enactment of rules
     17    to prevent diversion?
     18            A.        Correct.
     19            Q.        Last factor, factor 5, would
     20    you read that?
     21            A.        "Such other factors as may be
     22    relevant to and consistent with the public
     23    health and safety."
     24            Q.        Does McKesson acknowledge that
     25    Congress gave the Department of Justice the

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      1    authority to promulgate rules which govern
      2    McKesson so that they maintain effective
      3    controls against diversion, and to adopt any
      4    other rule they want that may be relevant and
      5    consistent with public health and safety?
      6                      MS. HENN:     Objection to form.
      7                      THE WITNESS:      Agree.
      8    QUESTIONS BY MR. FARRELL:
      9            Q.        I just want to make sure that
     10    we start off with the premise that the rules
     11    we're about to go through aren't designed
     12    to -- let me ask it in a better way.
     13                      The rules that we're about to
     14    get into, McKesson acknowledges, are designed
     15    with the primary purpose of preventing
     16    diversion?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      Correct.
     19    QUESTIONS BY MR. FARRELL:
     20            Q.        Because diversion impacts
     21    public health and safety, and McKesson
     22    acknowledges that?
     23            A.        Yes.
     24                      MS. HENN:     Objection to form.
     25                      (McKesson-Hartle Exhibit 7

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      1            marked for identification.)
      2    QUESTIONS BY MR. FARRELL:
      3            Q.        The next exhibit we'll have is
      4    marked as Exhibit 7, and correspondingly in
      5    the top right-hand corner it's MCK
      6    30(b)(6)_07-01, and it's just one page.
      7                      Once we get through this
      8    section, we can take a break if you like.
      9                      All right.      So what I'm going
     10    to represent to you is that you will not find
     11    this anywhere on the Internet either because
     12    I made it.      In the top left-hand corner is
     13    the Department of Justice seal, and in the
     14    top right-hand corner is the Drug Enforcement
     15    Administration seal, and in the middle is
     16    where you can trace down the rules that
     17    govern McKesson.
     18                      Does McKesson acknowledge that
     19    Title 21 CFR 1301.74 governs its conduct with
     20    the distribution of controlled substances,
     21    including opium pills?
     22                      MS. HENN:     Objection to form.
     23                      THE WITNESS:      Yes.
     24    QUESTIONS BY MR. FARRELL:
     25            Q.        Part B is what we're going to

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      1    spend the rest of the day on.
      2                      Have you read part B before?
      3            A.        Yes.
      4            Q.        Does McKesson acknowledge that
      5    part B governs its conduct?
      6                      MS. HENN:     Objection to form.
      7                      THE WITNESS:      Yes.
      8    QUESTIONS BY MR. FARRELL:
      9            Q.        Does McKesson acknowledge that
     10    for it to be lawfully carrying out its job of
     11    dispensing controlled substances and opium
     12    pills, it must follow paragraph B?
     13                      MS. HENN:     Objection to form.
     14                      THE WITNESS:      Yes.
     15    QUESTIONS BY MR. FARRELL:
     16            Q.        And if McKesson does not follow
     17    paragraph B, its conduct is illegal?
     18                      MS. HENN:     Objection to form.
     19                      THE WITNESS:      Yes.
     20    QUESTIONS BY MR. FARRELL:
     21            Q.        To make it clear --
     22            A.        Yeah.
     23            Q.        -- if McKesson follows
     24    paragraph B, its conduct is legal?
     25            A.        Correct.

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      1            Q.        And if McKesson does not follow
      2    paragraph B, its conduct is illegal?
      3                      MS. HENN:     Objection to form.
      4                      THE WITNESS:      Correct.
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        And so bringing full circle, we
      7    understand that the purpose of this
      8    regulation, one of them, is the prevention of
      9    diversion, correct?
     10                      MS. HENN:     Objection to form.
     11                      THE WITNESS:      Correct.
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        So if you engage in illegal
     14    conduct and violate paragraph B, the result
     15    of that is diversion?
     16                      MS. HENN:     Objection to form.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        It's the whole reason this law
     19    was enacted?
     20                      MS. HENN:     Objection to form.
     21    QUESTIONS BY MR. FARRELL:
     22            Q.        Does McKesson acknowledge that?
     23            A.        Could you ask the specific
     24    question again?
     25                      MS. HENN:     Objection to form.

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        Yeah, it got very complicated
      3    because it was a compound question with
      4    compound objections.
      5                      Does McKesson acknowledge that
      6    paragraph B that we're looking at here is
      7    intended to prevent diversion?
      8                      MS. HENN:     Objection to form.
      9                      THE WITNESS:      Yes.
     10    QUESTIONS BY MR. FARRELL:
     11            Q.        And that if you follow -- if
     12    McKesson abides by paragraph B, its conduct
     13    is legal and diversion is prevented?
     14                      MS. HENN:     Objection to form.
     15                      THE WITNESS:      Agreed.
     16    QUESTIONS BY MR. FARRELL:
     17            Q.        And if McKesson does not abide
     18    by paragraph B, its conduct is illegal and
     19    the result could be diversion?
     20                      MS. HENN:     Objection to form.
     21                      THE WITNESS:      Agree.     The
     22            result could be diversion.
     23    QUESTIONS BY MR. FARRELL:
     24            Q.        Well, if McKesson is
     25    distributing orders of unusual size, could it

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      1    be anything other than diversion?
      2                      MS. HENN:     Objection to form.
      3                      THE WITNESS:      It could.
      4    QUESTIONS BY MR. FARRELL:
      5            Q.        All right.      Give me some
      6    examples.
      7                      MS. HENN:     Objection to form.
      8                      THE WITNESS:      Maybe the best --
      9            a customer adds, you know -- their
     10            business model changes or they add --
     11            for example, a pharmacy may add
     12            contracts with multiple long-term care
     13            facilities and require that they now
     14            dispense more for legitimate reasons,
     15            so they could order more in that
     16            context.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        So what's the purpose of the
     19    Department of Justice making McKesson follow
     20    paragraph B?
     21                      MS. HENN:     Objection to form.
     22                      THE WITNESS:      Say that again?
     23                      What's the purpose of why we
     24            follow that?       To try to prevent
     25            diversion.

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      1                      MS. HENN:     Mr. Farrell, we've
      2            been going over an hour.           Would this
      3            be a good time for a five-minute
      4            break?
      5                      MR. FARRELL:      Let me close up
      6            this thing and then we'll get there.
      7                      MS. HENN:     All right.
      8                      MR. FARRELL:      Is that okay?
      9                      MS. HENN:     If it's all right
     10            with the witness.
     11                      THE WITNESS:      It's okay.
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        Okay.    At the bottom of
     14    Exhibit 7, do you see the numbers in the
     15    brackets?
     16            A.        I do.
     17            Q.        36 FR 7778.      Do you know what
     18    that means?
     19            A.        I don't know off the top of my
     20    head.
     21            Q.        What about the letters and
     22    numbers after that; do you know what that
     23    means?
     24            A.        The date?
     25            Q.        Yes.

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      1            A.        Of course I know the date.
      2            Q.        Yes.
      3                      Does McKesson acknowledge that
      4    21 CFR Section 1301.74 has been in force and
      5    effect since 1971?
      6                      MS. HENN:     Objection to form.
      7                      THE WITNESS:      Yes.
      8                      (McKesson-Hartle Exhibit 8
      9            marked for identification.)
     10    QUESTIONS BY MR. FARRELL:
     11            Q.        Just to make sure, I actually
     12    pulled 36 Federal Register 778.              I'm going to
     13    have it marked as Exhibit 8.
     14                      And I'm not going to ask you to
     15    read the whole thing because I was kind
     16    enough to highlight for you Bates stamp
     17    page 10.
     18                      And this is from 1971, and this
     19    is the document in our United States Archives
     20    which adopts the language that we just read
     21    in 21 CFR 1301.74.
     22                      Does McKesson acknowledge this
     23    is the law and it has been the law since
     24    1971?
     25                      MS. HENN:     Objection to form.

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      1                      THE WITNESS:      Yes.
      2    QUESTIONS BY MR. FARRELL:
      3            Q.        The language that you just read
      4    in paragraph B, is it the same language
      5    that's in the CFR provision that I showed
      6    you?
      7            A.        It's similar.       Not word for
      8    word.
      9            Q.        Okay.    Is there any meaningful
     10    difference?
     11            A.        No.
     12            Q.        You'll acknowledge that that is
     13    the law today as reflected in the 2016
     14    version that we're not going to have marked
     15    but I'm going to show and ask for -- for --
     16    you can just trust me on it if you'd like,
     17    but you acknowledge that in 20 -- it's the
     18    law today, the same?
     19                      MR. SUDDATH:      Objection.
     20    QUESTIONS BY MR. FARRELL:
     21            Q.        Well, and just to be sure, what
     22    I did was I went and ordered the CFR from
     23    every year between 1971 and this year, and I
     24    looked at every single one of them just to
     25    make sure that the law is, and always has

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      1    been, what it says in Masters Pharmaceutical,
      2    including in 1996 when OxyContin was
      3    launched.
      4                      So does McKesson acknowledge
      5    that the CFR provision in McKesson {sic} is
      6    and always has been the law governing
      7    McKesson's conduct since 1971?
      8                      MS. HENN:     Objection to form.
      9                      THE WITNESS:      Yes.
     10    QUESTIONS BY MR. FARRELL:
     11            Q.        I'm sorry.      I misspoke.
     12                      So does McKesson acknowledge
     13    that the CFR provision we cited in the
     14    Masters Pharmaceutical case is and always has
     15    been the law governing McKesson's conduct
     16    since 1971?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      Can I read what
     19            was in the Masters case again?
     20                      (McKesson-Hartle Exhibit 9
     21            marked for identification.)
     22    QUESTIONS BY MR. FARRELL:
     23            Q.        Absolutely.
     24                      And at this point if you hand
     25    it back to me, this'll be a good point for us

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      1    to mark it as Exhibit 9.
      2            A.        So your question again?
      3            Q.        Yeah.
      4                      Does McKesson acknowledge that
      5    the CFR provision cited in Masters
      6    Pharmaceutical case, which is 21 CFR
      7    1301.74 B, is and always has been the law
      8    governing McKesson's conduct since 1971?
      9                      MS. HENN:     Objection to form.
     10                      THE WITNESS:      Yes.
     11                      MR. FARRELL:      And
     12            unfortunately, I'm not going to be
     13            able to get all of my pretty-colored
     14            books on the videotape.
     15                      Let the record reflect that the
     16            office of the Federal Register has a
     17            kaleidoscope of colors that it uses
     18            for the front cover of all of its CFR
     19            booklets.
     20                      And with that, we'll take our
     21            first break.
     22                      VIDEOGRAPHER:       The time is
     23            10:23 a.m.      We're going off the
     24            record.
     25             (Off the record at 10:23 a.m.)

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      1                      VIDEOGRAPHER:       The time is
      2            10:40 a.m., and we're back on the
      3            record.
      4    QUESTIONS BY MR. FARRELL:
      5            Q.        I forgot to warn you before the
      6    break, but during the break, did you have any
      7    meaningful conversations with your counsel
      8    about your testimony?
      9                      MS. HENN:     Objection to form.
     10                      THE WITNESS:      No.
     11    QUESTIONS BY MR. FARRELL:
     12            Q.        Did you talk about your
     13    testimony at all?
     14                      MS. HENN:     Objection to form.
     15                      THE WITNESS:      Not really my
     16            testimony, just --
     17                      MS. HENN:     And I'm just going
     18            to instruct the witness not to divulge
     19            what we talked about.          I don't think
     20            that's an appropriate question.              I
     21            think you got the answer you were
     22            looking for.
     23                      MR. FARRELL:      I think I almost
     24            got the answer I'm looking for.
     25

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        Did you talk to your lawyer
      3    about the substance of your testimony during
      4    the break?
      5                      MS. HENN:     And I'll instruct
      6            the witness not to divulge particulars
      7            of what we talked about.
      8                      But you may answer that
      9            question yes or no.
     10                      THE WITNESS:      Yes.
     11    QUESTIONS BY MR. FARRELL:
     12            Q.        Okay.    What did you talk about?
     13                      MS. HENN:     I'm going to
     14            instruct the witness not to answer
     15            that question as calling for
     16            privileged information.
     17                      MR. FARRELL:      Right.     But the
     18            deposition protocol and the rules
     19            governing this litigation state that
     20            counsel is not allowed to discuss with
     21            the witness the substance of any
     22            testimony during a break.
     23                      And so his answer in the
     24            affirmative indicates that that
     25            occurred, and so I should be allowed

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      1            to inquire about that.
      2                      MS. HENN:     All right.       Well,
      3            let's take a break, and we will
      4            discuss outside and have a privileged
      5            conversation, and we'll see if there's
      6            any answer that he can provide without
      7            divulging privileged information that
      8            I don't believe you're entitled to.
      9                      MR. FARRELL:      Okay.     So you're
     10            going to have a second conversation
     11            during a break about the substance of
     12            his testimony?
     13                      MS. HENN:     No, Counsel, that's
     14            not what's going to happen.            But I'd
     15            like to take a break so that I can
     16            talk to my witness about answering the
     17            question inquiring into discussions
     18            with counsel.
     19                      MR. FARRELL:      Okay.
     20                      MS. HENN:     Thank you.
     21                      VIDEOGRAPHER:       The time is
     22            10:42 a.m.      We're going off the
     23            record.
     24             (Off the record at 10:42 a.m.)
     25                      VIDEOGRAPHER:       The time is

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      1            10:46 a.m.      We're back on the record.
      2                      MR. FARRELL:      So what did you
      3            find out?
      4                      MS. HENN:     Counsel, just to
      5            protect the privilege, I'm just going
      6            to instruct the witness that when he
      7            answered yes to your question and
      8            indicated affirmatively that we'd
      9            talked about the substance of his
     10            testimony, I'm going to ask him to
     11            answer your question and tell you what
     12            he deemed to be the substance of his
     13            testimony, but I'm also going to ask
     14            him not to repeat what I -- my
     15            response.
     16                      So let's do that, and we can
     17            discuss if you're still concerned.
     18                      Okay?
     19                      MR. FARRELL:      Not really.       Let
     20            me make --
     21                      MS. HENN:     Go ahead and ask
     22            your question.
     23                      MR. FARRELL:      Let me make it
     24            even easier.
     25

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        Did anything your lawyer say to
      3    you cause you to change or withdraw anything
      4    you said this morning?
      5            A.        Absolutely not.
      6            Q.        Did anything your lawyer told
      7    you during the break impact or affect your
      8    testimony the rest of the day?
      9            A.        No.
     10            Q.        That's fair enough.
     11            A.        Okay.
     12            Q.        Aside from the statutory duty
     13    and the duty that's in the regulation, does
     14    McKesson acknowledge that it has a general
     15    duty to protect the public against diversion
     16    of controlled substances and opium pills?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      Could you restate
     19            that, please?
     20    QUESTIONS BY MR. FARRELL:
     21            Q.        Does McKesson acknowledge that
     22    it has a general duty to protect the public
     23    against diversion of controlled substances
     24    and opium pills into the illicit market?
     25                      MS. HENN:     Objection to form.

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      1                      THE WITNESS:      Yes, a general
      2            duty as part of our responsibility,
      3            regulatory responsibilities and
      4            general responsibilities.
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        So let's be careful.         I want
      7    to -- the wording sometimes makes a
      8    difference.
      9            A.        Okay.
     10            Q.        Aside from the statute from the
     11    United States Code and the regulations
     12    promulgated by the Department of Justice,
     13    does McKesson acknowledge that it owes a duty
     14    to the general public to prevent diversion of
     15    controlled substances and opium pills into
     16    the illicit market?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      We do feel
     19            strongly about playing a role in
     20            preventing diversion.
     21    QUESTIONS BY MR. FARRELL:
     22            Q.        So the answer needs to be
     23    "yes," "no," or "I don't know."
     24            A.        Yes.
     25                      MS. HENN:     Objection to form.

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        So your answer is, yes, aside
      3    from the statutory and regulatory provisions,
      4    McKesson acknowledges that it owes a duty to
      5    the general public to prevent diversion of
      6    controlled substances and opium pills into
      7    the illicit market?
      8                      MS. HENN:     Objection to form.
      9                      THE WITNESS:      Yes.
     10                      (McKesson-Hartle Exhibit 10
     11            marked for identification.)
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        I'm going to mark what is going
     14    to be Deposition Exhibit 10.             The top
     15    right-hand corner is going to be 1910_01_11.
     16    And I'll show it to you, to counsel, two
     17    extra copies for my new best friends.                And
     18    I'm going to give you a little introduction
     19    to this document before you start flipping
     20    through it.
     21                      The front is the HathiTrust.
     22    Are you familiar with the HathiTrust?
     23            A.        I am not.
     24            Q.        I wasn't either until this
     25    litigation.

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      1                      The HathiTrust is an
      2    organization, nonprofit organization, that
      3    collects public documents and puts them
      4    online.
      5            A.        Okay.
      6            Q.        This one is from December 1910
      7    and January 1911.         That's a long time ago,
      8    isn't it?
      9            A.        That would be a long time ago.
     10            Q.        100 years ago.
     11                      This predates 1970s US Code and
     12    the 1971 Code of Federal Regulations, agreed?
     13            A.        Clearly, yes.
     14            Q.        This is a hearing on -- take a
     15    guess.
     16            A.        Opioids.
     17            Q.        In particular, opium.          And it
     18    was about the importation of opium into
     19    America back in the early turn of the
     20    century.
     21                      McKesson was around back then,
     22    wasn't they?
     23            A.        McKesson was -- has been
     24    around.
     25            Q.        They were around back during

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      1    this time frame, agreed?
      2            A.        Agreed.
      3            Q.        So why do you think I'm
      4    bringing this up?
      5                      MS. HENN:     Objection to form.
      6                      THE WITNESS:      I don't want to
      7            speculate why I think you're bringing
      8            it up.
      9    QUESTIONS BY MR. FARRELL:
     10            Q.        Guess who testified during this
     11    hearing.
     12                      MS. HENN:     Objection to form.
     13                      THE WITNESS:      Don't know.
     14    QUESTIONS BY MR. FARRELL:
     15            Q.        Take a wild guess.
     16                      MS. HENN:     Same objection.
     17                      THE WITNESS:      I don't have
     18            honestly a guess.
     19    QUESTIONS BY MR. FARRELL:
     20            Q.        Mr. McKesson.
     21                      So what I'm going to have you
     22    flip to, is I'm going to have you flip to
     23    page 72.
     24                      Now, without going through the
     25    entire boring history of commerce clause, the

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      1    United States Constitution, I'm just going to
      2    give you a broad statement.
      3                      What this is, is this is
      4    America's first attempt to regulate opium
      5    trafficking in America.           And back then there
      6    was a big debate on whether or not this was
      7    something the federal government can do or
      8    it's something that should be left to the
      9    states.
     10                      So what the federal government
     11    decided to do was pass the Harrison Narcotic
     12    Act.    What that did was it basically taxed
     13    opium as a way for the federal government to
     14    control, and this is a debate about the
     15    taxation on the importation of opium.
     16            A.        Okay.
     17            Q.        Page 72 is the beginning of the
     18    testimony of Mr. McKesson from McKesson &
     19    Robbins, which is the predecessor and when
     20    McKesson Corporation was in the private hands
     21    of the McKesson family.
     22                      You acknowledge that?
     23            A.        Correct.
     24            Q.        I'm going to have you flip to
     25    page 75.     And if you look near the top, one

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      1    of congressmen asks Mr. McKesson about
      2    whether or not he supports this bill.                And
      3    I'm going to give you an opportunity to read
      4    to yourself the provision before I ask you to
      5    read it aloud.
      6            A.        Which specific part do you want
      7    me to start and end at?
      8            Q.        The first time it says
      9    "Mr. McKesson."
     10            A.        Okay.
     11            Q.        He's asked about whether or not
     12    he's in favor of the bill.
     13                      Do you see that?
     14            A.        I do.
     15            Q.        And his answer is, "Yes, very
     16    much in favor of the bill."
     17                      Do you see that provision?
     18            A.        I do.
     19            Q.        Now, would you please begin
     20    reading the next sentence?
     21            A.        Out loud?
     22            Q.        Please.
     23            A.        "Our firm was founded in 1832,
     24    and we have been ever since against the sale
     25    of habit-forming drugs and all that kind of

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      1    thing.     Orders which have come to us from
      2    suspicious people we have put in the hands of
      3    the proper authorities for tracing and
      4    prosecution, if necessary."
      5            Q.        So you agree with me that even
      6    before the enactment of the Controlled
      7    Substances Act and the Code of Federal
      8    Regulations, which we discussed earlier this
      9    morning, is that McKesson, Mr. McKesson
     10    hisself, was acknowledging that if they have
     11    suspicious people, they're going to turn it
     12    over to law enforcement for prosecution,
     13    agreed?
     14                      MS. HENN:     Objection to form.
     15                      THE WITNESS:      Agreed based on
     16            what I'm reading in this document.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        And this duty predates the US
     19    Code and predates the Code of Federal
     20    Regulations, agreed?
     21                      MS. HENN:     Objection to form.
     22                      THE WITNESS:      Agreed.
     23    QUESTIONS BY MR. FARRELL:
     24            Q.        So would you agree, would
     25    McKesson agree, that it owes a common law

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      1    duty to the American public to prevent
      2    diversion if it's engaged in the distribution
      3    of controlled substances, including opium
      4    pills, to prevent their diversion into the
      5    illicit market?
      6                      MS. HENN:     Objection to form.
      7                      THE WITNESS:      Can you ask it in
      8            a shorter version there?
      9    QUESTIONS BY MR. FARRELL:
     10            Q.        Probably not.
     11                      Does McKesson acknowledge it
     12    owes a common law duty to the American public
     13    to prevent the diversion of controlled
     14    substances, including opium pills, into the
     15    illicit market?
     16                      MS. HENN:     Objection to form.
     17                      THE WITNESS:      Yes.
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        Now, the first part of the
     20    sentence, it kind of grabbed my attention.
     21    It says, "McKesson has ever since been
     22    against the sale of habit-forming drugs."
     23    And this was in 1910.
     24                      Do you see that?
     25            A.        I see that.

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      1            Q.        When did McKesson begin the
      2    business of selling opium pills?
      3                      MS. HENN:     Objection to form.
      4                      THE WITNESS:      I do not know.
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        At some point in time
      7    McKesson's philosophy changed, and it went
      8    from not selling habit-forming drugs to now
      9    selling habit-forming drugs, agreed?
     10                      MS. HENN:     Objection to form.
     11                      THE WITNESS:      Agreed.
     12    QUESTIONS BY MR. FARRELL:
     13            Q.        Has McKesson considered, given
     14    the presence of the opioid epidemic in
     15    America, perhaps returning to the stance of
     16    1910 of its founder, Mr. McKesson?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      Again, I'm not
     19            aware of that.        Can't answer that
     20            question.
     21    QUESTIONS BY MR. FARRELL:
     22            Q.        Well, you could choose not to
     23    sell opium pills anymore in America, could
     24    you not?
     25            A.        You could choose to.

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      1            Q.        But McKesson chooses to
      2    continue to sell opium pills in America,
      3    despite the fact that we have an opiate pill
      4    epidemic?
      5                      MS. HENN:     Objection to form.
      6                      THE WITNESS:      We do.
      7                      (McKesson-Hartle Exhibit 11
      8            marked for identification.)
      9    QUESTIONS BY MR. FARRELL:
     10            Q.        The next exhibit we're going to
     11    have marked as Exhibit 11.            In the top
     12    right-hand corner, this is 1996, 04, 01.
     13                      We've acknowledged that in
     14    1971, Department of Justice adopted CFR
     15    provision 1301.74, agreed?
     16            A.        Agree.
     17            Q.        And then we went through and
     18    it's the law today, agreed?
     19            A.        Agreed.
     20            Q.        It's the law that was
     21    referenced in the Masters Pharmaceutical
     22    case, agreed?
     23            A.        Agreed.
     24            Q.        And it hadn't changed through
     25    all those colorful books I showed you,

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      1    agreed?
      2                      MS. HENN:     Objection to form.
      3                      THE WITNESS:      Agreed.
      4    QUESTIONS BY MR. FARRELL:
      5            Q.        This is a specific year.
      6                      Can you tell me what year it
      7    is?
      8            A.        1996.
      9            Q.        Why do you think I picked this
     10    year?
     11                      MS. HENN:     Objection to form.
     12                      THE WITNESS:      I'm not -- I'm
     13            not sure.
     14    QUESTIONS BY MR. FARRELL:
     15            Q.        What happened in 1996 that
     16    changed the face of opioid sales in America?
     17                      MS. HENN:     Objection to form.
     18                      THE WITNESS:      I'm not
     19            100 percent sure.         I'd be speculating.
     20    QUESTIONS BY MR. FARRELL:
     21            Q.        Well, McKesson's in the
     22    business of selling opium pills, correct?
     23                      MS. HENN:     Objection to form.
     24                      THE WITNESS:      As part of
     25            controlled substances, yes.

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      1    QUESTIONS BY MR. FARRELL:
      2            Q.        And in 1996, business began
      3    hopping, agreed?
      4                      MS. HENN:     Objection to form.
      5                      THE WITNESS:      I'm not sure.        I
      6            don't -- I don't -- I can't answer
      7            that.     I don't know what the business
      8            was before or --
      9    QUESTIONS BY MR. FARRELL:
     10            Q.        That's fair enough.
     11            A.        Yeah.
     12            Q.        In 1996, I'll represent to you,
     13    OxyContin was launched.           So all I'm trying to
     14    establish on page 2 of the exhibit is that
     15    under 1301.74 B, the same law was in place
     16    when OxyContin was launched.
     17                      MS. HENN:     Objection to form.
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        Agreed?
     20            A.        Understood.
     21            Q.        Not understood --
     22            A.        Agreed.
     23            Q.        Yeah.
     24            A.        Sorry.
     25            Q.        This might take a little bit

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      1    longer because, as you can see, this next
      2    exhibit is a little bit thicker.
      3                      (McKesson-Hartle Exhibit 12
      4            marked for identification.)
      5    QUESTIONS BY MR. FARRELL:
      6            Q.        We're going to have it marked
      7    as Exhibit 12.
      8                      MR. FARRELL:      So for the
      9            record, the top right-hand corner is
     10            2000_07.      The bottom right-hand
     11            corner, for all the fans listening on
     12            the telephone, is an actual Bates
     13            stamp number.       And while this was
     14            previously produced to some Attorney
     15            Generals, it was also produced in the
     16            MDL, so I have an MDL number.             And
     17            it's MCKMDL00337660.
     18    QUESTIONS BY MR. FARRELL:
     19            Q.        Now, does McKesson recognize
     20    this document?
     21            A.        I do.
     22            Q.        And has McKesson reviewed this
     23    document in preparation for today's
     24    testimony?
     25                      MS. HENN:     Objection to form.

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      1                      THE WITNESS:      I have.
      2    QUESTIONS BY MR. FARRELL:
      3            Q.        What is this document?
      4            A.        This is the operational manual
      5    for how controlled substances are handled
      6    within McKesson.
      7            Q.        And what was the date of
      8    enactment?
      9            A.        I believe July of 2000.
     10            Q.        Okay.    Prior to July of 2000,
     11    what was the policy at McKesson regarding the
     12    distribution of controlled substances?
     13                      MS. HENN:     Objection to form.
     14            Outside the scope.
     15                      THE WITNESS:      I can't speak to
     16            that.
     17    QUESTIONS BY MR. FARRELL:
     18            Q.        To your understanding and
     19    belief sitting here today as the
     20    representative of McKesson, is this document
     21    the earliest version of the controlled
     22    substance monitoring program adopted by the
     23    company?
     24                      MS. HENN:     Same objections.
     25                      THE WITNESS:      I can't say for

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      1            certain this is the only one I know
      2            of.
      3    QUESTIONS BY MR. FARRELL:
      4            Q.        I'm not asking you to --
      5            A.        Yeah.
      6            Q.        -- foreclose the existence of
      7    anything else.
      8            A.        Right.
      9            Q.        Sitting here today as the
     10    McKesson designee for the 30(b)(6)
     11    deposition, what we're showing you here as
     12    Exhibit 12 is the earliest version you're
     13    aware of for McKesson's controlled substance
     14    monitoring program?
     15                      MS. HENN:     Objection to form.
     16            Outside the scope.
     17                      THE WITNESS:      Correct, that I'm
     18            aware of.
     19    QUESTIONS BY MR. FARRELL:
     20            Q.        So when I asked you in the
     21    30(b)(6) deposition notice to testify
     22    regarding all past and present suspicious
     23    order policies and procedures, this, to the
     24    best of your knowledge, is the first time
     25    McKesson has adopted a policy and procedure

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      1    in compliance with the United States Code
      2    that we discussed this morning and the Code
      3    of Federal Regulations we discussed this
      4    morning.
      5                      MS. HENN:     Objection.
      6    QUESTIONS BY MR. FARRELL:
      7            Q.        Agreed?
      8                      MS. HENN:     Objection to form.
      9            Outside the scope.
     10                      THE WITNESS:      I can't -- I
     11            can't speak to things that may have
     12            happened prior to this date that maybe
     13            weren't put in this format and written
     14            down on paper, but on paper, this is
     15            the one that I recognize.
     16    QUESTIONS BY MR. FARRELL:
     17            Q.        I need to be a little more
     18    clear about it.
     19                      Are you aware of any other
     20    piece of paper in the annals of McKesson
     21    Corporation that talk about the duty to
     22    comply with the United States Code and the
     23    Code of Federal Regulations regarding the
     24    distribution of controlled substances?
     25                      MS. HENN:     Objection to form.

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      1             Outside the scope.
      2                      MR. FARRELL:       Counsel, it seems
      3             to be directly within point A of the
      4             30(b)(6) notice.
      5                      MS. HENN:      We can disagree
      6             about that.
      7                      MR. FARRELL:       Well, I'll read
      8             it out loud.
      9                      "Your past, present, suspicious
     10             orders monitoring system, SOMS
     11             program, policies and procedures."
     12                      MS. HENN:      And I'll just object
     13             again to the question as outside the
     14             scope.
     15                      And to respond to you,
     16             Mr. Farrell, the -- Special Master
     17             Cohen has made rulings about the
     18             proper time frame for discovery, and
     19             so our position is that asking about
     20             the annals of McKesson Corporation is
     21             outside the scope.
     22                      But he can answer your question
     23             if you want to state it again.
     24                      MR. FARRELL:       That's a fair
     25             point.

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       So sitting here today as
      3     McKesson Corporation, you're unaware of any
      4     piece of paper that predates Exhibit 12, but
      5     there may be; is that fair?
      6                      MS. HENN:      Objection to form.
      7             Outside the scope.
      8                      THE WITNESS:       That's fair.       I'm
      9             unaware, but I -- there may be.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       So you don't have any basis in
     12     fact, as the McKesson designee today, to
     13     discuss what the policies and procedures were
     14     for McKesson related to the distribution of
     15     controlled substances and opium pills between
     16     '96 when OxyContin was launched and the
     17     adoption of Section 55, Exhibit 12, in July
     18     of 2000; is that a fair statement?
     19                      MS. HENN:      Objection to form.
     20             Outside the scope.
     21                      THE WITNESS:       That's a fair
     22             statement.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       So what we're looking at is
     25     Exhibit 12.

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      1                      Can you tell me the name of
      2     this document?
      3             A.       It's the drug operation manual.
      4     It's been -- but it's known as Section 55,
      5     often within McKesson, which is also in the
      6     title.
      7             Q.       And as of July 2000, is there
      8     any other document related to the
      9     distribution of controlled substances in the
     10     prevention of diversion other than
     11     Section 55?
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14                      THE WITNESS:       I'm not following
     15             your question 100 percent.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Okay.     Are you a sports fan?
     18             A.       I am.
     19             Q.       What's your favorite sport?
     20             A.       Wrestling.
     21             Q.       Very good.
     22                      How many rules are in the
     23     wrestling rule book?
     24             A.       I couldn't even guess.           I don't
     25     know.

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      1             Q.       But the wrestling rule book is
      2     intended to be comprehensive, agreed?
      3             A.       I would agree.
      4             Q.       If you're a referee, how many
      5     different books do you have to read to know
      6     the rules of wrestling on the mat?
      7             A.       Should be one.
      8             Q.       Is that the same for this
      9     document, Exhibit 12?          Is this intended to be
     10     the rule book for the distribution of
     11     controlled substances for McKesson
     12     Corporation?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       For which time
     15             frame?
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       July 2000 until -- and I'll
     18     give you a hint -- the 2007 Lifestyles
     19     program.
     20                      MS. HENN:      Objection to form.
     21             Outside the scope.
     22                      THE WITNESS:       I'm not aware of
     23             another one.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       All right.       On page 1, the very

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      1     first paragraph under general, I'd like you
      2     to take a minute and read that.             And I've
      3     never liked just having you -- or just spring
      4     that on you.       I want you to kind of digest
      5     it.
      6             A.       Just the first paragraph?
      7             Q.       Just the first paragraph.
      8             A.       I read it.
      9             Q.       All right.       Now, I'm going to
     10     have you read aloud just the first sentence,
     11     and I'm going to compliment you that all of
     12     your testimony this morning is spot-on with
     13     that very first sentence.           I couldn't trip
     14     you up at all.       So I'd like you to read the
     15     first sentence aloud, please.
     16             A.       "The aim of the Controlled
     17     Substance Act is to prevent diversion of
     18     abusable substances into illicit traffic
     19     while ensuring their availability for
     20     legitimate medical purposes."
     21             Q.       So again, we're back to this
     22     theme that the Controlled Substances Act was
     23     intended to prevent diversion, agreed?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       Agreed.

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       And in July of 2000, McKesson
      3     adopted a policy to accomplish that
      4     objective; is that fair?
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       They formalized a
      7             policy within -- within this document.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       That's the purpose of this
     10     document?
     11             A.       Right.
     12             Q.       Who wrote this document?
     13             A.       I'm not 100 percent sure
     14     exactly who wrote it within the McKesson
     15     team, but a combination of people.
     16             Q.       Whose document is this?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       McKesson's.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Is this a document that is kept
     21     in the regular course of business for
     22     McKesson?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       It is.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Is this a true and authentic
      3     copy of Section 55 of McKesson's policy?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       I know it's
      6             undergoing some revisions.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Well, not as of July 2000.
      9             A.       Oh, can you say it again?
     10             Q.       Yeah.     This document, sitting
     11     here today --
     12             A.       Right.
     13             Q.       -- is this a document that as
     14     of July of the year 2000 was a document
     15     created by McKesson in the course of
     16     conducting its regular business activities?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       Yes.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       So if I hold this document up
     21     in a courtroom I can say this is McKesson's
     22     drug operations manual related to the
     23     distribution of controlled substances that
     24     was adopted in July of 2000?
     25             A.       Yes.

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      1             Q.       Now, the second sentence,
      2     starting with "The Drug Enforcement
      3     Administration," can you read that sentence
      4     aloud?
      5             A.       Sure.
      6                      "The Drug Enforcement
      7     Administration strictly interprets the law
      8     and regulations and has imposed significant
      9     fines for technical errors in completing
     10     forms and keeping records."
     11             Q.       So the DEA, even as of July
     12     2000, took the Controlled Substances Act very
     13     seriously, and McKesson acknowledges that,
     14     agreed?
     15                      MS. HENN:      Objection to form.
     16                      THE WITNESS:       Correct, or
     17             agreed.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       Now, would you read the last
     20     sentence?
     21             A.       "It's extremely important that
     22     McKesson employees comply fully with the
     23     regulations and the following guidelines."
     24             Q.       How important is it?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       To recite, it
      2             says "extremely important."
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       And why?
      5             A.       To prevent the diversion of
      6     controlled substances.
      7             Q.       I'm going to have you now flip
      8     to page 27.      I'll give you a minute to kind
      9     of --
     10             A.       The whole --
     11             Q.       Yeah, you can just glance it.
     12     We're going to walk through it a little bit.
     13                      We can start with the heading,
     14     paragraph A.       What's paragraph A, the very
     15     top of the page?        What's it say?
     16                      Oh, wait a minute, I'm sorry.
     17             A.       Am I on the right page here?
     18             Q.       I was on the wrong page.
     19                      Page 27, paragraph G.           Will you
     20     read the first paragraph?
     21             A.       The heading or the entire --
     22     the first --
     23             Q.       You can read the heading if
     24     you'd like.
     25             A.       "DEA continuing education"?

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      1     That piece?
      2             Q.       Yes.    And then there's another
      3     word underneath that.
      4             A.       "Documentation."
      5             Q.       What does documentation mean?
      6             A.       Is you document something on
      7     paper.
      8             Q.       Okay.     And will you read the
      9     sentence, please?
     10             A.       "All compliance training
     11     sessions, formal and informal, held in your
     12     distribution center must be logged and
     13     documented on the DEA continuing education
     14     report."
     15             Q.       What does that mean?
     16                      MS. HENN:      Objection to form.
     17             Outside the scope.
     18                      THE WITNESS:       It means you
     19             should document the training that's
     20             conducted related to compliance.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Okay.     Is there a DEA
     23     continuing education report that you're aware
     24     of?
     25             A.       Not that I'm aware of.

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      1             Q.       You haven't seen any such
      2     thing?
      3             A.       I don't believe I have, no.
      4             Q.       But if we ask for it, it's
      5     something McKesson could theoretically go and
      6     look for?
      7                      MS. HENN:      Objection to form.
      8             Outside the scope.
      9                      THE WITNESS:       Theoretically.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       All right.       Because the policy
     12     seems to indicate you guys have this
     13     documentation of compliance training
     14     sessions.      And I'll admit to you I haven't
     15     seen any, so I was wondering if you'd seen
     16     any.
     17             A.       I have not.
     18             Q.       Now, if you flip to the next
     19     page, page 28, at the top it's paragraph A.
     20     And will you read the title of paragraph A?
     21             A.       "Detecting suspicious orders."
     22             Q.       And what's it say over there on
     23     the right, that number?
     24             A.       1301.74.
     25             Q.       What do you think that is?

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      1             A.       That's from the CFR.
      2             Q.       All right.       And then under
      3     paragraph 1, you see where it says, "DEA
      4     regulation defines suspicious orders as
      5     follows"?
      6             A.       I do.
      7             Q.       Will you read what's in the
      8     quotation marks?
      9             A.       "Suspicious orders include
     10     orders of unusual size, orders deviating
     11     substantially from a normal pattern and
     12     orders of unusual frequency."
     13             Q.       Now, if you go down to the
     14     paragraph that starts "recent cases," do you
     15     see that?
     16                      Will you read the first
     17     sentence?
     18             A.       "Recent cases indicate that DEA
     19     will seek large penalties from distributors
     20     who fail to comply with this regulation."
     21             Q.       What do you interpret that to
     22     mean?
     23                      MS. HENN:      Objection.       Outside
     24             the scope.
     25                      THE WITNESS:       Exactly what it

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      1             says.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       You got to follow the law?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       Right.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       And if McKesson doesn't follow
      8     the law, that makes its conduct unlawful?
      9                      MS. HENN:      Objection to form.
     10                      THE WITNESS:       Yes.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       And McKesson has acknowledged
     13     that as early as July of 2000?
     14                      MS. HENN:      Objection to form.
     15             Outside the scope.
     16                      THE WITNESS:       In this document,
     17             yes.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       The next sentence says, "It is
     20     left to the distributor to define what
     21     constitutes an unusual or suspicious order."
     22                      Do you see that sentence?
     23             A.       I do.
     24             Q.       And to comply with this,
     25     McKesson has adopted this policy; is that

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      1     fair?
      2                      MS. HENN:      Objection to form.
      3             Outside the scope.
      4                      THE WITNESS:       Yes.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Now, in here it says at the
      7     very bottom of the -- it says, "The following
      8     reports are produced:          The Drohan data
      9     reports."
     10                      Do you see that, the Drohan
     11     Data Center reports?
     12             A.       I do see that.
     13             Q.       What are the Drohan Data Center
     14     reports?
     15                      MS. HENN:      Objection.       Outside
     16             the scope.
     17                      THE WITNESS:       They're
     18             multiple -- that's the -- they're
     19             multiple reports that are generated
     20             from the system.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Okay.     Is that system still in
     23     place, to your knowledge?
     24             A.       Not to my knowledge.
     25             Q.       Who would I ask if I was going

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      1     to ask questions about the reports in the
      2     Drohan Data Center?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       Somebody in our
      5             IT department.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       Okay.     Flip to the next page,
      8     page 29.     Little A talks about controlled
      9     substances sales reports.
     10                      Do you see that?
     11             A.       I do.
     12             Q.       That's a document that should
     13     exist as of July of 2000, agreed?
     14                      MS. HENN:      Objection to form.
     15             Outside the scope.
     16                      THE WITNESS:       Agreed.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       Little B says, "Controlled
     19     substance customer purchase report."
     20                      That's a document that should
     21     exist as of July of 2000, agreed?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       Agreed.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Little C says, "Daily
      3     controlled substance suspicious order warning
      4     report."
      5                      That's a document that should
      6     exist as of July 2000, agreed?
      7                      MS. HENN:      Objection to form.
      8             Outside the scope.
      9                      THE WITNESS:       Agreed.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Next page, little D, "Monthly
     12     controlled substance suspicious purchases
     13     report."
     14                      That's a document that should
     15     exist as of July 2000, agreed?
     16                      MS. HENN:      Objection to form.
     17             Outside the scope.
     18                      THE WITNESS:       Agreed.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       And little E, "Monthly ARCOS
     21     customer recap variance."           Again, another
     22     document that should exist as of July 2000 as
     23     part of the McKesson suspicious order
     24     detecting policy.
     25                      MS. HENN:      Objection to form.

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      1             Outside the scope.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Agreed?
      4             A.       Can you rephrase that in terms
      5     of...
      6             Q.       Yeah.     We're talking about
      7     under paragraph A, which is "Detecting
      8     Suspicious Orders."
      9             A.       Agreed.
     10             Q.       Now, on page 30 there,
     11     paragraph B, "Reporting," it says, "The
     12     Drohan Data Center will generate the daily
     13     controlled substance suspicious order warning
     14     reports every two hours, 24 hours a day."
     15                      Do you see that?
     16             A.       I see that.
     17             Q.       Have you seen any of those
     18     reports?
     19                      MS. HENN:      Objection.       Outside
     20             the scope.
     21                      THE WITNESS:       I have.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       Did you review them in
     24     anticipation of today's deposition?
     25             A.       I did.

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      1             Q.       And how far back did you review
      2     them?
      3             A.       I'm not certain of the dates on
      4     the examples that I had.
      5             Q.       How old?
      6             A.       In the early 2000s, I believe.
      7     I'd have to look.
      8             Q.       Did those reports help inform
      9     you of the policies and procedures for
     10     McKesson in preparation for today's
     11     deposition?
     12                      MS. HENN:      Objection to form.
     13                      THE WITNESS:       They did.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       And did they help refresh your
     16     recollection in preparation for today's
     17     testimony?
     18                      MS. HENN:      Objection to form.
     19                      THE WITNESS:       They did.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Are those documents important
     22     to McKesson for purposes of complying with
     23     its duties under the Controlled Substances
     24     Act beginning in July of 2000?
     25                      MS. HENN:      Objection to form.

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      1             Outside the scope.
      2                      THE WITNESS:       Can you say it
      3             again one more time?
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       Are those documents important
      6     to McKesson for purposes of complying with
      7     its duties under the Controlled Substances
      8     Act beginning in July of 2000?
      9                      MS. HENN:      Objection to form.
     10             Outside the scope.
     11                      THE WITNESS:       They are
     12             important.




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      8                      MS. HENN:      Objection to form.
      9             Outside the scope.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Would you like me to restate
     12     it?
     13             A.       Yeah, please.




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      3                      MS. HENN:      Objection to form.
      4             Outside the scope.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       It's what the policy says?
      7                      MS. HENN:      Same objections.
      8                      THE WITNESS:       Can you say that
      9             again or point me to the policy
     10             section you're referring to?
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       Yes.




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     20             Q.       So you acknowledge, sitting
     21     here today as McKesson, that simply
     22     submitting reports to the DEA does not comply
     23     with the US Code or the Code of Federal
     24     Regulations?
     25                      MS. HENN:      Objection to form.

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      1             Outside the scope.
      2                      THE WITNESS:       Agree.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       You have a duty to review and
      5     note orders of unusual size?
      6             A.       It's part of our -- this
      7     document program, yes.




     25

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      6                      MS. HENN:      Objection to form.
      7             Outside the scope.
      8                      THE WITNESS:       One more time,
      9             please.
     10     QUESTIONS BY MR. FARRELL:




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     21     QUESTIONS BY MR. FARRELL:
     22             Q.       This goes back to what we were
     23     talking about earlier, is that aside from
     24     your regulatory responsibilities, you also
     25     perform a function that serves the public

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      1     interest at large?
      2             A.       Correct.




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      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Sitting here today, though, you
      9     have not seen any such document?
     10             A.       I've not reviewed a completed
     11     one.    I've seen one.
     12             Q.       Do they still exist?
     13                      MS. HENN:      Objection to form.
     14             Outside the scope.
     15                      THE WITNESS:       I'm not sure.
     16                      (McKesson-Hartle Exhibit 13
     17             marked for identification.)
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       I'm going to have marked as the
     20     next sequential exhibit Exhibit 13.               The
     21     document in the right-hand corner is
     22     2001_0828.
     23                      Again, this is from the
     24     HathiTrust.
     25             A.       I see that.

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      1             Q.       It's a Congressional record
      2     from 2001.
      3                      Can you read the title of the
      4     Congressional investigation?
      5             A.       "OxyContin:       Its use and abuse:
      6     Hearing before the Subcommittee and Oversight
      7     and Investigations of the Committee on Energy
      8     and Commerce, House of Representatives, 107th
      9     Congress, First Session, August 28th of
     10     2001."
     11             Q.       Does McKesson acknowledge that
     12     the use and abuse of OxyContin was on the
     13     national radar at least as early as
     14     August 28, 2001, with a Congressional
     15     hearing?
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       Yes.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       I'm going to have you flip to
     20     page 8.      This is the introductory statement
     21     from the chairman, James Greenwood, on the
     22     Subcommittee on Oversight and Investigations.
     23     He's from Pennsylvania.
     24                      Two-thirds of the way down, the
     25     sentence says, "These actions, though

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      1     commendable, also appear long overdue."
      2                      Do you see that sentence?
      3             A.       I do see that.
      4             Q.       Will you begin reading,
      5     starting with "according"?
      6             A.       "According to DEA, the number
      7     of oxycodone-related deaths has increased
      8     400 percent since 1996, the same time period
      9     in which the annual number of prescriptions
     10     for OxyContin has risen from approximately
     11     300,000 to almost 6 million."
     12             Q.       And how did these
     13     prescriptions -- how did these pills get from
     14     Purdue Pharma, who makes OxyContin, to the
     15     pharmacies?
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       After being
     18             prescribed by a doctor --
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Yes.
     21             A.       -- and sent to pharmacies --
     22             Q.       Yes.
     23             A.       -- or other by distributors.
     24             Q.       Right.
     25                      So between 1996 and the year

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      1     2001, the number of prescriptions went from
      2     300,000 to almost 6 million.            So the
      3     OxyContin business was a-booming, wasn't it?
      4                      MS. HENN:      Objection to form.
      5             Outside the scope.
      6                      THE WITNESS:       It increased
      7             significantly.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       And McKesson was amongst the
     10     distributors that were delivering the pills
     11     from Purdue Pharma to the pharmacies?
     12                      MS. HENN:      Objection to form.
     13                      THE WITNESS:       We were.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Do you believe that the
     16     increase from 300,000 prescriptions to 6
     17     million is an increase of unusual size?
     18                      MS. HENN:      Objection to form.
     19             Outside the scope.
     20                      THE WITNESS:       Could you ask
     21             that again?
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       You go from 300,000
     24     prescriptions to 6 million in five years.                 Do
     25     you think that that is an unusual increase?

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      1                      MS. HENN:      Objection to form.
      2             Outside the scope.
      3                      THE WITNESS:       It appears to be
      4             a significant increase.           I don't -- I
      5             don't have the context of before --
      6             everything before, but it's a large
      7             increase.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Well, assuming in 1996 there
     10     were 300,000 prescriptions and five years
     11     later there were 6 million, would you --
     12     would you characterize that increase as
     13     unusual?
     14                      MS. HENN:      Objection to form.
     15             Outside the scope.
     16                      THE WITNESS:       I don't know if I
     17             would characterize it as -- it's
     18             significant.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Significant enough to get
     21     McKesson's attention?
     22                      MS. HENN:      Objection to form.
     23                      THE WITNESS:       Significant
     24             enough.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Yes?
      3             A.       Yes.
      4             Q.       Now, two paragraphs down it
      5     says, "In its testimony today" --
      6                      Do you see that paragraph?
      7             A.       I do.
      8             Q.       -- "Purdue Pharma will argue
      9     that the death figures heralded by newspapers
     10     nationwide are inaccurate and are the prime
     11     mover of the negative hype surrounding
     12     OxyContin."
     13                      Do you see that sentence?
     14             A.       I do see that sentence.
     15             Q.       So does McKesson acknowledge
     16     that death figures are being heralded by
     17     newspapers nationwide as of 2001?
     18                      MS. HENN:      Objection to form.
     19             Outside the scope.
     20                      THE WITNESS:       Could you ask
     21             that again in a different way, maybe?
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       Yeah.
     24                      This is saying that there's
     25     newspaper headlines across the country of

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      1     people dying taking opium pills that McKesson
      2     is distributing.
      3                      Does McKesson acknowledge that?
      4                      MS. HENN:      Objection to form.
      5             Outside the scope.
      6                      THE WITNESS:       Not that --
      7             there's certainly headlines of
      8             opioid-related deaths.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       In 2001?
     11             A.       I don't know of any
     12     specifically.       I'm assuming there were in
     13     that time frame.
     14             Q.       And it's a little unfair to ask
     15     you because you weren't there in 2001, but as
     16     McKesson's corporate designee I'm simply
     17     looking for an acknowledgement that the chain
     18     of distribution McKesson was involved in is
     19     being heralded in newspapers as causing
     20     deaths across the country.
     21                      MS. HENN:      Objection to form.
     22             Outside the scope.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       Does McKesson acknowledge that
     25     fact?

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      1                      MS. HENN:      Same objections.
      2                      THE WITNESS:       I haven't seen
      3             any of those headlines, so I can't
      4             speak to whether us as a distributor
      5             was called out in those.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       I'm not asking you if you were
      8     called out as a distributor.            What I'm asking
      9     you is if McKesson acknowledged that the
     10     pills that it was selling was causing deaths
     11     nationwide and resulted in newspaper
     12     headlines across the country.
     13                      MS. HENN:      Objection to form.
     14             Outside the scope.
     15                      THE WITNESS:       Yes, pills that
     16             we distribute were in headlines.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       And Purdue Pharma says that
     19     "those headlines are inaccurate and the prime
     20     mover of the negative hype surrounding
     21     OxyContin."
     22                      Does McKesson Corporation,
     23     sitting here today, concur with Purdue
     24     Pharma?
     25                      MS. HENN:      Objection to form.

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      1             Outside the scope.
      2                      THE WITNESS:       Reading the rest
      3             of this if you don't -- I'm reading
      4             down a little bit more, so...
      5                      Can you ask your question
      6             again?
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Yeah.
      9                      Does McKesson Corporation,
     10     sitting here today and testifying, concur
     11     with Purdue Pharma that the nationwide
     12     newspapers about overdose deaths are
     13     inaccurate?
     14                      MS. HENN:      Objection to form.
     15             Outside the scope.
     16                      THE WITNESS:       I can't speak to
     17             that.    I'd just be speculating.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       You don't share Purdue Pharma's
     20     disavow of the problems caused by its
     21     OxyContin pills?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       I'm not saying
     25             that.    I'm saying I can't answer the

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      1             question that you asked earlier.
      2                      (McKesson-Hartle Exhibit 14
      3             marked for identification.)
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       Next exhibit we'll have marked
      6     sequentially as Exhibit 4.            It's from the
      7     Internet.      It's document 2002_09_26.
      8                      MS. HENN:      Mr. Farrell, did you
      9             mean Exhibit 4 or 14?
     10                      MR. FARRELL:       14.
     11                      MS. HENN:      Okay.
     12                      MR. FARRELL:       You caught me.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       And I'm not going to bore you
     15     with the details of this, but are you aware
     16     of the Office of Inspector General?
     17             A.       I am.
     18             Q.       This is a report generated by
     19     the OIG in 2002, and what it was talking
     20     about was it was talking about the opioid
     21     epidemic, and it was talking about the DEA's
     22     ability to regulate the industry.
     23                      Have you reviewed this document
     24     before today?
     25             A.       I have not.

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      1             Q.       Give me a second here.
      2                      On Bates stamp page 12, it's
      3     talking about diversion investigators.                And
      4     it says there were 55 at headquarters and 455
      5     in the domestic field offices and 13
      6     overseas.
      7                      Do you see that?
      8             A.       I do see that.
      9             Q.       So that means there's just over
     10     500 DEA diversion investigators in the
     11     country in 2001.
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Responsible for regulating the
     16     entire industry of the distribution of
     17     controlled substances.
     18                      Do you know how many
     19     transactions McKesson engaged in in the
     20     distribution of controlled substances in
     21     2001?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       I do not have the
     25             number off the top of my head.

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       The OIG report basically says
      3     that as of 2001 there needed to be
      4     reassessment because the DEA was understaffed
      5     and underfunded and didn't have sufficient
      6     tools to be able to regulate the industry.
      7                      Does McKesson acknowledge and
      8     agree with that assessment?
      9                      MS. HENN:      Objection to form.
     10             Outside the scope.
     11                      THE WITNESS:       Could you ask
     12             that again?
     13                      MR. FARRELL:       Yeah, obviously
     14             I'm leading up to some other
     15             documents.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       But does McKesson acknowledge
     18     that in 2001 there were 500 DEA diversion
     19     investigators trying to monitor all of the
     20     transactions in the country?
     21                      MS. HENN:      Objection to form.
     22             Outside the scope.
     23                      THE WITNESS:       I see that in the
     24             documents.      I can't speak to, you
     25             know, the DEA's total -- their

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      1             response in total, so I can confirm
      2             that's in -- what's in this document.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       All right.       So let's talk about
      5     it from a theoretical standpoint.
      6                      Let's say there were 500
      7     highway patrol officers charged with
      8     regulating the speed on the highways in the
      9     United States of America in the year 2001.
     10                      Do you believe that that would
     11     be a significant challenge, a somewhat of a
     12     challenge or not very challengeable at all?
     13                      MS. HENN:      Objection to form.
     14             Outside the scope.
     15                      THE WITNESS:       Again, just
     16             speculating, it would be a challenge.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       How many people would speed in
     19     America if there were only 500 highway
     20     patrolmen in the country?
     21                      MS. HENN:      Same objections.
     22                      THE WITNESS:       I can't even
     23             guess or speculate.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Do you think that would be a

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      1     lot of people or not a lot of people?
      2                      MS. HENN:      Same objections.
      3                      THE WITNESS:       Again, that
      4             depends on how many law-abiding
      5             citizens you have.         I don't know if I
      6             can speculate.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       That is so true.
      9                      What do you think the American
     10     citizen would do if they knew there were only
     11     500 highway patrolmen?
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14                      THE WITNESS:       Again, I don't
     15             know.    Some people might speed.            Some
     16             people might not change their behavior
     17             at all.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       That's right.
     20                      What if the penalty, if you did
     21     get caught, was only $10?
     22                      MS. HENN:      Objection to scope.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       How would that impact your view
     25     of the regulation of the American highways?

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      1                      MS. HENN:      Objection to form.
      2             Outside the scope.
      3                      THE WITNESS:       Again, you can
      4             speculate.      Some might see that as
      5             a -- yeah, it depends.          It really
      6             depends.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       What if the biggest weapon the
      9     highway patrolmen had, which is the
     10     revocation of the driver's license, was
     11     changed and so now you don't even lose your
     12     license?     How would that impact the system?
     13                      MS. HENN:      Same objections.
     14                      THE WITNESS:       Impact the
     15             system?
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Yeah, impact the number of
     18     speeders.
     19                      MS. HENN:      Objection to form.
     20             Outside the scope.
     21                      THE WITNESS:       You can speculate
     22             that it may go down.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       The number of speeders would go
     25     down if you can't lose your license anymore?

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      1                      MS. HENN:      Same objections.
      2                      THE WITNESS:       Oh, if you
      3             can't -- sorry, excuse me.            It may go
      4             up.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       So if there's -- if there's a
      7     limited number of regulators and a fine is
      8     not substantial and you don't lose your
      9     license, are we going to have more speeders
     10     or less speeders?
     11                      MS. HENN:      Objection to form.
     12             Outside the scope.
     13                      THE WITNESS:       Can you rephrase
     14             that a little bit?
     15     QUESTIONS BY MR. FARRELL:
     16             Q.       Yeah.
     17             A.       You rolled a few things in
     18     there.
     19             Q.       You know what I'm trying to get
     20     to, right?      If there's not enough law
     21     enforcement and the penalty isn't
     22     prohibitive, what happens to conduct?
     23                      MS. HENN:      Objection to form.
     24             Outside the scope.
     25                      THE WITNESS:       Again, it's

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      1             speculative, but it could -- you know,
      2             behavior could change.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       What if you made billion of
      5     dollars by speeding, and there was not enough
      6     regulation by law enforcement and the penalty
      7     was not very big?        What would that do as an
      8     incentive?
      9                      MS. HENN:      Same objections.
     10                      THE WITNESS:       Again, it depends
     11             on the situation, the scenario.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       It really depends on whether or
     14     not the individual is a law-abiding citizen
     15     or a criminal, agreed?
     16                      MS. HENN:      Same objections.
     17             Object to form.        Outside the scope.
     18                      THE WITNESS:       It's part of it.
     19                      (McKesson-Hartle Exhibit 15
     20             marked for identification.)
     21                      MR. FARRELL:       Last exhibit and
     22             then we'll take a break, if that's
     23             okay.
     24                      MS. HENN:      That works.
     25     QUESTIONS BY MR. FARRELL:

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      1             Q.       I'm going to have marked
      2     Exhibit 15, and the exhibit in the top
      3     right-hand corner is 2004_ 06_17.              And for
      4     those of you playing at home, this is an
      5     excerpt from another Congressional record.
      6                      This Congressional record was
      7     900 pages long, and so I did not copy the
      8     whole thing; I just pulled out the part that
      9     interested me.
     10                      This is part of the US Senate
     11     Permanent Subcommittee on Investigations, and
     12     it was a hearing in June of 2004.              And the
     13     title of the hearing was "Buyers Beware:                 The
     14     Dangers of Purchasing Pharmaceuticals Over
     15     the Internet."
     16                      Now, McKesson has some
     17     experience with this, agreed?
     18                      MS. HENN:      Objection to form.
     19                      THE WITNESS:       Can you define --
     20             experience.      What type of experience?
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Well, McKesson was selling to
     23     Internet pharmacies in this time frame,
     24     agreed?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       I believe so.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Well, McKesson should know so
      4     because you paid a $13 million fine to the
      5     DEA for doing that very thing in 2008.
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       Understood.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Okay.     So this is a report, and
     10     it was -- if you flip to page 2, it was
     11     generated by a company called the
     12     Pharmaceutical Research Manufacturers of
     13     America.     I guess they call it PhRMA.
     14                      Is that how you say it?
     15             A.       I don't know.
     16             Q.       Well, McKesson is a member of
     17     this organization, and so colloquially within
     18     your ranks do you call it PhRMA?              PhRMA?
     19     PhRMA?    What do you say?
     20                      MS. HENN:      Counsel, I'm sorry,
     21             just a quick clarification.            I'm not
     22             seeing a reference -- I see reference
     23             to Giuliani and his organization, but
     24             I don't see PhRMA.
     25                      Can you just point out where

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      1             you're seeing that?
      2                      MR. FARRELL:       Yeah, it's up on
      3             the screen there, and it's in the very
      4             middle.
      5                      MS. HENN:      Thank you.       I
      6             appreciate that.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       So does McKesson -- first, does
      9     McKesson acknowledge that it is an associate
     10     member of the Pharmaceutical Research and
     11     Manufacturers of America?
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14                      THE WITNESS:       I can't speak to
     15             that.    I don't know.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       I'll represent to you -- I'll
     18     represent to you that you are.
     19             A.       Okay.
     20             Q.       And do you know who this Rudy
     21     Giuliani fellow is?
     22             A.       I do know who Mr. Giuliani is.
     23             Q.       He's a lawyer, too, isn't he?
     24             A.       He is.
     25             Q.       And he was hired to do this

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      1     investigation by the pharmaceutical industry.
      2                      Do you see that?
      3                      MS. HENN:      Objection to form.
      4             Outside the scope.
      5                      THE WITNESS:       I don't know if I
      6             see where specifically it states that.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       It says, "Giuliani Partners has
      9     been" --
     10             A.       Oh, in the middle.         Okay.
     11     Sorry.
     12             Q.       They have been retained by
     13     PhRMA to do an evaluation.
     14             A.       Understood.       I see that.
     15             Q.       Now what I'm going to have you
     16     do is I'm going to have you flip over to
     17     page 4, and it's interesting what Rudy
     18     Giuliani found.
     19                      Do you see where it says "the
     20     distribution chain"?
     21                      It says, "On its face, it
     22     appears that the distribution chain for
     23     prescription medicines in the United States
     24     is fairly straightforward."
     25             A.       I was on the wrong number 4.

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      1                      I see where it says that.
      2             Q.       And it says, "Manufacturers
      3     sell their products to wholesalers."
      4                      That'd be you, McKesson,
      5     correct?
      6             A.       Correct.
      7             Q.       "Who, in turn, sell the
      8     products to retail pharmacies and stores,
      9     who, in turn, dispense medicines to patients
     10     with prescriptions."
     11                      Do you see that?
     12             A.       Yes.
     13             Q.       And that's a straightforward
     14     system is what Rudy Giuliani is saying.
     15                      Will you read the next
     16     sentence, please?
     17             A.       "It is not until the system is
     18     studied in greater detail that one begins to
     19     appreciate both the complexities and the
     20     vulnerability of the distribution chain and
     21     potential for exploitation or abuse."
     22             Q.       So big pharma is acknowledging
     23     in 2004, through hiring their own expert in
     24     presenting to Congress, that this chain of
     25     distribution that McKesson is engaged in is

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      1     complex and vulnerable for exploitation or
      2     abuse, agreed?
      3                      MS. HENN:      Objection to form.
      4             Outside the scope.
      5                      THE WITNESS:       It's what they
      6             listed in here and documented, yes.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       And the very first factor for
      9     contributing factors, will you read aloud
     10     what it says?
     11             A.       "Wholesalers or distributors
     12     are primarily regulated by the states, with
     13     no uniform standards across state borders.
     14     States have a comparatively small number of
     15     investigators to monitor the licensed
     16     wholesalers; thus, given the sheer number of
     17     wholesalers, oversight is minimal."
     18             Q.       In the very next paragraph it
     19     says, "There are thousands of secondary
     20     pharmaceutical wholesalers in addition to
     21     McKesson, AmerisourceBergen and Cardinal
     22     Health, the big three."
     23                      Do you see that sentence?
     24             A.       I see that.
     25             Q.       So this is a recognition by big

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      1     pharma's own consultant that the chain of
      2     distribution, at least in 2004 with respect
      3     to rogue Internet pharmacies in particular,
      4     was subject to exploitation or abuse.
      5                      MS. HENN:      Objection to form.
      6             Outside the scope.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Agreed that's what it says?
      9                      MS. HENN:      Same objections.
     10                      THE WITNESS:       Agree that's what
     11             it says.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       And in fact, McKesson paid a
     14     fine for some of these exploitations and
     15     abuse in 2008.
     16                      MS. HENN:      Objection to form.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       Agreed?
     19             A.       There was a fine as part of the
     20     settlement.
     21             Q.       Related to this specific topic?
     22                      MS. HENN:      Objection to form.
     23                      THE WITNESS:       It was included
     24             in the settlement.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       So yes?
      3             A.       Yes.
      4             Q.       So in 2004, we've got big
      5     pharma acknowledging the chain of custody for
      6     wholesalers is subject to exploitation or
      7     abuse because of a lack of oversight?
      8                      MS. HENN:      Objection to form.
      9             Outside the scope.
     10                      THE WITNESS:       Would you say
     11             that again?      Ask --
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       In 2004, big pharma hired Rudy
     14     Giuliani's firm to do an evaluation of the
     15     chain of distribution of prescription
     16     medicines, and what he found was that the
     17     chain of distribution was subject to
     18     exploitation or abuse because of lack of
     19     oversight?
     20             A.       That's what's stated in the
     21     document, correct.
     22             Q.       And that during this time
     23     frame, McKesson paid a fine for that very
     24     thing?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       In the 2008
      2             settlement, yes.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       And that fine was related to
      5     McKesson selling an unusual size of
      6     prescription opiate pills to rogue Internet
      7     pharmacies?
      8                      MS. HENN:      Objection to form.
      9                      THE WITNESS:       Can you ask that
     10             again, one more time?          Sorry.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       Yeah.
     13                      In this time frame, McKesson
     14     ended up paying a fine to the DEA for selling
     15     too many opium pills to rogue Internet
     16     pharmacies in violation of federal law?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       To be accurate,
     19             I'd have to look at the document again
     20             in terms of specific language, but it
     21             was part of the settlement.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       We'll get to that after lunch.
     24             A.       Okay.
     25             Q.       But you acknowledge that what

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      1     Rudy Giuliani said in 2004 came home to roost
      2     with McKesson when it paid a fine in 2008?
      3                      MS. HENN:      Objection to form.
      4             Outside the scope.
      5                      THE WITNESS:       I don't know if I
      6             would characterize it as coming home
      7             to roost, but they're connected or
      8             they're related.
      9                      MR. FARRELL:       Take a break.
     10                      VIDEOGRAPHER:        The time is
     11             12:04 p.m.      We're going off the
     12             record.
     13              (Off the record at 12:04 p.m.)
     14                      VIDEOGRAPHER:        The time is
     15             1:05 p.m.      We're back on the record.
     16                      (McKesson-Hartle Exhibit 16
     17             marked for identification.)
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       I'm going to reference
     20     Exhibit 16 which we've just had marked.                The
     21     top right-hand corner is 2006_09_27,
     22     Bates-stamped MCKMDL00478906.
     23                      Do you recognize this document?
     24             A.       I do.
     25             Q.       What is it?

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      1             A.       It's a letter from DEA to
      2     registrants from Joe Rannazzisi.
      3             Q.       Is this -- you might need help
      4     with counsel a little bit on this.
      5                      I don't see where this letter
      6     is addressed to McKesson as the recipient;
      7     however, this document was produced by
      8     McKesson.      And I'm assuming this is the 2006
      9     Rannazzisi letter that was sent to McKesson.
     10                      Is that your understanding?
     11             A.       Yes.
     12             Q.       So there's no question
     13     September 27, 2006, McKesson received this
     14     communication.
     15                      Do you know whether or not
     16     there was one document sent to McKesson or
     17     there was a letter sent to each of your
     18     distribution facilities?
     19             A.       That, I do not know.
     20                      MR. FARRELL:       Okay.     Can I ask,
     21             Counsel, do you know?
     22                      MS. HENN:      I'm sorry, I don't.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       Anyway, if in fact there is
     25     another document that has a specific one,

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      1     you'll agree with me that all of these 2006
      2     letters that were sent out, they were sent
      3     out to all the registrants across the
      4     country?
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       Yeah, that's what
      7             I believe to be the case, yeah.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       In fact, the first sentence
     10     says --
     11             A.       Right.
     12             Q.       -- this letter is being sent to
     13     every commercial entity in the United
     14     States --
     15             A.       Right.
     16             Q.       -- registered --
     17             A.       Whether it went to all of our
     18     individual DCs, I can't confirm, but --
     19             Q.       But sitting here today as the
     20     McKesson corporate designee, you acknowledge
     21     receipt of the September 27, 2006 letter from
     22     Joe Rannazzisi?
     23             A.       Yes.
     24             Q.       My understanding -- and we'll
     25     get into it other documents -- is that prior

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      1     to this there was actually meetings with the
      2     DEA regarding allegations that you were not
      3     complying with your federal regulations; is
      4     that fair?
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       I'm aware that
      7             there were meetings.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       I have been unaware of any
     10     documents produced related to this time
     11     frame, meaning 2004, 2005, 2006, related to
     12     the initial investigations or internal
     13     documents relating to the DEA's
     14     investigation.
     15                      Have you seen any of those
     16     documents?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       Documents prior
     19             to -- leading up to the settlement or
     20             the investigation?         I don't recall.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Okay.
     23             A.       I don't believe so.
     24             Q.       I've got some things that we'll
     25     go through.      What I'm really curious about,

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      1     whether or not there was anything prior to
      2     September 27, 2006, that you recall?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       Not that I
      5             recall.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       So at this point in time, the
      8     Section 55 policy was still in force and
      9     effect, correct?
     10             A.       Yes.
     11             Q.       Are you sure?
     12             A.       Yes.
     13             Q.       Okay.     This letter was
     14     received.
     15                      Do you know whether or not it
     16     was circulated amongst McKesson or it was
     17     discussed or reviewed or analyzed?
     18                      MS. HENN:      Objection to form.
     19                      THE WITNESS:       I'm not
     20             100 percent sure I know who all
     21             received it, so I can't answer that --
     22             I can't answer that specifically.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       Did McKesson change its conduct
     25     at all based upon this correspondence?

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      1             A.       From what I understand in
      2     talking with a former McKesson employee
      3     before this deposition, this was mostly a
      4     confirmation or a reiteration of the
      5     regulations, which McKesson knew, and
      6     highlighting things that were -- you know,
      7     that the team was doing.           And it was sort of
      8     a validation of some of the things that they
      9     had been doing, so the red flags and things
     10     like that.      So not significant changes that
     11     I'm aware of.
     12             Q.       Have you had an opportunity to
     13     review the 2006 Rannazzisi letter in
     14     preparation for today's deposition?
     15             A.       Yes.
     16             Q.       On behalf of McKesson
     17     Corporation, are you willing to affirm,
     18     acknowledge and validate all of the
     19     statements Mr. Rannazzisi places in his
     20     September 27, 2006 correspondence?
     21                      MS. HENN:      Objection to form.
     22             Outside the scope.
     23                      THE WITNESS:       Could you be more
     24             specific?      Validate every single
     25             statement and...

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Yeah.
      3                      Paragraph C of the 30(b)(6)
      4     notice asks for "testimony regarding
      5     McKesson's past and present interpretation,
      6     compliance, agreement and/or disagreement
      7     with this letter from the DEA outlining the
      8     duties imposed on a distributor under federal
      9     law."
     10                      So let's start with this:            Is
     11     there anything in this letter that you
     12     disagree with?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       I don't believe
     15             there's anything I would disagree
     16             with.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       Is this an accurate statement
     19     of the law?
     20                      MS. HENN:      Objection to form.
     21                      THE WITNESS:       I believe it is.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       So as of September 27, 2006,
     24     the DEA is advising McKesson -- not advising,
     25     but referencing the fact that there was a

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      1     prescription drug abuse problem in the United
      2     States of America.         That's in the very first
      3     paragraph.
      4                      Does McKesson acknowledge that?
      5             A.       Yes.
      6             Q.       The next sentence says, "As
      7     each of you is undoubtedly aware, the abuse,
      8     nonmedical use, of controlled prescription
      9     drugs is a serious and growing health problem
     10     in the country."
     11                      Does McKesson agree and
     12     acknowledge that fact as of 2006?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       Yes.
     15     QUESTIONS BY MR. FARRELL:
     16             Q.       The next full paragraph says,
     17     "The Controlled Substances Act was designed
     18     by Congress to combat diversion by providing
     19     for a closed system of drug distribution in
     20     which all legitimate handlers of controlled
     21     substances must obtain a DEA registration; as
     22     a condition of maintaining such registration,
     23     must take reasonable steps to ensure that
     24     their registration is not being utilized as a
     25     source of diversion."

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      1                      Does McKesson acknowledge and
      2     agree with that statement?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       I agree with
      5             that.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       I'd like you to read the next
      8     sentence aloud, please.
      9             A.       Where it starts "distributors
     10     are"?
     11             Q.       Yes.
     12             A.       "Distributors are, of course,
     13     one of the key components of the distribution
     14     chain."
     15             Q.       Keep going, please.
     16             A.       You want me to read the whole
     17     paragraph?      Okay.
     18                      "If the closed system is to
     19     function properly as Congress envisioned,
     20     distributors must be vigilant in deciding
     21     whether a prospective customer can be trusted
     22     to deliver controlled substances only for
     23     lawful purposes.        The responsibility is
     24     critical, as Congress has expressly declared
     25     that the illegal distribution of controlled

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      1     substances has a substantial and detrimental
      2     effect on the health and general welfare of
      3     the American people."
      4             Q.       So again, this is the DEA
      5     reiterating what we've discussed before:
      6     that failing to abide by the Code of Federal
      7     Regulations has a substantial and detrimental
      8     effect on the health and general welfare of
      9     the American people.
     10                      Does McKesson agree and
     11     acknowledge with that fact?
     12                      MS. HENN:      Objection to form.
     13                      THE WITNESS:       Yes.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Go to the next page, page 2,
     16     the second full paragraph.            It says,
     17     "Nonetheless, given the extent of
     18     prescription drug abuse in the United States,
     19     along with the potential -- along with
     20     dangerous and potentially lethal consequences
     21     of such abuse" -- will you please finish that
     22     sentence?
     23             A.       "Even just one distributor that
     24     uses its DEA registration to facilitate
     25     diversion can cause enormous harm."

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      1             Q.       Does McKesson acknowledge and
      2     accept that fact?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       I agree with
      5             that.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       If you go down to the third to
      8     last paragraph, it says, "In addition to
      9     reporting all suspicious orders, a
     10     distributor has a statutory responsibility to
     11     exercise due diligence to avoid filling
     12     suspicious orders that might be diverted into
     13     other than legitimate medical, scientific and
     14     industrial channels."
     15                      Does McKesson acknowledge and
     16     accept that to be true?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       Yes.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       And then the last sentence of
     21     the next paragraph says at the end, "The
     22     distributor should exercise due care in
     23     confirming the legitimacy of all orders prior
     24     to filing."
     25                      Do you see that sentence?

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      1                      Not "filing."        "Prior to
      2     filling."
      3             A.       I see that sentence.
      4             Q.       All right.       Since I butchered
      5     that sentence, will you please read the last
      6     sentence that's highlighted on the screen?
      7             A.       "The distributor should
      8     exercise due care in confirming the
      9     legitimacy of all orders prior to filling."
     10             Q.       Now, this is in September
     11     of 2006, agreed?
     12             A.       Agreed.
     13             Q.       And this is a clear statement
     14     from the DEA; would you agree with that?
     15             A.       I would agree with that.
     16             Q.       McKesson's official position is
     17     that when it received communications from the
     18     DEA, the DEA was clear as of 2006?
     19                      MS. HENN:      Objection to form.
     20             Also beyond the scope.
     21                      THE WITNESS:       The only question
     22             I would have about possibility is due
     23             care, what the definition of what due
     24             care means.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Okay.     Fair.    Fair enough.
      3                      If you flip to the next page,
      4     there's a laundry list of due care.
      5                      Do you agree on page 3 going
      6     through this, the DEA was clear with McKesson
      7     about the circumstances that might be
      8     indicative of diversion?
      9                      MS. HENN:      Objection to form.
     10                      THE WITNESS:       I wouldn't
     11             classify these -- I wouldn't call them
     12             due care.      These are to be red flags,
     13             indicators.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       So in 2006, the DEA is telling
     16     McKesson, you have to exercise due care prior
     17     to filling an order which you deem to be
     18     suspicious, agreed?
     19                      MS. HENN:      Objection to form.
     20                      THE WITNESS:       Could you ask
     21             that again?      Restate that?
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       In 2006, the DEA is telling
     24     McKesson, you have to exercise due care prior
     25     to filling an order which you deem to be

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      1     suspicious, agreed?
      2             A.       That's what's in the document,
      3     yes.
      4             Q.       Okay.     Do you disagree with
      5     that?
      6             A.       That they shared that, they --
      7     I don't disagree with that.
      8             Q.       Yet your Section 55 policy, you
      9     testified this morning, you were shipping
     10     suspicious orders?
     11                      MS. HENN:      Objection to form.
     12                      THE WITNESS:       There was a
     13             process by which those reports were
     14             reviewed, which I would consider to be
     15             part of due care in a review.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Is there a due care file for
     18     each of those?
     19                      MS. HENN:      Objection to form.
     20                      THE WITNESS:       Not that I'm
     21             aware of.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       So there's no documentation of
     24     the due care of each suspicious order that
     25     was shipped by McKesson in accordance with

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      1     the July 2000 policies and procedures?
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       Could you restate
      4             that, please?
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Is there any documentation of
      7     the due care performed by McKesson from
      8     July 2000 onward pursuant to Section 55 with
      9     regard to suspicious orders that were
     10     shipped?
     11                      MS. HENN:      Objection to form.
     12             Outside the scope.
     13                      THE WITNESS:       I can't speak to
     14             the specific documentation and how it
     15             was documented those reviews that were
     16             conducted of those specific reports
     17             that were generated.          Could have been
     18             documentation on a form.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Have you seen such
     21     documentation?
     22                      MS. HENN:      Objection to form.
     23                      THE WITNESS:       I haven't
     24             personally seen examples of that.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Have you seen any piece of
      3     paper that indicates that the suspicious
      4     orders that were shipped were subject to a
      5     due diligence review beforehand, from
      6     July 2000 to 2007?
      7                      MS. HENN:      Objection to form.
      8             Outside the scope.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       It doesn't mean they don't
     11     exist.
     12             A.       Right.
     13             Q.       I'm just asking if you've seen
     14     them.
     15                      MS. HENN:      Same objections.
     16                      THE WITNESS:       I don't believe
     17             I've seen -- I haven't seen examples.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       So you're taking it on faith
     20     that due diligence was, in fact, performed?
     21                      MS. HENN:      Objection to form.
     22             Outside the scope.
     23                      THE WITNESS:       From what I
     24             understand and some of the
     25             conversations I've had, that due

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      1             diligence processes did happen and
      2             exist, yes.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       Well, you'll agree with me that
      5     Section 55 seems to indicate that there's no
      6     subjective involvement regarding the
      7     reporting of suspicious orders; it was a
      8     statistical fact.
      9                      MS. HENN:      Objection to form.
     10             Outside the scope.
     11                      THE WITNESS:       Can you ask that
     12             one again?
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       Yeah, I'm not trying to play
     15     word games.
     16             A.       I know.
     17             Q.       It appears from the Section 55
     18     policy that's in writing that McKesson's
     19     position was to eliminate subjective review
     20     of whether or not a suspicious order was
     21     reportable, and that the policy states if
     22     it's deemed suspicious as a statistical fact,
     23     it should be reported to the DEA.              Agreed?
     24                      MS. HENN:      Objection to form.
     25             Outside the scope.

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      1                      THE WITNESS:       Agreed.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       So every single order that was
      4     deemed suspicious by your monitoring program
      5     should have been reported to the DEA from
      6     July 2000, at least through Rannazzisi's 2006
      7     letter?
      8                      MS. HENN:      Objection to form.
      9             Outside the scope.
     10                      THE WITNESS:       I believe that's
     11             the case, to have faxed that or sent
     12             it to the local diversion office.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       If McKesson did not report
     15     those orders, it was in violation of federal
     16     law, agreed?
     17                      MS. HENN:      Objection to form.
     18             Outside the scope.
     19                      THE WITNESS:       Can you ask that
     20             one again or restate?
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Yeah.     It's a hypothetical.
     23             A.       Right.
     24             Q.       If McKesson did not report
     25     suspicious orders detected following the

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      1     July 2000 Section 55 policy -- let me start
      2     over.    Let me see if I can make this as
      3     simple as possible.
      4                      Beginning in July of the year
      5     2000 --
      6             A.       Okay.
      7             Q.       -- if McKesson did not report a
      8     suspicious order it detected pursuant to the
      9     Section 55 policy, McKesson was in violation
     10     of federal law; agreed or disagree?
     11                      MS. HENN:      Objection to form.
     12             Outside the scope.
     13                      THE WITNESS:       I agree that it
     14             would -- it's -- I don't know.             Maybe
     15             ask it again.       I apologize for pausing
     16             here.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       It's an important question.
     19             A.       Yeah.
     20             Q.       McKesson has a statutory and
     21     regulatory responsibility under federal
     22     law --
     23             A.       Right.
     24             Q.       -- to report suspicious orders
     25     to the DEA?

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      1             A.       Correct.
      2             Q.       McKesson, in July of 2000,
      3     adopted a policy that we've been referring to
      4     as Section 55 --
      5             A.       Correct.
      6             Q.       -- to do that very thing?
      7             A.       Correct.
      8             Q.       That policy states that it's
      9     not a subjective determination of whether to
     10     report; it's a statistical fact of whether
     11     you should report?
     12                      MS. HENN:      Objection to form.
     13                      THE WITNESS:       The report is a
     14             statistical -- a statistically
     15             generated one, yes.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       And whether to report it to the
     18     DEA is not a subjective determination; it's
     19     mandatory if you detect a suspicious order?
     20                      MS. HENN:      Objection to form.
     21             Outside the scope.
     22                      THE WITNESS:       I believe that to
     23             be the case.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       So if you didn't do that, it's

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      1     a violation of federal law?
      2                      MS. HENN:      Objection to form.
      3             Outside the scope.
      4                      THE WITNESS:       I believe so.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Big if, right?
      7             A.       If, right.
      8             Q.       If that happened, if McKesson
      9     detected a suspicious order following the
     10     Section 55 enactment and did not report it to
     11     the DEA, that's a violation of federal law?
     12             A.       If.
     13                      MS. HENN:      Objection to form.
     14                      (McKesson-Hartle Exhibit 17
     15             marked for identification.)
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       I'm going to mark what's going
     18     to be Exhibit 17.        The document ID is
     19     2007_04_25.      I apologize, there is no MDL
     20     Bates stamp that I could locate; however,
     21     there is a prior production Bates stamp of
     22     MCK-HOI-002 dash a whole bunch of zeros and
     23     then 1.
     24                      I'll give you a few minutes to
     25     look through this.

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      1                      Sir, have you seen this
      2     document before today?
      3             A.       I don't believe I've seen this
      4     specific one.
      5             Q.       I'll give you a minute to
      6     review.
      7             A.       Okay.     I've read that.        Thank
      8     you for taking the time.
      9             Q.       No problem.
     10                      So to start off with on this
     11     exhibit, you acknowledge that there was a
     12     meeting with the DEA on April 5, 2007.                It's
     13     from the very first paragraph.
     14             A.       Yes.
     15             Q.       So at this point in time, the
     16     DEA had issued an order to show cause against
     17     McKesson, agreed?
     18             A.       Correct.
     19             Q.       I've yet to see any
     20     documentation of anything that predates
     21     April 25, 2007, related to this
     22     investigation.
     23                      Have you seen such documents?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       I don't believe

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      1             so, no.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       To the extent that such
      4     documents do exist, we again reserve our
      5     right to come back and discuss them further,
      6     subject to the objection of counsel.
      7                      But for what we have here, this
      8     appears that at least in April of 2007, the
      9     DEA had already issued a rule to show cause
     10     complaining that one of your distribution
     11     centers was not following federal law,
     12     agreed?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       That's what they
     15             alleged.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       When you go to page 2 under
     18     Proposed Action Plan, does this indicate to
     19     you that McKesson is acknowledging that they
     20     need to do better to comply with federal law?
     21                      MS. HENN:      Objection to form.
     22                      THE WITNESS:       I think this is
     23             acknowledge -- excuse me --
     24             acknowledgement of just improvements
     25             in the program, taking information in

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      1             to evolve the program based on
      2             collaboration with DEA and information
      3             they're receiving.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       You're in management, are you
      6     not?
      7             A.       I am.
      8             Q.       And have you ever written a
      9     proposed action plan for an employee?
     10             A.       I have.
     11             Q.       And is it just to document
     12     something new, or are you trying to correct
     13     something?
     14                      MS. HENN:      Objection to form.
     15                      THE WITNESS:       There can be many
     16             different types of action plans.              I've
     17             done both.
     18     QUESTIONS BY MR. FARRELL:




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     12     QUESTIONS BY MR. FARRELL:
     13             Q.       As a McKesson corporate
     14     designee, are you willing to admit here today
     15     that as of April 25, 2007, McKesson was not
     16     fulfilling its obligations under federal law
     17     regarding the monitoring of the distribution
     18     of controlled substances?
     19                      MS. HENN:      Objection to form.
     20                      THE WITNESS:       Can you ask that
     21             again, please?
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       As a McKesson corporate
     24     designee, are you willing to admit here today
     25     that as of April 25, 2007, McKesson was not

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      1     fulfilling its obligations under federal law
      2     regarding the distribution of controlled
      3     substances?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       I believe in
      6             partnership with DEA and always in
      7             good faith, McKesson was believed to
      8             be compliant with the regulations.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       I understand that McKesson as a
     11     corporate entity -- McKesson, it's not a
     12     person, right?       McKesson Corporation is a
     13     fictional piece of paper that creates a
     14     business model, agreed?
     15                      MS. HENN:      Objection to form.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Is there a Mr. McKesson still
     18     running the company?
     19             A.       No, there's not.
     20             Q.       All right.       So McKesson is a
     21     corporation?
     22             A.       Agreed.      I understand that.
     23             Q.       And in April of 2007, it was
     24     meeting with the federal government, the DEA,
     25     and changing the way it was doing business,

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      1     agreed?
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       Changing,
      4             enhancing, adding.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Okay.     And in part, it was
      7     because McKesson was not fulfilling its
      8     obligations under federal law?
      9                      MS. HENN:      Objection to form.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Can that even be disputed?
     12                      MS. HENN:      Same objection.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       You paid a $13 million fine as
     15     a result of this investigation.
     16                      Can you not acknowledge today,
     17     in 2007 there were shortcomings in your
     18     controlled substance monitoring program?
     19                      MS. HENN:      Objection to form.
     20                      THE WITNESS:       We denied those
     21             allegations in that settlement, and we
     22             obviously -- as any program does,
     23             wants to improve and expand and take
     24             new information in.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       So you paid $13 million as a
      3     tax write-off?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       As a settlement
      6             between both parties.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       To settle what?        Allegations of
      9     what?
     10                      MS. HENN:      Objection to form.
     11                      THE WITNESS:       Issues related to
     12             the regulations.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       The allegations were that
     15     McKesson was not fulfilling its obligations
     16     under federal law, agreed?
     17             A.       That was the allegations.
     18             Q.       And McKesson wrote an action
     19     plan and paid a fine to the DEA to get a
     20     release for its conduct?
     21                      MS. HENN:      Objection to form.
     22                      THE WITNESS:       I think that's
     23             accurate.      We did.
     24     QUESTIONS BY MR. FARRELL:



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     12             Q.       In fact, nobody in the country
     13     was doing thresholds prior to this?
     14                      MS. HENN:      Objection to form.
     15             Outside the scope.
     16                      THE WITNESS:       I'm not aware if
     17             others were.




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      4     QUESTIONS BY MR. FARRELL:
      5             Q.       So going back to the 2006
      6     Rannazzisi letter, this is an acknowledgement
      7     under the shipping requirement that you must
      8     halt suspicious orders until due diligence is
      9     performed?
     10                      MS. HENN:      Objection to form.
     11                      THE WITNESS:       Can you ask that
     12             again or restate that, please?
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       Mr. Rannazzisi, in his 2006
     15     letter from the DEA to McKesson, informed
     16     McKesson of its duty to halt suspicious
     17     orders, agreed?
     18             A.       Was that the specific language
     19     or was that the due --
     20             Q.       We can go back and take a look
     21     at it.
     22             A.       Yeah.     Exercise due care.
     23             Q.       I mean, I don't care what
     24     standard we're using right now; you can say
     25     due diligence or due care.            But the idea

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      1     being is in 2006, the DEA is telling McKesson
      2     if you get a suspicious order, you have to
      3     halt and you cannot ship it until you look
      4     into it.
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       Can we look at
      7             that specific language?
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Sure.
     10             A.       Can you point it out to me?
     11             Q.       I hope so.       2006_09_27, page 2,
     12     beginning with the paragraph, "Thus,"
     13     two-thirds of the way down, "in addition to
     14     reporting all suspicious orders" -- right?
     15     What does that say?         "In addition to
     16     reporting all suspicious orders."
     17                      "All" means what?
     18             A.       All.
     19             Q.       So if you get a suspicious
     20     order, what is McKesson supposed to do?
     21             A.       To report it.
     22             Q.       And if you don't, is that
     23     lawful or unlawful?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       That doesn't meet

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      1             the expectation or the guideline that
      2             they lay out in this communication.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       Which makes -- and that
      5     guideline is premised upon what?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       The CFR.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       And so that makes it lawful or
     10     unlawful?
     11                      MS. HENN:      Objection to form.
     12                      THE WITNESS:       Unlawful.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       The next part:        "A distributor
     15     has a statutory responsibility to exercise
     16     due diligence to avoid filling suspicious
     17     orders."
     18                      Agreed?
     19             A.       I agree with that language.             It
     20     doesn't say -- that's not halt.
     21             Q.       Well, it's a halt until you do
     22     due diligence --
     23             A.       Yeah.
     24             Q.       -- right?
     25             A.       It's not a block.         Yeah, it's

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      1     a...
      2             Q.       Maybe this is just a
      3     terminology issue.
      4             A.       Might be.
      5             Q.       Block -- all I'm saying is, is
      6     that McKesson's not allowed to ship a
      7     suspicious order without looking into it
      8     first, agreed?
      9                      MS. HENN:      Objection to form.
     10                      THE WITNESS:       That's how I read
     11             that language.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       That is the law?
     14             A.       Yeah.
     15             Q.       Yes?
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       The law is to
     18             design a system to identify suspicious
     19             orders.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       That's one part of the law.
     22             A.       Right.
     23             Q.       What does the CFR say?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       To identify

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      1             orders of unusual size, pattern and
      2             frequency.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       And so if you ship a suspicious
      5     order without doing due diligence, is that
      6     lawful or unlawful?
      7                      MS. HENN:      Objection to form.
      8                      THE WITNESS:       Again, I'm -- the
      9             CFR says you must design and operate a
     10             system, right, and to identify
     11             suspicious orders.         I don't believe it
     12             says to halt them.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       It does?
     15             A.       In that specific language.
     16             Q.       It does or does not?
     17             A.       Does not.
     18             Q.       Is your interpretation of
     19     federal law that you're allowed to ship a
     20     suspicious order without conducting due
     21     diligence?
     22                      MS. HENN:      Objection to form.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       Maybe this explains why
     25     McKesson paid a $150 million fine.

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      1                      MS. HENN:      Objection to form.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Let's get back to it.
      4                      Masters Pharmaceutical has a
      5     reporting requirement and a shipping
      6     requirement.       We reviewed it this morning,
      7     agreed?
      8             A.       Parts of it, correct.           Agreed.
      9             Q.       It's premised upon a code
     10     provision.      The United States Congress passed
     11     a US Code provision in 1970, agreed?
     12             A.       Agreed.
     13             Q.       And it passed -- the Department
     14     of Justice enacted regulations which are
     15     binding as federal law related to this very
     16     topic, agreed?
     17             A.       Agreed.
     18             Q.       And if you don't follow those
     19     rules, McKesson can be fined by the federal
     20     government?
     21             A.       Agreed.
     22             Q.       McKesson's been fined twice
     23     that I know of, once for 13 million in 2008
     24     and once for 150 million in 2017, for
     25     violating these very laws.

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       That's what was
      3             alleged.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       So my question to you is:            Is
      6     that the shipping requirement that you have
      7     to halt a suspicious order under federal law
      8     until you do due diligence is and always has
      9     been the law in the United States of America?
     10                      MS. HENN:      Objection to form.
     11             Outside the scope.
     12                      THE WITNESS:       Can you ask that
     13             again, please?
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       The shipping requirement and
     16     the reporting requirement as outlined in the
     17     Masters Pharmaceutical case is and always has
     18     been the law in the United States of America?
     19                      MS. HENN:      Objection to form.
     20             Outside the scope.
     21                      THE WITNESS:       I believe that's
     22             the law.     I mean...
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       Well, you're McKesson --
     25                      MS. HENN:      Did you finish your

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      1             answer?
      2                      THE WITNESS:       I did.     I didn't
      3             really have a -- yeah.
      4                      MS. HENN:      Okay.     Just making
      5             sure.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       So your answer is yes?
      8                      MS. HENN:      Objection to form.
      9                      THE WITNESS:       Yes.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       I don't want to -- I don't want
     12     you to hesitate.
     13             A.       I'm not a legal expert.
     14             Q.       I'm not asking you to be a
     15     legal expert.
     16             A.       Right.
     17             Q.       I'm asking McKesson
     18     Corporation -- I know this -- to be fair, I
     19     understand you are in a role with McKesson
     20     being asked to step in the shoes of a
     21     corporation and answer on its behalf.
     22             A.       Right.
     23             Q.       So I'm not trying to be rude,
     24     and I know I'm pressing you.
     25             A.       Right.

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      1             Q.       But what I'm trying to do is,
      2     for the record, create McKesson's position.
      3     And I've asked for McKesson to designate
      4     someone to announce its position, and
      5     fortunately it's you.
      6                      So let me repeat the question.
      7     The shipping requirement and the reporting
      8     requirement as outlined and defined in the
      9     Masters Pharmaceutical case is and always has
     10     been the law in the United States of America;
     11     agree or disagree?
     12                      MS. HENN:      Object to the form
     13             of the question.        It's outside the
     14             scope.
     15                      THE WITNESS:       I agree that
     16             that's the law.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       And if you don't follow the
     19     law, that makes it unlawful?
     20                      MS. HENN:      Objection to form.
     21                      THE WITNESS:       If you don't
     22             follow a law, that would be unlawful.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       And if you don't follow the
     25     shipping requirement, that's unlawful?

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       And if you don't
      3             follow the law, I would agree.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       And if you don't follow the
      6     reporting requirement, that's the law?
      7                      MS. HENN:      Objection to form.
      8                      THE WITNESS:       Again, if you
      9             don't follow the law, if you don't
     10             follow the guidelines, it would be
     11             unlawful.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       So when you look at paragraph 7
     14     of Exhibit 17, the 2007 correspondence from
     15     McKesson to the DEA, you are announcing that
     16     you're going to adopt new measures,
     17     additional measures, revised, amended,
     18     changed, more measures, to comply with
     19     federal law?
     20                      MS. HENN:      Objection to form.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Agree or disagreed?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       We're
     25             communicating that we were enhancing

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      1             the program.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       In response to allegations that
      4     you were not fulfilling your obligations
      5     under the shipping requirement and reporting
      6     requirement?
      7                      MS. HENN:      Objection to form.
      8                      THE WITNESS:       In part due to
      9             allegations.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Now, this letter is addressed
     12     to Linden Barber.
     13                      Do you know who Linden Barber
     14     is?
     15             A.       I've heard of Linden Barber.
     16             Q.       How have you heard of him?
     17             A.       Just in my past experience even
     18     prior to McKesson, knowing he was in DEA.
     19             Q.       Do you know where he is now?
     20             A.       He's at Cardinal.
     21             Q.       Cardinal Health?
     22                      How come you-all didn't hire
     23     him?
     24             A.       I can't speak to that.           I don't
     25     know.    I'm confident in the people we have on

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      1     the team.




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     12             Q.       Perfect.
     13                      Have you seen the customer
     14     files for Cuyahoga County and Summit County?
     15             A.       I have not.
     16             Q.       Me either.
     17                      Do they exist?
     18             A.       I can't speak to that.           I don't
     19     know.
     20             Q.       Okay.     One of the 30(b)(6)
     21     topics that I asked was to talk about these
     22     due diligence files.
     23                      You're telling me you haven't
     24     seen any of the due diligence files for any
     25     pharmacy in Summit County and Cuyahoga

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      1     County?
      2                      MS. HENN:      Objection to form.
      3             Outside the scope.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       It's okay if you haven't, and I
      6     don't want you guessing.
      7             A.       No, I understand.
      8                      I've seen files.         I don't know
      9     about files during this time frame with a
     10     Level 1, 2 or 3 review.           I can't recall.
     11             Q.       Let me ask you this:          How --
     12     how many pharmacies in May of 2007, in
     13     Cuyahoga and Summit County, do you reckon
     14     ordered more than 8,000 pills of hydrocodone
     15     or oxycodone?
     16                      MS. HENN:      Objection to form.
     17             Outside the scope.
     18                      THE WITNESS:       I don't know.
     19             I'd be guessing.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Let's say there's ten.           Should
     22     there be ten customer files that document why
     23     McKesson was exceeding 8,000 pills a month?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       There should be

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      1             documentation.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       And if there was no due
      4     diligence performed but those pills were
      5     still shipped, is that lawful or unlawful?
      6                      MS. HENN:      Objection to form.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Do you want me to repeat the
      9     question?
     10             A.       Sure.
     11             Q.       If, if, if, three ifs, no due
     12     diligence was performed, yet McKesson still
     13     shipped more than 8,000 oxycodone pills to a
     14     pharmacy in Cuyahoga or Summit County in May
     15     of 2007, is that lawful or unlawful according
     16     to the federal regulations?
     17                      MS. HENN:      Objection to form.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       Why are you struggling with
     20     this?
     21             A.       I'm just thinking.         I mean,
     22     it's -- if it's -- it wouldn't be lawful.
     23             Q.       That makes it...
     24             A.       If there weren't documentation.
     25     Or due diligence, excuse me.

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      1             Q.       Then it would be lawful or
      2     unlawful?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       It would be
      5             unlawful.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       So it's summarizing altogether.
      8     If in May of 2007 McKesson is shipping to a
      9     pharmacy in Cuyahoga or Summit County,
     10     Cleveland, Ohio, or Akron, Ohio, more than
     11     8,000 pills of hydrocodone or more than 8,000
     12     pills of oxycodone, without conducting a due
     13     diligence review, then McKesson is engaging
     14     in unlawful conduct according to federal law,
     15     agreed?
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       Can you ask it
     18             again?     I apologize.       Let's pause
     19             here.    I'm not a lawyer.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       I know you're not.         And again,
     22     I'm going to reiterate --
     23             A.       There's discretion in how this
     24     due diligence is done and documented, so I'm
     25     trying to understand.

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      1             Q.       That's right.        So -- you're
      2     right.    So let me see if I can say it again.
      3                      If in May of 2007 McKesson
      4     Corporation is shipping to a pharmacy in
      5     Cuyahoga or Summit County, Cleveland, Ohio,
      6     or Akron, Ohio, more than 8,000 pills of
      7     oxycodone or more than 8,000 pills of
      8     hydrocodone without conducting due diligence,
      9     then McKesson Corporation is engaging in
     10     unlawful conduct according to federal law?
     11                      MS. HENN:      Object to form.
     12                      THE WITNESS:       I don't know how
     13             to answer that exactly.           It depends.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Depends on what?
     16                      If you ship more than 8,000
     17     pills without conducting due diligence,
     18     McKesson is engaging in unlawful conduct
     19     according to federal law?
     20                      MS. HENN:      Objection to form.
     21                      Go ahead.
     22                      THE WITNESS:       It can be
     23             interpreted that way.          I mean, it --
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Well, the DEA certainly

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      1     interprets it that way, agreed?
      2             A.       They have.
      3             Q.       And McKesson has paid fines
      4     based on that DEA interpretation, agreed?
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       We've paid fines.
      7             Again, we're --
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Based on the allegations by the
     10     DEA that you shipped suspicious orders
     11     without conducting due diligence?
     12                      MS. HENN:      Objection to form.
     13                      Go ahead.
     14                      THE WITNESS:       Based on those
     15             allegations.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Yes.
     18             A.       Right.
     19             Q.       The answer is yes?
     20             A.       Yes.
     21             Q.       See, a yes just gets me moving
     22     faster.      Oh, this one's gonna be fun.
     23                      MR. FARRELL:       Why don't we take
     24             a quick break.
     25                      MS. HENN:      Okay.

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      1                      VIDEOGRAPHER:        The time is
      2             2:08 p.m., and we're going off the
      3             record.
      4              (Off the record at 2:08 p.m.)
      5                      VIDEOGRAPHER:        The time is
      6             2:20 p.m., and we're back on the
      7             record.
      8                      (McKesson-Hartle Exhibit 18
      9             marked for identification.)
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       The next exhibit we're going to
     12     have marked is Exhibit 18.
     13                      For reference, the top
     14     right-hand corner is 2007_04_XX.              The reason
     15     it's XX is the metadata has not yet told me
     16     what day of the month it is.
     17                      Do you know what day of the
     18     month this conference was back in 2007?
     19             A.       I can't think off the top of my
     20     head, no.      Yeah.
     21             Q.       The Bates stamp, we have a MDL
     22     Bates stamp of MCKMDL00403340.
     23                      Do you recognize this document?
     24             A.       I do.
     25             Q.       What is it?

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      1             A.       This is a presentation given by
      2     Don Walker about -- at a company meeting
      3     about the Lifestyle Drug Program.
      4             Q.       And Don Walker at the time
      5     was -- would be working for McKesson?
      6             A.       Yes.
      7             Q.       So this is a McKesson document?
      8             A.       Excuse me, yes.
      9             Q.       It's produced in the MDL by the
     10     McKesson lawyers?
     11             A.       Yes.
     12             Q.       From the McKesson files?
     13             A.       Yes.
     14             Q.       And is a true and accurate copy
     15     of the presentation given at the national
     16     operations conference in 2007?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       Yes, I believe
     19             so.    I wasn't there, but I believe so,
     20             yeah.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       So this national operations
     23     conference 2007, this is a conference that is
     24     just for McKesson employees.            Is that your
     25     understanding?

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      1             A.       Yeah, they typically are.
      2             Q.       It's from -- Mr. Boggs
      3     testified about it previously.             So this was
      4     in 2007.     Management basically gets together,
      5     and Don Walker is the senior vice president
      6     of distribution operations, is giving a
      7     presentation on a number of topics in the
      8     form of a PowerPoint slide?
      9             A.       Correct.
     10                      MS. HENN:      Objection to form.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       Yes?
     13             A.       Correct.
     14             Q.       So the title of this is
     15     "Lifestyle Drugs and Internet Pharmacies."
     16                      "Lifestyle drugs" is an
     17     interesting choice of words.
     18                      Do you know where it came from?
     19             A.       It's my understanding that's
     20     the language that was -- the DEA used as well
     21     and had referenced.
     22             Q.       Some of the files that I've
     23     seen has the DEA asking McKesson where you
     24     came up with the oxycodone, hydrocodone and
     25     opium pills as lifestyle drugs.

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       All I can tell
      3             you is I -- what I've heard is that
      4             it's the term that came from DEA.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       On page 2, it identifies
      7     several different topics:           public health
      8     issue, DEA focus, McKesson involvement,
      9     current status, and Lifestyle Drug Monitoring
     10     Program.     So these will be our jeopardy
     11     questions today.
     12                      Public health issues.           Can you
     13     read what the very -- on page 3, can you read
     14     what the first item is?
     15             A.       "Abuse of prescription drugs
     16     has risen 66 percent since 2000."
     17             Q.       So this is McKesson telling
     18     McKesson employees that we're in the business
     19     of selling opium pills, and abuse has risen
     20     66 percent since 2000.
     21                      Does that not give you,
     22     Mr. McKesson Corporation, pause to think
     23     about whether or not your role in the chain
     24     of distribution is contributing to the abuse?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       Can you ask that
      2             again, please?
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       This is McKesson telling
      5     McKesson employees that abuse of prescription
      6     drugs has risen 66 percent since the year
      7     2000.
      8                      Does that not give you,
      9     Mr. McKesson Corporation, pause to think
     10     about whether or not your role in the chain
     11     of distribution is contributing to such
     12     abuse?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       I think it's --
     15             it should give everybody pause that
     16             that was the trend that was going on,
     17             and it's a piece of information shared
     18             with leaders to inform them.             So --
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       But not everybody is selling
     21     opium pills; McKesson is.
     22                      MS. HENN:      Counsel, can we just
     23             make sure we let the witness finish
     24             his answers?
     25                      MR. FARRELL:       Sure.     I was

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      1             trying to make a snarky remark.
      2                      MS. HENN:      Thank you.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       Not everyone is engaged in the
      5     chain of distribution of opium pills, though?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       Agree.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       So I'm asking you, McKesson
     10     Corporation, whether or not you have any
     11     regrets about selling so many opium pills.
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14                      THE WITNESS:       Back to your
     15             question about this, I would -- sure
     16             that gives you pause, I mean, to
     17             understand that there's an epidemic
     18             out there.      And clearly there's many
     19             players involved in the flow of
     20             distribution.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       As of 2007, McKesson is
     23     recognizing that opioid painkillers kill more
     24     than cocaine and heroin combined, agreed?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       Agree.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       And these are McKesson's words.
      4                      Where is McKesson getting this
      5     data from?
      6                      MS. HENN:      Objection to form.
      7             Outside the scope.
      8                      THE WITNESS:       I don't know
      9             specifically where they -- their
     10             source of data for that particular
     11             line, but information from different
     12             sources.     Could be DEA, could be CDC,
     13             it could be wherever.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       It says here, "Rogue Internet
     16     pharmacies distributing oxycodone,
     17     hydrocodone, phentermine and alprazolam," yet
     18     McKesson was selling to rogue Internet
     19     pharmacies, true?
     20                      MS. HENN:      Objection to form.
     21             Outside the scope.
     22                      THE WITNESS:       Can you ask that
     23             again, please?
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       McKesson is noting that rogue

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      1     Internet pharmacies are selling oxycodone and
      2     hydrocodone, yet what's missing from this
      3     slide is the fact that McKesson was supplying
      4     the pills to the rogue Internet pharmacies.
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       And what's your
      7             specific question again?
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       What gives?
     10                      MS. HENN:      Objection to form.
     11                      THE WITNESS:       I don't know what
     12             type of response a "what gives"
     13             question is.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Yeah.     You're noting that
     16     people are dying, and part of the reason is
     17     that rogue Internet pharmacies are out there.
     18     Yet McKesson, during this time frame, is
     19     selling to some of those very same Internet
     20     pharmacies, and that's what the DEA fined you
     21     for.
     22                      So is this ignorance of who
     23     you're selling to?         Is this repackaging,
     24     reframing the issue?          Or is it just flat out
     25     a misrepresentation?

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      1                      MS. HENN:      Objection to form.
      2             Outside the scope.
      3                      THE WITNESS:       This is raising
      4             awareness in -- about the issues that
      5             are the public health issues,
      6             communicating with leaders and sharing
      7             the -- where McKesson is enhancing the
      8             program.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       But you understand that the
     11     rogue Internet pharmacies were getting their
     12     pills from, among other people, McKesson,
     13     agreed?
     14             A.       I understand.
     15                      MS. HENN:      Objection to form.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Agreed?
     18             A.       I understand.        Agreed.
     19             Q.       I'm asking if you understand.
     20     I want you to confirm that the rogue Internet
     21     pharmacies were in fact getting some of their
     22     pills from McKesson.
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       I don't have
     25             specific details on that, but --

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       You understand that to be true?
      3             A.       -- I understand that to be
      4     true.
      5             Q.       So McKesson Corporation admits
      6     it was selling oxycodone and hydrocodone to
      7     rogue Internet pharmacies in and around 2007?
      8                      MS. HENN:      Objection to form.
      9             Outside the scope.
     10                      THE WITNESS:       Again, I don't
     11             know the specific examples and --
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       I'm not asking for specific
     14     examples.
     15             A.       Right.
     16             Q.       I'm asking you to confirm that
     17     in 2007, McKesson Corporation was selling
     18     oxycodone and hydrocodone to rogue Internet
     19     pharmacies.
     20                      MS. HENN:      Objection to form.
     21                      And, Counsel, I'll just ask you
     22             to let him finish his answers so that
     23             he can get his answers out.
     24                      MR. FARRELL:       Yes, ma'am.
     25                      THE WITNESS:       Again, I don't

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      1             have the specific examples.            I believe
      2             that to be true, but I don't know the
      3             specific details.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       The next page, page 4,
      6     "Internet pharmacies."          It says,
      7     "Investigative work hours have doubled."
      8                      Do you know what it doubled
      9     from or to?
     10             A.       I do not.
     11             Q.       "Cutting supply critical to
     12     success."
     13                      What does that mean?
     14             A.       I don't know.        I don't know
     15     what the speaking points or -- it's one
     16     bullet.      I'm not sure how it was represented
     17     or communicated.
     18             Q.       Do you know what price
     19     diversion is?
     20             A.       Not specifically.
     21             Q.       Was McKesson at this time
     22     considering that some of the Internet
     23     pharmacies were competing with McKesson for
     24     business?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       I do not know.
      2             Pricing is not my area.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       Okay.     It says, "Wholesalers.
      5     DEA expects that you know your customers."
      6                      What does that mean?          It's in
      7     quotations.
      8             A.       Right.
      9                      MS. HENN:      Objection to form.
     10                      MR. FARRELL:       Well, it is in
     11             quotations, isn't it?
     12                      MS. HENN:      I was objecting to
     13             asking what DEA means when they said
     14             "know your customers."          That was what
     15             was my objection.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       So McKesson is writing a slide
     18     following a meeting with the DEA, reporting
     19     to the DEA employees what the DEA's focus
     20     was, and what McKesson is reporting is that
     21     the DEA expects you to know your customers.
     22                      Is that fair?
     23             A.       That's fair.
     24             Q.       And when we do, quote, "know
     25     our customers," end quote, that's a tag line

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      1     for distributors with regard to knowing the
      2     customers you're selling opium pills to?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       That is a DEA tag
      5             line.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       And then the next sentence, can
      8     you read it out loud, please?
      9             A.       The next bullet?
     10             Q.       Yes.
     11             A.       "Wholesalers accountable for
     12     controlling quantities shipped."
     13             Q.       Is that true or not true?
     14                      MS. HENN:      Objection to form.
     15                      THE WITNESS:       Can you add a
     16             little more context to your question?
     17             I know it's a true/false question,
     18             but --
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Yes.
     21                      The DEA expects the wholesalers
     22     to be accountable for controlling quantities
     23     that they ship.
     24                      Is that fair or unfair?
     25                      MS. HENN:      Objection to form.

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      1                      Go ahead.
      2                      THE WITNESS:       That's what
      3             the -- that's what the DEA expects, I
      4             guess, yeah.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Does McKesson acknowledge that
      7     it is accountable for controlling the
      8     quantities of opium pills shipped to American
      9     pharmacies?
     10             A.       We're accountable as a
     11     distributor.
     12             Q.       The next thing says, "5,000
     13     dose units is average."
     14                      The average American pharmacy
     15     in 2007, as reported by the DEA to McKesson,
     16     was that 5,000 doses of oxycodone or 5,000
     17     doses of hydrocodone was average.
     18             A.       That's what the DEA -- DEA
     19     calculations.
     20             Q.       And McKesson at least validated
     21     that number by repeating it on a slide to the
     22     national operations conference in 2007.
     23                      MS. HENN:      Objection to form.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Agreed?

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      1             A.       I wouldn't say that they
      2     validated.      We just repeated what was shared.
      3             Q.       Did McKesson undertake any
      4     investigation to determine what the average
      5     was itself?
      6             A.       I believe they did.          I can't
      7     speak to the examples, but we've used
      8     analysts and reviewed data when developing
      9     thresholds and...
     10             Q.       Does McKesson acknowledge that
     11     in 2007 5,000 dose units was average in the
     12     United States of America?
     13                      MS. HENN:      Objection to form.
     14             Outside the scope.
     15                      THE WITNESS:       We acknowledge
     16             that's what the DEA shared.            I mean,
     17             there's many ways to get averages.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       Sitting here today, does
     20     McKesson Corporation have any reason to
     21     disagree or dispute the DEA's estimation of
     22     what the average dose unit was?
     23                      MS. HENN:      Objection to form.
     24             Outside the scope.
     25                      THE WITNESS:       What I would

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      1             share is I believe that average is a
      2             very rudimentary average, all
      3             pharmacies divided by pills, and so it
      4             doesn't account for different pharmacy
      5             size.    So it's the number that is the
      6             result of that basic calculation.
      7     QUESTIONS BY MR. FARRELL:




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     12     QUESTIONS BY MR. FARRELL:
     13             Q.       As of April of 2007, which we
     14     believe to be the date of this conference,
     15     have you seen any documentation anywhere in
     16     the records of McKesson Corporation that
     17     indicate that any message from the DEA to
     18     date had been unclear?
     19                      MS. HENN:      Objection to form.
     20             Outside the scope.
     21                      THE WITNESS:       Have I seen
     22             formal documentation where somebody
     23             said DEA was unclear?
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       That was my question, yes.

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      1             A.       I have not seen any of that
      2     documentation.




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     13                      (McKesson-Hartle Exhibit 19
     14             marked for identification.)
     15     QUESTIONS BY MR. FARRELL:
     16             Q.       We'll mark as 19, top
     17     right-hand corner is 2007_5_15, Bates-stamped
     18     MCKMDL00337303.
     19                      Is this, in fact, the Lifestyle
     20     Drug Monitoring Program at McKesson?
     21             A.       Yes.
     22             Q.       Do you recognize this document
     23     as a true and authentic version of the
     24     Lifestyle Drug Monitoring Program?
     25             A.       I do.

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      1             Q.       And is it a document kept in
      2     the regular course of business and produced
      3     by your lawyers in this litigation?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       Yeah.
      6     QUESTIONS BY MR. FARRELL:




     18                      (McKesson-Hartle Exhibit 20
     19             marked for identification.)
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Exhibit 20, top right-hand
     22     corner, 2007_06_12, Bates-stamped
     23     MCKMDL00355527.
     24                      I'll represent to you again,
     25     this was produced by your counsel in this

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     11             Q.       Right.
     12                      (McKesson-Hartle Exhibit 21
     13             marked for identification.)
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Next document is 21.          Top
     16     right-hand corner, 2007_11_26.             This is a
     17     February 2008 PowerPoint presentation
     18     entitled "Controlled Substance Monitoring
     19     Program, CSMP, Implementation Strategy -
     20     Regulatory Review Document."
     21                      Have you seen this document
     22     before?
     23             A.       I don't believe I've seen this
     24     document.
     25             Q.       All right.

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      1             A.       No.
      2             Q.       It's my understanding that the
      3     CSMP was going to replace the Lifestyles
      4     program?
      5             A.       Correct.
      6             Q.       And this document is talking
      7     about in March of 2008 you're going to be
      8     implementing pilot programs and then rolling
      9     it across the country?
     10                      MS. HENN:      Objection to form.




     16             A.       Can I finish reading this?
     17             Q.       Sure.
     18             A.       Pretty quickly.        Thank you.
     19                      Okay.     Thank you.
     20             Q.       Yeah.
     21                      So you agree with what I said?
     22             A.       You'll need to restate whatever
     23     you said.




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     22                      (McKesson-Hartle Exhibit 23
     23             marked for identification.)
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Next document, Exhibit 23,

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      1     2007_12_27, Bates stamp MCKMDL00478910.                This
      2     is the December 27, 2007 Rannazzisi letter.
      3                      Do you recognize this document?
      4             A.       I do.
      5             Q.       McKesson Corporation
      6     acknowledges receipt of this communication
      7     from the DEA dated December 27, 2007,
      8     correct?
      9                      MS. HENN:      Objection to form.
     10                      THE WITNESS:       Yes, we received
     11             it.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       This is a true and authentic
     14     version of the McKesson letter?
     15             A.       I believe so.
     16             Q.       And you kept it in the routine
     17     business of collecting records,
     18     record-keeping at McKesson?
     19             A.       I can't speak to where this was
     20     stored and -- I don't know, but --
     21             Q.       But it came from McKesson; it's
     22     got your Bates stamp on it?
     23             A.       I may be a little confused on
     24     your question.
     25             Q.       I just want you to validate --

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      1             A.       It came us.
      2             Q.       You're just acknowledging you
      3     received this letter?
      4             A.       Correct.
      5             Q.       All right.       We can walk through
      6     this entire letter, but I'm going to first
      7     start broadly.
      8                      Does McKesson acknowledge that
      9     the facts and guidelines set forth in the
     10     2007 Rannazzisi letter are true and an
     11     accurate representation of the obligations
     12     McKesson has under federal law?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       Can you ask that
     15             question again?
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Yeah.
     18                      This is the second time the DEA
     19     is writing a dear registrant letter to
     20     everybody in the country.
     21             A.       Understood.
     22             Q.       Basically what it's saying is,
     23     you people still aren't getting it; here's
     24     what your obligations are under federal law.
     25                      And it includes the duty to

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      1     halt suspicious orders, perform due diligence
      2     and report when necessary to the DEA, agreed?
      3                      MS. HENN:      Objection to form.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       Could it be any clearer?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       It's the same
      8             information they've shared before,
      9             with some additions.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       And it's clear, you have a duty
     12     to halt suspicious orders, perform due
     13     diligence and report when necessary.
     14                      This is an affirmation a decade
     15     preceding the shipping requirement and the
     16     reporting requirement in the Masters
     17     Pharmaceutical case, agreed?
     18                      MS. HENN:      Objection to form.
     19                      THE WITNESS:       You rolled a
     20             couple things in there together.              Can
     21             you ask me -- what's the specific
     22             question?
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       This is a 2007 letter, which
     25     predates the Masters Pharmaceutical case by a

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      1     decade.      And I'm asking you whether or not
      2     you agree that this letter sets forth the
      3     shipping requirements and the reporting
      4     requirements as outlined in Masters
      5     Pharmaceutical.
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       I'm going to read
      8             this again just so --
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       Sure.
     11                      The second to the last
     12     paragraph is probably the most helpful.
     13             A.       What's that?
     14             Q.       The second to last paragraph
     15     may be the most helpful.
     16             A.       On the very last -- okay.
     17     Before I get there --
     18             Q.       It states, "Lastly, registrants
     19     that routinely report suspicious orders, yet
     20     fill these orders without first determining
     21     that order is not being diverted, may be
     22     failing to maintain effective controls
     23     against diversion."
     24                      It's what you and I have been
     25     talking about for the last two hours,

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      1     correct?
      2             A.       Correct.
      3             Q.       This is an accurate statement
      4     of federal law from the DEA to McKesson,
      5     agreed?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       Agreed.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       This is the same thing the DC
     10     Circuit Court of Appeals said in 2017,
     11     agreed?
     12                      MS. HENN:      Objection to form.
     13                      THE WITNESS:       Agreed.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       I don't need to put this in
     16     there.    But backing up to the last exhibit we
     17     had from February of 2008, can you pull that
     18     up?
     19                      MS. HENN:      You talking about
     20             Exhibit 21?
     21                      MR. FARRELL:       Yes.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       I'm going to represent to you
     24     that the way that we pull these documents up
     25     on the electronic system is you can pull it

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      1     up in a -- basically a photocopy version like
      2     you're seeing here, but there's also a native
      3     format, which is actually the PowerPoint.
      4             A.       Okay.
      5             Q.       And so what I'm showing you on
      6     the screen is the same exact document, and
      7     the only reason I produced it in native
      8     format is that at the very bottom of each of
      9     the pages, except for the first one, there's
     10     a date.
     11                      MR. FARRELL:       So if you flip to
     12             the next page on the screen up there,
     13             Corey.
     14                      MS. HENN:      Do you want to just
     15             hand the copy over --
     16                      MR. FARRELL:       Yeah.
     17                      MS. HENN:      -- if that's easier?
     18                      MR. FARRELL:       I just want you
     19             to affirm the date on it.
     20                      MS. HENN:      And do you have like
     21             an identifier?        I know for these kinds
     22             of native documents --
     23                      MR. FARRELL:       Not that I can
     24             figure out.      I'm not that good.
     25                      MS. HENN:      All right.

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      1                      THE WITNESS:       So what do you
      2             need me to do?        What are you asking?
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       What the date is.
      5             A.       On the front page?
      6             Q.       On the color version, on page 2
      7     maybe.
      8             A.       Oh, on the bottom?         11/26 of
      9     '07.    November 26, 2007.
     10                      (McKesson-Hartle Exhibit 24
     11             marked for identification.)
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       Okay.     The next exhibit is
     14     going to be Exhibit 24.           It's 2008_03_10.
     15     It's another PowerPoint presentation at the
     16     Denver sales meeting, March 10, 2008.
     17                      Have you seen this document
     18     before?
     19             A.       I do not believe I've seen this
     20     one.
     21             Q.       It has a bunch of redacted
     22     stuff in here.
     23                      MR. FARRELL:       Counsel, do you
     24             know if that was recorded in the
     25             privilege log?

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      1                      MS. HENN:      I don't know off the
      2             top of my head, but we can certainly
      3             check.
      4                      MR. FARRELL:       I think that's
      5             the main reason.        It basically is
      6             talking about your CSMP, the
      7             three-level review, and the rollout
      8             with a bunch of stuff redacted.              I
      9             just wanted to put it in the record so
     10             we can fool with it later.
     11                      MS. HENN:      Is this a good --
     12             the witness would like a break.
     13                      MR. FARRELL:       Sure.
     14                      MS. HENN:      Could we just maybe
     15             pause for just five minutes?
     16                      MR. FARRELL:       Yep.
     17                      VIDEOGRAPHER:        The time is
     18             3:08 p.m.      We're going off the record.
     19              (Off the record at 3:08 p.m.)
     20                      VIDEOGRAPHER:        The time is
     21             3:16 p.m.      We're back on the record.
     22                      (McKesson-Hartle Exhibit 25
     23             marked for identification.)
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       We'll mark Exhibit 25.           It's a

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      1     2008_05_02, Bates stamp MCKMDL00355561.
      2                      Do you recognize this document?
      3             A.       I do.
      4             Q.       What is it?
      5             A.       It's the settlement agreement
      6     from 2008.
      7             Q.       Between?
      8             A.       Between McKesson and the DEA,
      9     DOJ.
     10             Q.       Settling what?
     11             A.       Settling allegations of things
     12     related to our responsibilities as a
     13     distributor.
     14             Q.       Right.
     15                      So you'll forgive me for
     16     spending so much time for the last several
     17     hours building up to the duties and
     18     responsibilities under the federal
     19     regulations, leading up to May 2, 2008, where
     20     you signed a memorandum -- administrative
     21     memorandum of agreement paying a $13 million
     22     fine for allegedly violating all of those
     23     rules we've been discussing.
     24                      MS. HENN:      Objection to form.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       And I'll acknowledge on page 2
      3     the middle whereas clause that McKesson
      4     denied doing anything wrong.
      5                      Sitting here today, McKesson
      6     continue to assert that it did nothing wrong
      7     despite the fact that it paid a fine in 2008?
      8                      MS. HENN:      Objection to form.
      9                      THE WITNESS:       We do.     I believe
     10             we were in good faith working with DEA
     11             and denied the allegations.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       So you deny you did anything
     14     wrong.    You deny you broke the law?
     15                      MS. HENN:      Objection to form.
     16                      THE WITNESS:       I stand behind
     17             what's in this document.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       Now, you weren't at McKesson,
     20     but you're sitting here as McKesson, so
     21     you're taking the position that's in the
     22     document:      We didn't do anything wrong.
     23                      But you acknowledge that at
     24     least in 2008 the DEA -- it's beyond doubt
     25     now what the DEA could possibly mean when

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      1     they want you to fulfill your obligations
      2     under federal law, agreed?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       It is beyond
      5             doubt -- can you say that again?
      6             Rephrase it?
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       I can rephrase it, yes.
      9             A.       Yeah.
     10             Q.       I'm trying to establish whether
     11     or not McKesson Corporation believes as of
     12     May 2, 2008, the DEA could be any clearer
     13     about its expectations of McKesson
     14     Corporation under the federal regulations
     15     related to the distribution of opium pills.
     16                      MS. HENN:      Objection to form.
     17             Outside the scope.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       I can walk through all of the
     20     various communications leading up to this,
     21     but you'll agree with me there was a 2006
     22     letter, a 2007 letter, there were
     23     presentations, there were meetings, there was
     24     a rule to show cause, there's a settlement
     25     agreement, you got fined $13 million.

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      1                      Nobody, no reasonable person,
      2     could say that the DEA failed to tell
      3     McKesson what the rules of the road were.
      4                      MS. HENN:      Objection to form.
      5             Outside the scope.
      6                      THE WITNESS:       I agree that they
      7             mentioned that in many -- in many ways
      8             and many times.        There's still -- you
      9             know, there are areas of the
     10             regulation that are still unclear, and
     11             DEA does not provide clear guidance on
     12             what is an order of unusual size,
     13             frequency and pattern.          They put that
     14             back on the distributors to design our
     15             own.
     16                      So they're not -- they're clear
     17             on that guidance, but not on how to do
     18             it all the time.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       All right.       So it's clear in
     21     2008 what they're telling the DEA -- telling
     22     McKesson is that whatever you're doing, we
     23     think it's not enough?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       It's clear that

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      1             that's what they were alleging.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       And one of the things that's
      4     clear is that you have a duty to halt
      5     suspicious orders and perform due diligence.
      6                      Is there any reasonable person
      7     in the United States of America as of 2008
      8     could possibly argue that it's unclear
      9     whether or not you should halt a suspicious
     10     order before shipping?
     11                      MS. HENN:      Objection to form.
     12                      THE WITNESS:       I can't speak for
     13             all reasonable people in the US.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Well, what if somebody came up
     16     and said, "We don't know whether or not we
     17     have a duty to halt before shipping a
     18     suspicious order," what you say to them as of
     19     May 2, 2008, on the heels of paying
     20     $13 million to the DEA?
     21                      MS. HENN:      Objection to form.
     22             Outside the scope.
     23                      THE WITNESS:       Can you ask that
     24             again?
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Yes.
      3                      Would you be a moron if you
      4     took the position out of May 2, 2008, that
      5     the DEA was unclear as to whether or not you
      6     could ship a suspicious order?
      7                      MS. HENN:      Objection to form.
      8             Outside the scope.
      9                      THE WITNESS:       I wouldn't call
     10             anybody a moron, but it's clear what
     11             they expect.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       And they expect what?
     14             A.       To design and operate a system
     15     to disclose suspicious orders.
     16             Q.       And?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       And report.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       And?
     21                      MS. HENN:      Same objection.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       Is it clear whether or not you
     24     can ship a suspicious order without
     25     conducting due diligence?

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      1                      MS. HENN:      Objection to form.
      2             Outside the scope.
      3                      THE WITNESS:       I think it
      4             depends.     It's -- there are other
      5             types of suspicious order systems.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       I understand.        I'm just trying
      8     to take it from a very basic standpoint.
      9                      Could the DEA have made it any
     10     clearer that McKesson has a duty to monitor
     11     and detect suspicious orders?
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14                      THE WITNESS:       To monitor and
     15             detect suspicious orders.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       That's what it says.
     18             A.       Very clear.
     19             Q.       Could they have been any
     20     clearer that if you get a suspicious order,
     21     you can't just ship it?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       That's clear.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Clear or very clear?
      3                      MS. HENN:      Objection to form.
      4                      THE WITNESS:       It's very clear.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Can you report the suspicious
      7     order to the DEA and still ship it?
      8                      MS. HENN:      Objection to form.
      9             Outside the scope.
     10                      THE WITNESS:       Can you ask that
     11             one again or restate it?
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       Can you report the suspicious
     14     order to the DEA and still ship it?
     15                      MS. HENN:      Same objections.
     16                      THE WITNESS:       Without due
     17             diligence or some sort of review?
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       If you're reporting a
     20     suspicious order to the DEA, what are you
     21     doing?
     22                      MS. HENN:      Objection to form.
     23                      THE WITNESS:       Okay.     Can we
     24             start with the original question?              I'm
     25             getting a little -- I want to make

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      1             sure I'm going to answer your question
      2             right --
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       Yeah, I'm going to show you --
      5             A.       -- the right question.
      6             Q.       I'm going to show you here in a
      7     few minutes some of your brethren who still
      8     haven't gotten the message by May 2008, and
      9     I'm trying to see if you'll call them morons.
     10                      So what I'm asking you is from
     11     McKesson's corporation, is it clear by May 2,
     12     2008, you -- the shipping requirement and the
     13     reporting requirement?
     14                      MS. HENN:      Objection to form.
     15             Outside the scope.
     16                      THE WITNESS:       That's how we
     17             designed our program, and that's what
     18             we believed it to be.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Based on federal law?
     21                      MS. HENN:      Objection to form.
     22                      THE WITNESS:       Based on the
     23             regulations and the guidance and the
     24             information we collected.
     25                      (McKesson-Hartle Exhibit 26

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      1             marked for identification.)
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       I'll mark Exhibit 26.           Top
      4     right is 2008_07_031.          It's Bates stamp
      5     MCK-HOI-002-0000042.
      6                      Have you seen this document
      7     before?
      8             A.       Yes, I have.
      9             Q.       And what is it?
     10             A.       This is a PowerPoint.
     11             Q.       Made by who?
     12             A.       By McKesson.
     13             Q.       For purposes of?
     14             A.       Discussion with DEA.
     15             Q.       Regarding?
     16             A.       Our controlled substance
     17     monitoring program.
     18             Q.       And it's dated when?
     19             A.       It's dated July 31, 2008.
     20             Q.       So this is before or after your
     21     settlement agreement with the DEA?
     22             A.       Shortly after.
     23             Q.       So that must have been kind of
     24     awkward, right, your coming in after paying
     25     the fine?

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      1                      What are you doing here?            Are
      2     you giving the DEA an update of all of the
      3     parts of your action plan you're
      4     implementing?
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       I can't say if it
      7             was awkward or not, but standard -- or
      8             a communication and updating them on
      9             what we were doing.
     10     QUESTIONS BY MR. FARRELL:




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     12             Q.       The more pills that get
     13     diverted, what happens?
     14                      MS. HENN:      Objection to form.
     15                      THE WITNESS:       You can assume
     16             that there's more abuse.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       Do you believe there's a direct
     19     correlation between the more pills that get
     20     sold and the more pills that get diverted?
     21                      MS. HENN:      Objection to form.
     22                      THE WITNESS:       Can you rephrase
     23             that question?
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Yes.

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      1                      Is there a relationship between
      2     the number of pills that get sold and the
      3     number of pills that get diverted?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       It's hard to say,
      6             but you could assume that the -- you
      7             know --
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       I don't want you to assume.
     10             A.       Yeah.
     11             Q.       I want you to use common sense.
     12             A.       Yeah.     Using common sense and
     13     basic logic, you could assume the more pills
     14     that are out there, the more potential for
     15     diversion there could be.
     16             Q.       So if I were to tell you that a
     17     company sold 100 pills and 10 of them got
     18     diverted, and then I come back to you and say
     19     a year later, a thousand pills got sold, what
     20     does common sense and logic tell you as
     21     McKesson Corporation how many pills get
     22     diverted?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       I don't think
     25             it's that easy of a connection to say

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      1             that happened.        There could be many
      2             different reasons why a thousand
      3             pills -- there may be an increase of a
      4             thousand pills with zero diversion.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       That's true.
      7                      Do you expect as McKesson
      8     Corporation to find in general a direct
      9     correlation to volume of pills sold and
     10     volume of pills diverted?
     11                      MS. HENN:      Objection to form.
     12             Outside the scope.
     13                      THE WITNESS:       Depends.      I don't
     14             know if there's a statistic on how
     15             many pills are diverted.           Again,
     16             there's reasons why you may have very
     17             large volumes of pills for legitimate
     18             reasons and there may be zero
     19             diversion.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       That's true.       Let me ask it a
     22     different way.
     23                      Do you believe it's foreseeable
     24     that the more pills you sell, the more pills
     25     get diverted?

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       I would say that
      3             there -- that, you know, the volume
      4             of -- the more pills you have, there
      5             could be, could be more to diversion.
      6             It doesn't mean that there is.             Or I
      7             would foresee that just an increase in
      8             volume is going to increase diversion.
      9             There could be.
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       The more pills that are
     12     diverted -- let me ask you a different way.
     13             A.       Okay.
     14             Q.       Does McKesson believe that the
     15     more pills that get diverted, the more pills
     16     get abused?
     17                      MS. HENN:      Objection to form.
     18             Outside the scope.
     19                      THE WITNESS:       Sorry, could you
     20             rephrase that one again?           Let me --
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       As McKesson Corporation, do you
     23     acknowledge that the more pills that get
     24     diverted, the more pills get abused?
     25                      MS. HENN:      Same objections.

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      1                      THE WITNESS:       Again, I'd say
      2             what I said previously:           It could --
      3             that could be a possibility.             It
      4             depends, but...
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Are people diverting pills to
      7     engage in lawful conduct?
      8                      MS. HENN:      Objection to form.
      9                      THE WITNESS:       I don't know why
     10             everybody is diverting pills every
     11             single time, but generally, no.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       Right.
     14                      So in general, the more pills
     15     that gets diverted, the more abuse and
     16     addiction we find with prescription opium
     17     pills?
     18             A.       There's that possibility.
     19                      (McKesson-Hartle Exhibit 27
     20             marked for identification.)
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       I'm going to have marked what
     23     is Deposition Exhibit 27.           The top right-hand
     24     corner is 2012_5_9.
     25                      This is an amicus brief.

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      1                      Do you know what an amicus
      2     brief is?
      3             A.       I do not.      I do not have legal
      4     background.
      5             Q.       Okay.     McKesson Corporation is
      6     a member of the Healthcare Distributors and
      7     Manufacturers Association, now known as the
      8     Healthcare Distributors Association, agreed?
      9             A.       Healthcare Distributors
     10     Management Association?
     11             Q.       Management, I'm sorry, yes.
     12             A.       Yes.
     13             Q.       Okay.     And on May 9, 2012,
     14     Cardinal Health had gotten itself into a
     15     little trouble with the DEA, hadn't it?
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       I'm aware of that
     18             time frame and...
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       They got in trouble with the
     21     DEA, very similar to how McKesson got in
     22     trouble with the DEA in 2008, agreed?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       I haven't
     25             reviewed this document or all the

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      1             details, but in spirit, in general.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       So in -- on May 9th of 2012,
      4     HDMA, the Healthcare Distribution Management
      5     Association, wrote a brief to a federal court
      6     here in Washington, DC, in support of
      7     Cardinal Health and against the DEA.
      8                      Was McKesson Corporation aware
      9     of this amicus brief?
     10                      MS. HENN:      Objection to form.
     11             Outside the scope.
     12                      MR. FARRELL:       It's actually
     13             not.    It's actually referenced
     14             directly in the notice.
     15                      MS. HENN:      I'm not sure that's
     16             the case, but we can disagree about
     17             that.
     18                      THE WITNESS:       I don't know for
     19             100 percent certain, but I assume so.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Well, I don't want you to
     22     guess.    This is relatively important.
     23                      Have you seen any
     24     acknowledgement within McKesson Corporation
     25     validating or affirming or reviewing or

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      1     participating in this amicus brief?
      2             A.       I have not.
      3             Q.       Are you aware of McKesson being
      4     involved at all in the amicus briefs?
      5                      MS. HENN:      Objection to form.
      6                      THE WITNESS:       I'm not.
      7                      (McKesson-Hartle Exhibit 28
      8             marked for identification.)
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       I'm going to have marked
     11     Exhibit 28, 2012_05_05.
     12                      Are you aware of the Wayback
     13     Machine?
     14             A.       Excuse me?
     15             Q.       Are you aware of the Wayback
     16     Machine?
     17             A.       I am not.
     18             Q.       The Wayback Machine is an
     19     Internet service that's free, and what it
     20     does is it's able to go and bring up old
     21     websites based on dates and time.
     22                      And it just so happens that the
     23     Wayback Machine captured the HDMA website in
     24     May of 2012.       This comes from the HDMA
     25     website, and this is a list of the board of

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      1     directors.
      2                      Now, what's an executive
      3     committee on a board of directors?
      4                      MS. HENN:      Objection to form.
      5             Outside the scope.
      6                      THE WITNESS:       That's the senior
      7             leaders driving this group.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       And, Mr. McKesson Corporation,
     10     you were on the executive committee of HDMA
     11     of 2012, were you not?
     12                      MS. HENN:      Objection to form.
     13             Outside the scope.
     14                      THE WITNESS:       One of our senior
     15             leaders is.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       You're in the senior leadership
     18     of HDMA, and you signed off on an amicus
     19     brief submitted to a federal court in
     20     Washington, DC, in support of one of your
     21     colleagues and members, Cardinal Health.
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       So I'm going to ask you a

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      1     couple of questions about it.
      2             A.       Okay.
      3             Q.       If you flip to page 3...
      4             A.       Of the brief?
      5             Q.       Of the brief.
      6                      The very bottom of the page --
      7                      MS. HENN:      Are you talking
      8             about the Bates numbers or the --
      9                      MR. FARRELL:       Yeah, the Bates
     10             number.
     11                      MS. HENN:      Thank you.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       It says, "HDMA's members have
     14     not only statutory and regulatory
     15     responsibilities to detect and prevent
     16     diversion of controlled prescription drugs,
     17     but undertake such efforts as responsible
     18     members of society."
     19                      Do you see that?
     20             A.       I do.
     21             Q.       Do you recognize this as an
     22     acknowledgement that all of the distributors
     23     in the country have a common law duty to the
     24     people of the United States of America to
     25     prevent diversion of controlled substances

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      1     because you're selling controlled substances?
      2                      MR. SUDDATH:       Objection.
      3                      MS. HENN:      Objection to form.
      4             Outside the scope.
      5                      THE WITNESS:       Okay.     Could you
      6             ask me that again?
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Do you recognize this as an
      9     acknowledgement that all of the distributors
     10     in the country have a common law duty to the
     11     American citizens to prevent controlled
     12     substances from being diverted into the
     13     illicit market?
     14                      MR. SUDDATH:       Objection.
     15                      MS. HENN:      Objection to form.
     16             Outside the scope.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       I mean, isn't this what we
     19     talked about earlier?
     20             A.       I do.
     21             Q.       You do, don't you?         Yes?
     22             A.       Yes.
     23             Q.       Because it's not just
     24     statutory, regulatory.          You're engaged in
     25     selling opium pills.          You owe a duty to the

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      1     American people to do your very best to
      2     prevent diversion.
      3                      MS. HENN:      Objection to form.
      4             Outside the scope.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Agreed?
      7             A.       Agreed.
      8             Q.       And this is your trade
      9     organization making the same representation
     10     to a federal court in Washington, DC?
     11                      MS. HENN:      Same objections.
     12             Objection to form.         Outside the scope.
     13                      THE WITNESS:       Yes.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Next sentence:        "The public
     16     health dangers associated with the diversion
     17     and abuse of controlled prescription drugs
     18     have been well-recognized over the years by
     19     Congress, DEA, HDMA and its members, and
     20     public health authorities."
     21                      Is that all true?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       Yes.
     25

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       The next sentence.         This is the
      3     part that I'd like to talk to you about, the
      4     highlighted part.        "The agency," meaning DEA,
      5     "has failed to provide meaningful guidance to
      6     assist the regulated industry in complying
      7     with the DEA's interpretation of its
      8     implementing regulations.           HDMA respectfully
      9     submits that despite the agency's oft-recited
     10     refrain that the regulations are clear, the
     11     regulated industry does not know the rules of
     12     the road because DEA has not adequately
     13     explained them."
     14                      McKesson has said the opposite
     15     publicly and to its own people, agreed?
     16                      MS. HENN:      Object to form.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       Remember the slide that said
     19     clear?    Remember your testimony about the
     20     letters and the settlement agreement?                You
     21     said a few minutes ago it was clear.
     22             A.       I do remember all of that.            I
     23     also --
     24                      MS. HENN:      Object to form.
     25                      Go ahead.

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      1                      THE WITNESS:       Oh, excuse me.
      2                      I also remember saying that
      3             certain parts of those regulations
      4             related to what a suspicious order is
      5             is not clear.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       Page 7.      "The societal costs of
      8     prescription drug abuse are" -- what's it
      9     say?
     10             A.       I flipped to the wrong page.
     11     Excuse me.
     12                      "Huge."
     13             Q.       And if a distributor engages in
     14     unlawful conduct, should the distributor be
     15     held accountable for such societal costs?
     16                      MS. HENN:      Objection to form.
     17             Outside the scope.
     18                      THE WITNESS:       Can you repeat
     19             that, please?
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       If a wholesale distributor
     22     engages in unlawful conduct, should it be
     23     held accountable for the societal costs of
     24     prescription drug abuse?
     25                      MR. SUDDATH:       Objection.

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      1                      MS. HENN:      Same objections.
      2                      THE WITNESS:       I believe
      3             distributors have a responsibility in
      4             preventing diversion.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       So should they be held
      7     accountable for the societal costs that are
      8     documented in this pleading and referenced as
      9     huge?
     10             A.       I think it depends.
     11                      MS. HENN:      Objection to form.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       Depends on what?
     14                      MS. HENN:      Same objection.
     15                      Go ahead.
     16                      THE WITNESS:       It depends on the
     17             facts and circumstances and, you know,
     18             the information about the specific
     19             situation.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       If a distributor repeatedly
     22     fails to report suspicious orders, do you
     23     believe it should be held accountable for the
     24     societal costs of prescription drug abuse?
     25                      MR. SUDDATH:       Objection.

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       And I believe it
      3             depends.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       On?
      6             A.       The facts and circumstances.
      7             Q.       How about the facts and
      8     circumstances which led to McKesson paying
      9     $150 million fine?
     10                      MS. HENN:      Objection to form.
     11                      THE WITNESS:       Again, I think it
     12             depends.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       Do you think McKesson is partly
     15     responsible for the societal costs of
     16     prescription drug abuse in America?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       Could you ask
     19             that one again, please?
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Do you think McKesson is partly
     22     responsible for the societal costs of
     23     prescription drug abuse in America?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       Again, there's a

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      1             lot of people involved in -- it's a
      2             very complicated and multi-faceted
      3             issue, so...
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       We'll get to the other people
      6     in a second.
      7                      MS. HENN:      Are you done with
      8             your answer?
      9                      THE WITNESS:       I am done.
     10                      MS. HENN:      Okay.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       We'll get to the others in a
     13     second.      I want to talk about McKesson first.
     14                      This is your opportunity to
     15     accept partial responsibility for the
     16     societal costs of prescription drug abuse in
     17     America; yes or no?
     18                      MS. HENN:      Objection to form.
     19             Also outside the scope.
     20                      THE WITNESS:       So again, it
     21             depends on -- it depends.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       You're McKesson Corporation.
     24             A.       Right.
     25             Q.       You're sitting here today.            You

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      1     have the opportunity to look in the camera
      2     and tell the jury whether or not you accept
      3     partial responsibility for the societal costs
      4     of prescription drug abuse in America.
      5                      MS. HENN:      Objection to form.
      6             Outside the scope.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       I'd ask you to answer yes or
      9     no.
     10                      MS. HENN:      Same objections.
     11                      THE WITNESS:       I'm not sure how
     12             to answer that -- that question
     13             specifically.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       Well, you can say yes or --
     16             A.       I understand that.
     17             Q.       -- you can say no.
     18             A.       I understand that.
     19                      MS. HENN:      Objection to form.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       If I asked you the same
     22     question in your personal capacity, would
     23     that help you answer the question better?
     24                      MS. HENN:      Same objection.
     25             Objection to form.

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      1                      THE WITNESS:       Again, it
      2             depends -- I would say it doesn't
      3             change my answer.         It depends on the
      4             role that they played.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Well, back to McKesson
      7     Corporation, which is you sitting in the
      8     chair today.       Knowing what you know as the
      9     30(b)(6) representative, the corporate
     10     designee, knowing about your past conduct,
     11     knowing about the past interactions with the
     12     DEA, I'm going to ask you again:              Does
     13     McKesson Corporation accept partial
     14     responsibility for the societal costs of
     15     prescription drug abuse in America?
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       Again, you know,
     18             I -- we're part of the closed system,
     19             so we're responsible for preventing
     20             diversion.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       So the answer is?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       Again, I think
     25             we're responsible for something.              I

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      1             don't know what -- how you define all
      2             societal costs and -- I still believe
      3             it depends on different circumstances.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       Sir, we're not going to parse
      6     out percentages.
      7             A.       Yeah.
      8             Q.       Let's just talk globally for
      9     McKesson Corporation.          So I don't want to put
     10     words in your mouth because it's got to come
     11     out of your mouth.         So the answer is yes or
     12     no.
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       I would say yes,
     15             partially.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       How about Purdue Pharma?            Does
     18     McKesson Corporation take the position that
     19     Purdue Pharma is partially responsible for
     20     the societal costs of prescription drug abuse
     21     in America?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       I'm not going to
     25             answer for other companies.            I'm --

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      1             it's like I answered my question:
      2             Those involved in this space,
      3             depending on the facts and
      4             circumstances, may be.          So, yes.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Flip to page 8, the last
      7     paragraph.      Your trade organization is saying
      8     that the "DEA's goal, the prevention of
      9     diversion of controlled prescription drugs,
     10     is, of course, a public good."
     11                      Does McKesson validate,
     12     acknowledge and affirm that statement?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       Absolutely.       The
     15             prevention of the diversion of
     16             controlled substances is good for the
     17             public.
     18                      (McKesson-Hartle Exhibit 29
     19             marked for identification.)
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Next exhibit I'm going to have
     22     marked is Exhibit 29.          It's Exhibit
     23     2013_09_13.      It's Bates stamp
     24     MCK-AGMS-006000880.
     25                      Have you seen this document?

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      1             A.       I have not.
      2             Q.       Do you know who Gary Boggs is?
      3             A.       I do know Gary.
      4             Q.       I'll represent to you that on
      5     the metadata that was provided by the --
      6     McKesson, indicates that this presentation is
      7     dated in late 2012 -- wait, late 2013, I
      8     think, probably before Gary Boggs came on to
      9     McKesson.      We'll ask him when we depose him.
     10                      But anyway, this is a McKesson
     11     spreadsheet from Gary Boggs.            Gary Boggs is
     12     former DEA.
     13             A.       PowerPoint, not spreadsheet.
     14             Q.       Yeah, I'm sorry.
     15             A.       Okay.
     16             Q.       He's former DEA, correct?
     17             A.       Correct.
     18             Q.       He was the number 2 man on Joe
     19     Rannazzisi, yes?
     20             A.       Yes.
     21             Q.       And as we'll see later, he was
     22     actually in the room for one of the
     23     presentations when DEA was negotiating with
     24     McKesson on the 2008 settlement.
     25                      Is that your memory as a

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      1     corporate entity?
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       I wasn't aware
      4             that he was specifically in the room,
      5             but...
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       The title of this PowerPoint
      8     slide is what?
      9             A.       Oh, "State of prescription drug
     10     abuse."
     11             Q.       And on the second page, talks
     12     about the impact of effective compliance.
     13     And it uses lots of America-related stuff,
     14     eagles and flags and such.
     15                      Do you see that?
     16             A.       I do see that.
     17             Q.       "Protecting America from
     18     Prescription Drug Diversion."
     19                      The next page is a history of
     20     understanding the problem, and on page 4 it
     21     talks about a collision course.
     22                      And presumably this is two
     23     planes colliding in the air, and that's
     24     OxyContin and Percocet.
     25                      Do you see that?

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       I see that.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       "In the late 1990s, doctors
      5     aggressively prescribing painkillers - a
      6     radical change in health care behavior."
      7                      And that radical change in
      8     health care behavior did what to the number
      9     of prescriptions?
     10                      MS. HENN:      Objection to form.
     11                      THE WITNESS:       Increased them.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       Which resulted in an increase
     14     or decrease in the number of pills McKesson
     15     sold?
     16             A.       I don't know exact numbers, but
     17     it increased.
     18             Q.       And then the last part,
     19     "Manufacturers fueled the use of prescription
     20     painkillers."
     21                      This is coming from your new
     22     head of regulatory affairs at McKesson,
     23     agreed?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       Can you say that

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      1             again?
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Yeah.
      4             A.       He's not -- he wasn't the head
      5     of regulatory affairs.
      6             Q.       Then, but he is now?
      7             A.       He's one of the leaders on the
      8     regulatory affairs team.
      9             Q.       Okay.     And this is his
     10     statement that "Manufacturers fueled the use
     11     of prescription painkillers."
     12                      Is that McKesson's position?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       I don't know if
     15             that's his own specific words or he
     16             got that from a previous deck from
     17             DEA.    I'm not sure.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       We'll have to ask him.
     20                      But I'm asking McKesson whether
     21     or not it shares this view.
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       Manufacturers are
     25             part of the closed system, like -- and

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      1             played a role.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Does McKesson believe the
      4     manufacturers fueled the use of prescription
      5     painkillers?
      6                      MS. HENN:      Objection to form.
      7             Outside the scope.
      8                      THE WITNESS:       I think they
      9             played a role.        I think there's many
     10             reasons -- many things that fueled the
     11             epidemic.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       So would you rather just punt
     14     on the question?
     15                      MS. HENN:      Objection to form.
     16                      THE WITNESS:       That's what I'm
     17             going to share.        That's my answer.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       So yes or no, does McKesson
     20     Corporation believe manufacturers fueled the
     21     use of prescription painkillers?
     22                      MS. HENN:      Objection to form.
     23             Outside the scope.
     24                      THE WITNESS:       Like I said,
     25             my -- they're part of the system.

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      1             They played a role.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       So the answer is?
      4             A.       They played a role.          I wouldn't
      5     say -- I wouldn't characterize it as fueled.
      6     I don't know that I would use that language.
      7             Q.       Fair enough.
      8                      The next page, 5 and 6,
      9     document Purdue Pharma's $635 million fine,
     10     Cephalon's $425 million fine.
     11                      Going to page 7, it's comparing
     12     the US rates of opioid overdose deaths, sales
     13     and treatment admissions.
     14                      Do you see that?
     15             A.       I see that.
     16             Q.       What is the correlation between
     17     opioid sales and opioid deaths?             Are they
     18     related or unrelated?
     19                      MS. HENN:      Objection to form.
     20                      THE WITNESS:       They're both
     21             increasing at a similar rate.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       So that means they're related
     24     or unrelated?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       They appear to be
      2             related.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       Does McKesson believe that
      5     opioid sales are related to opioid deaths?
      6                      MS. HENN:      Objection to form.
      7             Outside the scope.
      8                      THE WITNESS:       Can you ask that
      9             one more time, please?
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Does McKesson believe that
     12     opioid sales are related to opioid deaths?
     13                      MS. HENN:      Objection to form.
     14             Outside the scope.
     15                      THE WITNESS:       The volume of
     16             opioids in the market and diversion is
     17             related to opioid deaths, certainly.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       Page 8, the Controlled
     20     Substances Act, the very last provision says,
     21     "Creates checks and balances between
     22     registrants to protect the public health and
     23     safety."
     24                      Again, this is again a
     25     reaffirmation from Gary Boggs, who is now one

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      1     of your senior regulatory affairs management,
      2     acknowledging that the registrants and the
      3     DEA have a duty to protect the public health
      4     and safety, agreed?
      5             A.       Agreed.
      6             Q.       Page 13.      It says, "What can
      7     happen when these checks and balances
      8     collapse?"
      9                      What do you believe this is a
     10     picture of?
     11                      MS. HENN:      Objection to form.
     12                      THE WITNESS:       It's a building
     13             falling down.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       A disaster?
     16             A.       It's a building that's falling
     17     down.    Why it fell down could be a disaster.
     18             Q.       What do you infer from
     19     Mr. Boggs' implication?
     20             A.       That things can go wrong,
     21     something can happen.
     22             Q.       Page 16, pictures of pain
     23     clinics and people waiting in line to
     24     purchase pills sold by McKesson to
     25     pharmacies.

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      1                      MS. HENN:      Objection to form.
      2                      MR. FARRELL:       You're right.
      3             That's not necessarily a picture of
      4             McKesson.
      5     QUESTIONS BY MR. FARRELL:




     12     QUESTIONS BY MR. FARRELL:
     13             Q.       Page 17, historical comparison.
     14     He's comparing the opioid crisis to the BP
     15     oil spill where 11 people were killed and BP
     16     paid 40 billion, plus 16 billion to the Clean
     17     Water Act.
     18                      Have more or less than 11
     19     people been killed by the opioid crisis?
     20             A.       Clearly more.
     21             Q.       Have more people died today
     22     than 11 people?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       Based on the
     25             statistics, yes.

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Page 24.      Does McKesson
      3     acknowledge and agree there is a national
      4     epidemic of prescription pill addiction,
      5     abuse, morbidity and mortality?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       Absolutely.




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      4     QUESTIONS BY MR. FARRELL:
      5             Q.       They all originate within the
      6     closed network, do they not?
      7                      MS. HENN:      Objection to form.
      8                      THE WITNESS:       What do you mean
      9             by "all originate"?
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Well, Bob, in his trailer in
     12     southern West Virginia, isn't making
     13     OxyContin pills.
     14             A.       No, I'm saying there's other --
     15     I understand your point.           They come
     16     ultimately from the manufacturer,
     17     distributor, pharmacy.
     18                      (McKesson-Hartle Exhibit 30
     19             marked for identification.)
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Exhibit 30, 2013_10_23, Bates
     22     stamp MCKMDL00409046.          This is October 23,
     23     2013.
     24                      McKesson is in trouble again
     25     with the DEA, agreed?

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       There's
      3             allegations.
      4     QUESTIONS BY MR. FARRELL:
      5             Q.       Same ones as before, agreed?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       Related to the
      8             regulations.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       Same as the 2008?
     11                      MS. HENN:      Objection to form.
     12                      THE WITNESS:       Around suspicious
     13             orders.
     14                      (McKesson-Hartle Exhibit 31
     15             marked for identification.)
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       Exhibit 31, dated November 6,
     18     2013.    It's 2013_11_6, MCKMDL00409048.
     19                      It's again from the United
     20     States Attorney in the Northern District of
     21     West Virginia.       It's talking about further
     22     explanations.
     23                      You would agree with me this is
     24     the same conduct that McKesson got in trouble
     25     for in 2008?

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       Yeah, it has to
      3             do with suspicious orders, which is
      4             similar.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       And it's Covington & Burlington
      7     at a place called 1201 Pennsylvania Avenue,
      8     Northwest.
      9                      Do you know where that is?
     10     Isn't that here?
     11                      MS. HENN:      Old office.
     12                      MR. FARRELL:       The old office.
     13             All right.
     14                      THE WITNESS:       In town.
     15     QUESTIONS BY MR. FARRELL:
     16             Q.       But again, this is the same
     17     thing.
     18                      Do you know Bill Ihlenfeld?
     19             A.       I do not.
     20             Q.       Yeah, he was the US Attorney
     21     for the Northern District of West Virginia
     22     and a classmate of mine.           He's calling on
     23     McKesson, and he's essentially telling
     24     McKesson, "Hey, you're not doing your job
     25     again."

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      1                      MS. HENN:      Objection to form.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       "And you're dumping pills into
      4     my state."
      5                      MS. HENN:      Same objection.
      6                      (McKesson-Hartle Exhibit 32
      7             marked for identification.)
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Exhibit 32, 2014_1_XX,
     10     MCKMDL00409050.        In fact, they put a whole
     11     presentation together.
     12                      Have you seen this
     13     presentation?
     14             A.       I have seen this one.
     15             Q.       I'm not going to go through
     16     this because we'll go through with it a lot
     17     more tomorrow.
     18                      In essence, what I'm trying to
     19     accomplish here is that you understand that
     20     the United States District Attorney for the
     21     Northern District of Ohio, and then it turns
     22     out other ones, including Colorado, are
     23     basically telling McKesson:            You have a
     24     systemic failure to monitor, detect and
     25     report suspicious orders.

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      1                      Is that what they're alleging?
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       Yes, that's what
      4             they're alleging.
      5                      (McKesson-Hartle Exhibit 33
      6             marked for identification.)
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Exhibit 33, this is your
      9     response, 2014_03_12, Bates-stamped
     10     MCKMDL00409116.
     11                      This is you responding, saying,
     12     "Nuh-uh, no, we didn't."
     13                      Does that about wrap it up?
     14                      MS. HENN:      Objection to form.
     15     QUESTIONS BY MR. FARRELL:
     16             Q.       You've seen this document
     17     before?
     18             A.       I have not, so I'm going to go
     19     through it.




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     13                      MS. HENN:      Objection to form.
     14                      (McKesson-Hartle Exhibit 34
     15             marked for identification.)
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       In fact, Exhibit 34 is the
     18     response to the presentation, March 20, 2014.
     19     It's 2014_03_20, MCKMDL00409174, from my good
     20     friend Bill Ihlenfeld's office, which
     21     basically says "bull."
     22                      MS. HENN:      Counsel, just to
     23             clarify, I think Exhibit 33 you
     24             might -- you have two documents in
     25             here.

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      1                      MR. FARRELL:       Maybe.     It may
      2             have included it.
      3                      MS. HENN:      Ah, is that why?
      4                      MR. FARRELL:       Maybe.
      5                      MS. HENN:      Okay.     That's fine.
      6             Just wanted to make sure you knew.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       And at this point in time, it
      9     appears that McKesson had hired AGI --
     10             A.       Can I read this one?          I have
     11     not read this one before.
     12             Q.       Okay.     I'm not going to drill
     13     you on that letter.         It's got --
     14             A.       No, I'm about done.          I just
     15     wanted to read the summary here, too.
     16                      Okay.     Thank you.
     17             Q.       Now, skipping through all of
     18     the other correspondence because we'll get
     19     into that more tomorrow, more recently, as a
     20     result of all of this, even though McKesson
     21     is denying liability, you understand that
     22     McKesson did enter into another settlement
     23     agreement?
     24             A.       I understand that.
     25                      (McKesson-Hartle Exhibits 35,

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      1             36 and 37 marked for identification.)
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       2017_01_05A, 35, Exhibit 35,
      4     MCKMDL00355322, the settlement agreement and
      5     release.
      6                      Exhibit 37, 2017_01_5B,
      7     MCKMDL00355477.
      8                      MS. HENN:      Did you skip 36?
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       I didn't.
     11                      36 will be 2017_01_05B, the
     12     compliance addendum.
     13                      MS. HENN:      37.
     14                      MR. FARRELL:       Oh, okay, I'm
     15             sorry.     But it's okay because we'll
     16             just put 36 as the administrative
     17             memorandum, which is 2017_01_5C,
     18             MCKMDL0355513.
     19                      MS. HENN:      And, Counsel, we've
     20             been going about an hour, so if we
     21             could have a break at a good stopping
     22             point.     It doesn't have to be this
     23             second, but if there's one very soon,
     24             that would be great.
     25                      MR. FARRELL:       Yeah, very soon.

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      1                      MS. HENN:      Great.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Just to acknowledge, McKesson's
      4     still is denying liability, and this time the
      5     cost has become more prohibitive with the
      6     fine, 150 million.
      7                      MS. HENN:      Objection to form.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Agreed?
     10             A.       Agreed.      We settled with the
     11     settlement agreement, agreed.
     12             Q.       McKesson's distribution
     13     facilities were systematically failing to
     14     report suspicious orders and resulted in a
     15     $150 million fine assessed by the DEA and
     16     paid by McKesson Corporation; true or not
     17     true?
     18                      MS. HENN:      Objection to form.
     19                      THE WITNESS:       We did pay that
     20             fine, $150 million.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Because you were systematically
     23     not reporting suspicious orders?
     24                      MS. HENN:      Same objection.
     25                      THE WITNESS:       That was at the

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      1             core of it.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       So let's just be fair.           There
      4     were certain distribution facilities that
      5     utterly failed to fulfill their obligations
      6     under federal law to monitor, detect, halt
      7     and report suspicious orders, which resulted
      8     in McKesson paying the largest fine in the
      9     history of the DEA; true or not true?
     10                      MS. HENN:      Objection to form.
     11                      THE WITNESS:       Could you
     12             simplify that question a little bit?
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       Yeah.
     15                      McKesson wasn't following the
     16     law and got fined $150 million?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       We acknowledged
     19             that certain orders did not get
     20             flagged in our system.
     21     QUESTIONS BY MR. FARRELL:
     22             Q.       Thousands.
     23                      MS. HENN:      Objection to form.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Thousands of orders?

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      1             A.       Orders.
      2             Q.       Like some facilities reported
      3     none.
      4                      MS. HENN:      Objection to form.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Yes?
      7             A.       Systematically none.
      8             Q.       Systematically none.
      9                      And it wasn't just an isolated
     10     distribution facility.          It was several
     11     different facilities across the spectrum at
     12     McKesson had utterly failed to comply with
     13     federal regulations to prevent diversion of
     14     controlled substances?
     15                      MS. HENN:      Objection to form.
     16                      THE WITNESS:       We believed we
     17             were in good faith working with DEA as
     18             part of the 2008 agreement to report
     19             customers and report orders in a
     20             different way that was mutually agreed
     21             upon.    So --
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       Yeah, I'm not asking --
     24             A.       -- I would say --
     25                      MR. FARRELL:       You're right.

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      1             You're right.
      2                      THE WITNESS:       I know you say
      3             zero, but I -- you know, there are
      4             situations and scenarios where we
      5             reported based on what we agreed to
      6             with the DEA, based on that settlement
      7             agreement.
      8                      So I understand systematically
      9             they weren't being reported, but they
     10             were being reported in other ways.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       Sitting here today does
     13     McKesson Corporation acknowledge that it
     14     utterly failed in its obligations to prevent
     15     diversion of opium pills into the American
     16     illicit market?
     17                      MS. HENN:      Objection to form.
     18                      THE WITNESS:       No, I don't
     19             believe we utterly failed.            We, again,
     20             in good faith over the years have
     21             worked with DEA, taken guidance,
     22             developed programs, enhanced programs,
     23             evolved them over the course of time.
     24                      So I wouldn't characterize it
     25             as utterly failing.

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Well, when you report zero
      3     suspicious orders over years at the same time
      4     selling tens of millions of opium pills into
      5     a community, you're not meeting your
      6     obligations under federal law, agreed?
      7                      MS. HENN:      Objection to form.
      8                      THE WITNESS:       Again, there's
      9             certain times in which we acknowledged
     10             that we did not report orders.             That
     11             does not mean that we did not conduct
     12             diligence, that we did not evolve our
     13             program to help prevent.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       And I understand the desire to
     16     want to say in good faith you did your best.
     17     What I'm asking for is a very simple
     18     acknowledgement that McKesson was not
     19     following the law and got fined for it on two
     20     occasions.
     21                      MS. HENN:      Objection to form.
     22                      THE WITNESS:       Those were the
     23             allegations.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Do you accept those allegations

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      1     as partially true?
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       Again, we --
      4             partially, in the second agreement, we
      5             did acknowledge that, you know, we
      6             didn't identify all the suspicious
      7             orders that we could have.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       In fact, in some distribution
     10     facilities you didn't identify any?
     11                      MS. HENN:      Objection to form.
     12     QUESTIONS BY MR. FARRELL:
     13             Q.       This isn't like we missed a
     14     needle in a haystack.          This is we missed the
     15     hay.
     16                      MS. HENN:      Objection to form.
     17                      THE WITNESS:       So the thing I
     18             would just share is that, again, all
     19             of those orders were blocked and not
     20             shipped.     And we may not have
     21             systematically, as I mentioned
     22             earlier, reported, but --
     23                      MR. FARRELL:       Hold on.
     24                      MS. HENN:      Wait, he's not done
     25             with his answer.

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      1                      THE WITNESS:       I'm just
      2             reiterating the point I made earlier
      3             about the 2008 agreement, mutually
      4             discussing with DEA the fact that we
      5             were focusing on customers and would
      6             report suspicious orders in a mutually
      7             format -- a mutually-agreed-upon
      8             format.
      9                      So you say zero, but it may not
     10             always be zero.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       Just to be fair with you, we're
     13     going to take a break.
     14             A.       All right.
     15             Q.       I have the transactional data
     16     in Cuyahoga and Summit County from McKesson
     17     sales of opium pills.          I also have the
     18     suspicious order reports.
     19                      So let's be clear:         McKesson
     20     didn't get in trouble for blocking orders and
     21     not reporting them.         McKesson paid a record
     22     fine for shipping suspicious orders and not
     23     reporting them.
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       Say that again.

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      1             I want to be very clear what I heard.
      2     QUESTIONS BY MR. FARRELL:
      3             Q.       Me, too.
      4             A.       Yeah.
      5             Q.       You're telling me that
      6     McKesson's conduct that it admitted to,
      7     McKesson's position is that it blocked
      8     suspicious orders and then just simply didn't
      9     report them in the right way.             That's your
     10     position?
     11             A.       We systematically -- based on
     12     the design of our system, orders were
     13     blocked.
     14             Q.       You believe that McKesson was
     15     blocking all the suspicious orders and paid
     16     $150 million because of the manner in which
     17     it reported?
     18             A.       Earlier I said we did
     19     acknowledge that some orders, not all, we
     20     didn't block.
     21             Q.       Okay.     So let's get back --
     22             A.       We didn't -- let me rephrase
     23     that.    We acknowledge that our system may not
     24     have detected orders that could be deemed as
     25     suspicious.

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      1             Q.       And that the orders that your
      2     system did detect as suspicious, you still
      3     shipped anyway without reporting them?
      4                      MS. HENN:      Objection to form.
      5                      THE WITNESS:       No.
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       You believe that's not true?
      8             A.       Based on my understanding of
      9     our systems and how things work in -- when
     10     they hit a threshold and they're blocked,
     11     those do not get shipped.
     12             Q.       All right.       So fair --
     13             A.       That's how we define those
     14     suspicious orders.
     15             Q.       Fair enough.
     16                      Let me ask you this:          If your
     17     system detects a suspicious order and you
     18     ship it anyway and you don't report it, is
     19     that unlawful?
     20                      MS. HENN:      Objection to form.
     21                      THE WITNESS:       Please say that
     22             again.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       If your system detects a
     25     suspicious order and you ship it anyway

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      1     without reporting it, is that unlawful?
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       I think it
      4             depends.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       On?
      7             A.       There could be a technical
      8     glitch --
      9             Q.       Okay.
     10             A.       -- or some computer error.            I
     11     mean --
     12             Q.       I'm talking about hundreds and
     13     hundreds and hundreds of orders that are
     14     red-flagged by McKesson and shipped anyway
     15     without reporting a suspicious order.
     16                      The US Attorney for the
     17     Northern District of West Virginia doesn't
     18     say this was a technical glitch.              He says it
     19     was a systematic failure by your company to
     20     abide by West Virginia law -- or federal law.
     21                      You paid a record fine, and
     22     you're disavowing the underlying conduct
     23     today?
     24                      MS. HENN:      Objection to form.
     25                      THE WITNESS:       I'm just trying

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      1             to communicate that our system that
      2             was designed to detect suspicious
      3             orders using the concept of thresholds
      4             blocked all of the -- blocked those
      5             suspicious orders.
      6                      We recognize that and
      7             acknowledge that it may not have
      8             picked up on all of the suspicious
      9             orders and...
     10                      MR. FARRELL:       One more and
     11             we'll take a quick break.
     12                      MS. HENN:      If it's okay, I'd
     13             like to take it now.          It's been now an
     14             hour and 15 minutes.          It's pretty
     15             tiring to be a witness.           So if we
     16             could just take a five-minute break,
     17             that would be great.
     18                      MR. FARRELL:       Okay.
     19                      MS. HENN:      Thank you.
     20                      VIDEOGRAPHER:        The time is 4:29
     21             p.m.    We're going off the record.
     22              (Off the record at 4:29 p.m.)
     23                      VIDEOGRAPHER:        The time is
     24             4:45 p.m.      We're back on the record.
     25                      MR. FARRELL:       Thank you.

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      1                      So we have about an hour left;
      2             we've been going about -- almost six
      3             hours.     So by agreement we've kept the
      4             deposition days to seven hours long,
      5             and I'll honor that.
      6                      MS. HENN:      More than by
      7             agreement.      It's also ordered by the
      8             judge.
      9                      MR. FARRELL:       No question.
     10                      MS. HENN:      Just a slight
     11             clarification.
     12                      MR. FARRELL:       No question.
     13             Seven hours of answering questions is
     14             enough for anybody.
     15                      MS. HENN:      It is.
     16                      MR. FARRELL:       That being said,
     17             I know there's a burden on travel and
     18             arrangements; we have a tight
     19             schedule.      So what I'm going to do is
     20             I'm going to finish up some topics,
     21             and I'm going to state for the record
     22             that I have not been able to get
     23             through all of the designated topics
     24             today.
     25                      That being said, there are some

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      1             additional topics that you were not
      2             designated for.        There's essentially
      3             two notices.
      4                      So what we're -- what I'm going
      5             to do is recommend that I finish up
      6             the topics that I want to get to, and
      7             then tomorrow is your fact deposition.
      8             And what we'll do is work out with
      9             counsel if there are any of these
     10             questions that can be answered in
     11             writing to avoid you having to come
     12             back and testify on things that can be
     13             answered.
     14                      And then in addition, there are
     15             records and there are -- there is
     16             transactional data historically and
     17             suspicious order report historically
     18             that have not been disclosed yet
     19             because of our tight schedules that
     20             I'll -- I will be going to ask --
     21             eventually to ask for some additional
     22             time from you to finish the stuff we
     23             didn't get to finish and to ask
     24             questions about documents that have
     25             not been disclosed yet.

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      1                      Obviously, it's going to be
      2             subject to the objection of your
      3             lawyers, and I just wanted to place
      4             that on the record.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Jumping in real quick, I'm not
      7     going to spend a whole lot of time on this; I
      8     have a very specific question.
      9                      Before we get into the
     10     document, there's a reference in here about
     11     heroin, and I just wanted to see if I could
     12     cut to the chase with you.
     13             A.       Okay.
     14             Q.       As the McKesson corporate
     15     representative, do you acknowledge that abuse
     16     of prescription opium pills is a gateway to
     17     the initiation of heroin?
     18                      MS. HENN:      Objection to form.
     19             Outside the scope.
     20                      THE WITNESS:       Based on
     21             everything that I've read and in the
     22             media and statistics and discussion, I
     23             would agree -- agree to that.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       If you abuse prescription

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      1     opiates, the CDC says that you're 40 times
      2     more likely to initiate heroin use.
      3                      Does McKesson acknowledge
      4     that -- that prescription opiate pill abuse
      5     is a driving factor in the heroin epidemic
      6     we're also experiencing?
      7                      MS. HENN:      Objection to form.
      8             Outside the scope.
      9                      THE WITNESS:       Yeah, it's a
     10             factor.
     11     QUESTIONS BY MR. FARRELL:
     12             Q.       That was easy.
     13             A.       Yeah.
     14             Q.       All right.       Back to this amicus
     15     business.
     16                      (McKesson-Hartle Exhibit 38
     17             marked for identification.)
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       I'm going to mark as
     20     Exhibit 38, it's 2016_04_04.            This is another
     21     amicus brief.       This one is Masters
     22     Pharmaceutical.
     23                      Does McKesson acknowledge that
     24     in 2016 when this amicus brief was submitted
     25     that it was still on the executive committee

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      1     of HDMA?
      2                      MS. HENN:      Objection to form.
      3             Outside the scope.
      4                      THE WITNESS:       I can't speak to
      5             that.    If I saw a list of who was on
      6             the executive committee...
      7                      (McKesson-Hartle Exhibit 39
      8             marked for identification.)
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       Fair enough.       Exhibit 39,
     11     2016_04_05, the Wayback Machine.
     12                      So looking at the Exhibit 39,
     13     can you acknowledge that McKesson was on the
     14     executive board of HDMA --
     15             A.       Yes.
     16             Q.       -- at the time that this amicus
     17     brief was submitted?
     18             A.       Yes.
     19             Q.       Have you had a chance to review
     20     the amicus brief?
     21             A.       I had a chance to look at some
     22     of the highlighted sections.
     23             Q.       So let's go to 2016_04_04,
     24     page 5.
     25             A.       Page 5.

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      1             Q.       Down the right-hand side, you
      2     can see two-thirds of the way down it starts,
      3     "DEA."    The one below that.          Yeah.
      4                      "DEA has required distributors
      5     not only to report suspicious orders but to
      6     investigate orders by interrogating
      7     pharmacies and physicians and take action to
      8     halt suspicious orders before they are
      9     filled.      Those added obligations would
     10     significantly expand a report-only duty of
     11     distributors under the long-standing
     12     regulatory scheme and impose impractical
     13     obligations on distributors."
     14                      Is that McKesson's position?
     15                      MS. HENN:      Objection to form.
     16             Outside the scope.
     17                      THE WITNESS:       Obviously we're
     18             part of the organization.           In parts,
     19             you know, I agree with the added --
     20             what it would -- you know, the added
     21             responsibility or time that it would
     22             take to -- you know, to investigate
     23             each order.
     24                      I don't know if I'm answering
     25             your question, but...

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       You're stumbling toward it.
      3             A.       Yeah.
      4             Q.       Let's go to page 6, a little
      5     more direct.       The second highlighted
      6     provision:      "As the final order in this case
      7     underscores, however, DEA now appears to have
      8     changed its position to require that
      9     distributors not only report suspicious
     10     orders but investigate and halt suspicious
     11     orders."
     12                      This is a 2016 document by your
     13     trade organization, of which McKesson sits on
     14     the executive board, and its telling the DC
     15     Circuit Court of Appeals that it does not
     16     have a duty to investigate and halt
     17     suspicious orders.
     18                      Does McKesson validate this
     19     position?
     20                      MS. HENN:      Objection to form.
     21                      THE WITNESS:       Can you rephrase
     22             that for me?
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       Yeah.
     25                      In 2016, your trade

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      1     organization is telling the second highest
      2     court in the land, the DC Circuit Court of
      3     Appeals, that the DEA is now requiring them
      4     to investigate and halt suspicious orders.
      5                      Haven't we agreed that's been
      6     the duty since 1971?
      7                      MS. HENN:      Objection to form.
      8             Outside the scope.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       Tough position to defend, isn't
     11     it?
     12                      MS. HENN:      Same objections.
     13                      THE WITNESS:       You know, again,
     14             I -- I recognize that other
     15             distributors have different systems
     16             and have worked with DEA over the
     17             years on different methodologies,
     18             whether it's a threshold to block it
     19             or it's a hold and investigate and
     20             then block it.        And so, you know, I
     21             recognize that.
     22     QUESTIONS BY MR. FARRELL:
     23             Q.       You recognize this position is
     24     problematic given your experience, McKesson
     25     Corporation, with the DEA?

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      1                      MS. HENN:      Objection to form.
      2                      THE WITNESS:       I recognize that
      3             I'm sure there's lots of disagreements
      4             about this.
      5     QUESTIONS BY MR. FARRELL:
      6             Q.       Yeah.
      7                      But we're still trying to
      8     figure out from internal communications
      9     whether or not McKesson signed off on this
     10     brief.
     11                      Are you aware of whether or not
     12     they signed off on this?
     13                      MS. HENN:      Objection to form.
     14                      THE WITNESS:       I don't -- I am
     15             not aware of the process that goes
     16             into signing off on these briefs and
     17             what that specific looks like.             I know
     18             how trade organizations work and how
     19             they get to a point of consensus.
     20     QUESTIONS BY MR. FARRELL:
     21             Q.       Let me ask you in a different
     22     way.
     23                      We talked about the original
     24     enactment of the Controlled Substances Act
     25     where the penalty for engaging in unlawful

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      1     conduct should be prohibitive.
      2                      Do you remember talking about
      3     that this morning?
      4             A.       I do.
      5             Q.       And so in 2008, McKesson
      6     Corporation paid $13 million, and in 2017,
      7     McKesson paid $150 million.
      8                      What would happen in today's
      9     world if McKesson went to the DEA and said,
     10     "We don't have a duty to investigate and halt
     11     suspicious orders"?         What do you reckon would
     12     happen then?
     13                      MS. HENN:      Objection to form.
     14             Outside the scope.
     15                      THE WITNESS:       I'm not sure
     16             exactly what would happen, but they
     17             wouldn't be thrilled.
     18     QUESTIONS BY MR. FARRELL:
     19             Q.       So what do you think the fine
     20     will be next time?
     21             A.       I can't speculate what it would
     22     be.   It depends on the facts and
     23     circumstances and...
     24             Q.       So just simply stated, sitting
     25     here today, McKesson Corporation, do you

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      1     accept or reject the position your trade
      2     organization is taking regarding the
      3     interpretation of the shipping requirement
      4     and reporting requirement?
      5                      MS. HENN:      Objection to form.
      6             Outside the scope.
      7                      THE WITNESS:       I apologize.       Can
      8             you ask -- ask me again or rephrase?
      9             Do we accept --
     10     QUESTIONS BY MR. FARRELL:
     11             Q.       Yeah.
     12                      The sentence you see up there
     13     on the screen --
     14             A.       Yeah.
     15             Q.       -- submitted by your trade
     16     organization to which McKesson sits as an
     17     executive board member, this is a position in
     18     a legal document submitted to the second
     19     highest court in the United States of
     20     America.
     21                      Sitting here today, does
     22     McKesson Corporation accept or reject this
     23     position?
     24                      MS. HENN:      Objection to form.
     25             Outside the scope.

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      1                      THE WITNESS:       I'd say we accept
      2             this -- accept this --
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       You accept --
      5             A.       -- as part of that
      6     organization.
      7             Q.       What is that?
      8             A.       As being part of that
      9     organization.
     10             Q.       So your position today is
     11     McKesson does not have a duty to investigate
     12     and halt suspicious orders?
     13                      MS. HENN:      Objection to form.
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       You're in a tough spot here.
     16             A.       I can tell you what our program
     17     does, right?       We halt -- we block suspicious
     18     orders.
     19             Q.       All right.       So let's go
     20     further.     Page 8.     "The 2006 letter from Joe
     21     Rannazzisi fails to explain how the statutory
     22     command of the US Code 823 Section E, a
     23     command that the Attorney General consider
     24     when adjudicating an application for
     25     registration of the applicant's maintenance

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      1     of effective controls against diversion" --
      2                      MS. HENN:      I'm sorry, you're on
      3             page 8.     I believe the witness is on
      4             page 9.
      5                      THE WITNESS:       Oh, excuse me.
      6             Sorry.     I was figuring that out when I
      7             looked up there.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       I'm sorry.
     10             A.       No, that's me.
     11             Q.       Basically, the position in this
     12     brief is they're trying to figure out how in
     13     the world that 2006 letter became a command
     14     to distributors to engage in due diligence
     15     and avoid filling suspicious orders.
     16                      MS. HENN:      Objection to form.
     17     QUESTIONS BY MR. FARRELL:
     18             Q.       How can you defend this
     19     position, knowing that Masters Pharmaceutical
     20     opinion that was released rejected in its
     21     entirety this position?
     22                      So what I'm really trying to
     23     figure out is whether McKesson has been so
     24     intransigent that it continues to pay fines
     25     to the DEA fighting its interpretation of the

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      1     federal regulations until such time as the DC
      2     Circuit Court of Appeals told them so.
      3                      MS. HENN:      Objection to form.
      4                      MR. FARRELL:       Terrible
      5             question?
      6     QUESTIONS BY MR. FARRELL:
      7             Q.       You get the gist of what I'm
      8     asking you?
      9             A.       Can you ask it in a different
     10     way?
     11             Q.       Yeah.
     12                      This appears to say that
     13     McKesson does not have a duty to engage in
     14     due diligence, nor does it need to avoid
     15     filling suspicious orders.
     16                      Is that your position sitting
     17     here today?
     18                      MS. HENN:      Objection to form.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       "You can't make me," is that
     21     the position McKesson is taking?
     22                      MS. HENN:      Objection to form.
     23     QUESTIONS BY MR. FARRELL:
     24             Q.       I promise I'll quit if you just
     25     simply say that this position here is

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      1     nonsense.
      2                      MS. HENN:      Objection to form.
      3                      THE WITNESS:       I can say -- I
      4             can't say that it's nonsense.             I'm not
      5             sure how to answer this one
      6             specifically.
      7     QUESTIONS BY MR. FARRELL:
      8             Q.       Go to page Bates stamp 9.
      9     "Nothing in the federal regulations requires
     10     distributors to investigate the legitimacy of
     11     orders or to halt shipments of any orders
     12     deemed to be suspicious."
     13                      Does McKesson disavow this
     14     statement or agree with it?
     15                      MS. HENN:      Objection to form.
     16                      THE WITNESS:       You know, I do
     17             think the language of the regulations,
     18             you know, "design and operate a system
     19             to disclose suspicious orders," gets
     20             interpreted in many different ways,
     21             and that -- and that's how different
     22             organizations, distributors, develop
     23             their program.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Respectfully, that's how you

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      1     get fined $150 million.
      2                      MS. HENN:      Objection to form.
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       The next sentence:         "There is
      5     no prohibition on shipment of suspicious
      6     orders."
      7                      That's wrong, isn't it?
      8                      MS. HENN:      Objection to form.
      9     QUESTIONS BY MR. FARRELL:
     10             Q.       Make it easier.        Let's go to
     11     page 12.
     12                      "DEA's regulations had sensibly
     13     imposed a duty on distributors simply to
     14     report suspicious orders, but left it to DEA
     15     and its agents to investigate and halt
     16     suspicious orders."
     17                      Nonsense or not nonsense?
     18                      MS. HENN:      Objection to form.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       Or no comment?        I'm giving you
     21     an out.
     22             A.       I would say no comment.           I'm
     23     not sure how to answer that specifically.
     24             Q.       Well, the answer should be
     25     someone needs to call HDMA and figure out why

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      1     they're taking nonsense positions, but I'll
      2     leave that to somebody else.
      3                      All right.       Homestretch.       Some
      4     toys.    As many at this table probably know,
      5     I'm the ARCOS nerd.
      6                      You're familiar with ARCOS?
      7             A.       I'm familiar with what it is,
      8     yep.
      9             Q.       I'm the guy that's been banging
     10     away trying to get access to ARCOS for the
     11     better part of a year and a half, and I got
     12     some.
     13                      Now, what this is is the
     14     transactions by every distributor in the
     15     country between 2006 and 2014, and it's
     16     related to Cuyahoga and Summit County.                Now,
     17     we also have the rest of the country, so I'm
     18     able to determine national averages, state
     19     averages and county averages for every
     20     distributor, including McKesson.              But we're
     21     not going to get into all of that today
     22     because what I really need is I need the
     23     transactional data dating back to 1996.                I'm
     24     missing a decade.        I have '06 to 2014.
     25                      Last week, July 25th, your

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      1     counsel provided a spreadsheet that gave us
      2     2006 to 2018.       All right?      So we've had it
      3     for a week.      I played with it a little bit.
      4                      But I don't have the decade
      5     from the launch of OxyContin to 2006 yet, but
      6     I'm working on it.         So one day we may come
      7     back and have to talk about this
      8     transactional data in a different context.
      9                      But that being said, one of the
     10     interesting things that I did was I grabbed
     11     the data provided by your counsel, and I
     12     pulled it up and took a look at it.
     13                      MR. FARRELL:       Corey, can you
     14             pull that up?
     15     QUESTIONS BY MR. FARRELL:
     16             Q.       Now, the first thing I want you
     17     to note is this is highly confidential.
     18     Nobody in here is allowed to talk about it
     19     outside this room.
     20                      And it's MCKMDL00478913.
     21                      MR. FARRELL:       Is that right?
     22                      MS. HENN:      I see
     23             MCKMDL00478913.        That may be the same.
     24     QUESTIONS BY MR. FARRELL:
     25             Q.       Okay.     Can either you or your

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      1     counsel confirm that this is the complete
      2     transactional data for McKesson in Cuyahoga
      3     and Summit counties between 2006 and 2018?
      4                      MS. HENN:      Object to form.
      5                      Go ahead.
      6                      THE WITNESS:       I wasn't involved
      7             in pulling it, so I can't -- without
      8             seeing, I can't confirm that it's
      9             everything.
     10                      MR. FARRELL:       Yeah, it's really
     11             a question for your counsel, but I'm
     12             not allowed to put her under oath, so
     13             I'm hoping she'll volunteer.
     14                      MS. HENN:      That's my
     15             understanding, but I'm not the person
     16             who is most knowledgeable about this,
     17             so you should ask one of my
     18             colleagues.
     19     QUESTIONS BY MR. FARRELL:
     20             Q.       So all of these questions are
     21     predicated on the fact that this appears to
     22     be the transactional data that was uploaded
     23     to RICOH Relativity by McKesson, but because
     24     there's no discovery document that itemizes
     25     what's what, this is all I know.

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      1                      Spreadsheet has up top the
      2     Bates stamp number.
      3                      MR. FARRELL:       And, Corey, if
      4             you'll click on the letter A, it'll
      5             tell us how many transactions there
      6             are.
      7     QUESTIONS BY MR. FARRELL:




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      7                      MS. HENN:      Objection to form.
      8     QUESTIONS BY MR. FARRELL:
      9             Q.       Because remember, there was a
     10     period of time where there were 300,000
     11     prescriptions of OxyContin, and then -- in
     12     '96, and then by 2001 there were 6 million,
     13     right?
     14                      So when we get the data for the
     15     first ten years, we're going to see a
     16     progression of the number of pills being
     17     delivered.      Okay?
     18                      So one of the things that I'm
     19     going to have you do is we're able to do some
     20     analysis with the ARCOS data.
     21                      MR. FARRELL:       So, Corey, if
     22             you'll bring up Summit County PDF.
     23                      MS. HENN:      Do you have a
     24             document that we can look at?             No?
     25                      MR. FARRELL:       Not yet, no.

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      1     QUESTIONS BY MR. FARRELL:




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      1                      MS. HENN:      Counsel, just -- I
      2             just want to interpose really quickly.
      3             We would like this in the record with
      4             an exhibit number, at least maybe the
      5             version you have.         I think that's
      6             going to be necessary to understand
      7             the deposition transcript and required
      8             by the protocol.
      9                      MR. FARRELL:       That's fair
     10             enough.
     11                      MS. HENN:      But I don't want to
     12             interrupt you.        Please continue.
     13     QUESTIONS BY MR. FARRELL:
     14             Q.       So now what I'm going to do is
     15     I'm going to -- we're going --             --




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     25             Q.       Okay.     Fair enough.

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      1             A.       Okay.
      2             Q.       Maybe somebody can testify that
      3     they recall about it.
      4             A.       Yeah.




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     15                      MR. FARRELL:       Counsel?
     16                      MS. HENN:      Again, I'm not the
     17             best person to ask that question of.
     18             You can ask the witness if you'd like.
     19     QUESTIONS BY MR. FARRELL:




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      4             Q.       So you understand the position
      5     about reporting suspicious customers McKesson
      6     made to the United States District Attorney
      7     in northern West Virginia and resulted in
      8     you-all getting fined 150 million.               So what
      9     I'm trying to figure out is whether or not
     10     the same systemic errors were going on for --
     11     which resulted in these pills going to
     12     Cuyahoga and Summit County.
     13                      Do you see where I'm going with
     14     it?
     15                      MS. HENN:      And, Counsel, I
     16             would just point out that he said he
     17             had a couple parts to his answer, and
     18             we need to listen to his whole answer
     19             to know what it is.
     20                      Go right ahead.




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     14     QUESTIONS BY MR. FARRELL:




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      6     QUESTIONS BY MR. FARRELL:
      7             Q.       Do you agree that one of the
      8     foreseeable harms of engaging in unlawful
      9     conduct in the distribution of prescription
     10     opioids is diversion?
     11                      MS. HENN:      Objection.       Form.
     12                      THE WITNESS:       Could you ask
     13             that again?
     14     QUESTIONS BY MR. FARRELL:
     15             Q.       One of the harms --
     16             A.       You said foreseeable first, but
     17     harms --
     18             Q.       I'll go back and do it.
     19                      Do you agree that one of the
     20     foreseeable harms of engaging in unlawful
     21     conduct in the distribution of prescription
     22     opioids is diversion?
     23                      MS. HENN:      Objection to form.
     24                      THE WITNESS:       I think it can
     25             be.

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      1     QUESTIONS BY MR. FARRELL:
      2             Q.       Do you agree that filling
      3     suspicious orders is a direct and proximate
      4     cause of prescription opioid abuse,
      5     addiction, morbidity and mortality?
      6                      MS. HENN:      Objection to form.
      7                      THE WITNESS:       Filling specific
      8             orders?
      9                      MS. HENN:      Suspicious orders is
     10             the word he used.
     11                      THE WITNESS:       Suspicious
     12             orders.
     13                      There's a lot of reasons for --
     14             that orders may get flagged as
     15             suspicious, so I think it depends.
     16     QUESTIONS BY MR. FARRELL:
     17             Q.       That's fair.
     18             A.       They'll get flagged as an order
     19     of unusual size, frequency or pattern and not
     20     mean that it's suspicious or
     21     diversion-related.
     22             Q.       Do you believe the prescription
     23     opiate epidemic is an immediate hazard to
     24     public health and safety?
     25                      MS. HENN:      Objection to form.

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      1                      THE WITNESS:       How do you -- how
      2             are you defining "immediate hazard"?
      3     QUESTIONS BY MR. FARRELL:
      4             Q.       A hazard.
      5             A.       A hazard?
      6                      Sure.
      7                      MR. FARRELL:       Okay.     We will
      8             adjourn with the reservation of rights
      9             for one day, continuing the subject
     10             matters that most interest the
     11             plaintiffs in the MDL in the 30(b)(6)
     12             notices.
     13                      MS. HENN:      And, I mean, we will
     14             object to continuing past the limit
     15             set by the Court.         We feel that there
     16             was a lot of time today that was spent
     17             asking legal questions that could have
     18             been spent on topics.
     19                      MR. FARRELL:       There was also a
     20             lot of time spent reading documents
     21             that were listed in my 30(b)(6).
     22                      MS. HENN:      Documents that you
     23             put in front of the witness and wanted
     24             him to read.
     25                      But more importantly, I wanted

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      1             to ask the court reporter to please
      2             designate this transcript
      3             provisionally highly confidential,
      4             which is required under the deposition
      5             protocol, and I also wanted to reserve
      6             the right to read and sign.
      7                      I have no questions, and so I
      8             think we are finished.
      9                      VIDEOGRAPHER:        Okay.    The time
     10             is 5:47 p.m., July 31, 2018.             Going
     11             off the record completing today's
     12             videotaped session.
     13                      (McKesson-Hartle Exhibit 40
     14             marked for identification.)
     15          (Deposition concluded at 5:47 p.m.)
     16                         – – – – – – –
     17

     18

     19

     20

     21

     22

     23

     24

     25

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      1                            CERTIFICATE
      2
      3                I, CARRIE A. CAMPBELL, Registered
            Diplomate Reporter, Certified Realtime
      4     Reporter and Certified Shorthand Reporter, do
            hereby certify that prior to the commencement
      5     of the examination, Nathan J. Hartle was duly
            sworn by me to testify to the truth, the
      6     whole truth and nothing but the truth.
      7                I DO FURTHER CERTIFY that the
            foregoing is a verbatim transcript of the
      8     testimony as taken stenographically by and
            before me at the time, place and on the date
      9     hereinbefore set forth, to the best of my
            ability.
     10
                       I DO FURTHER CERTIFY that I am
     11     neither a relative nor employee nor attorney
            nor counsel of any of the parties to this
     12     action, and that I am neither a relative nor
            employee of such attorney or counsel, and
     13     that I am not financially interested in the
            action.
     14
     15
                    ____________________________
     17             CARRIE A. CAMPBELL,
                    NCRA Registered Diplomate Reporter
     18             Certified Realtime Reporter
                    California Certified Shorthand
     19             Reporter #13921
                    Missouri Certified Court Reporter #859
     20             Illinois Certified Shorthand Reporter
                    #084-004229
     21             Texas Certified Shorthand Reporter #9328
                    Kansas Certified Court Reporter #1715
     22             Notary Public
     23             Dated: August 3, 2018
     24
     25

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      1                    INSTRUCTIONS TO WITNESS
      2

      3                    Please read your deposition over
      4     carefully and make any necessary corrections.
      5     You should state the reason in the
      6     appropriate space on the errata sheet for any
      7     corrections that are made.
      8                    After doing so, please sign the
      9     errata sheet and date it.           You are signing
     10     same subject to the changes you have noted on
     11     the errata sheet, which will be attached to
     12     your deposition.
     13                    It is imperative that you return
     14     the original errata sheet to the deposing
     15     attorney within thirty (30) days of receipt
     16     of the deposition transcript by you.               If you
     17     fail to do so, the deposition transcript may
     18     be deemed to be accurate and may be used in
     19     court.
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Case: Highly
      1:17-md-02804-DAP Doc #:-1978-3
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                                Subject         Further370Confidentiality
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                                                                               Review

      1                 ACKNOWLEDGMENT OF DEPONENT
      2
      3
      4                      I,______________________, do
            hereby certify that I have read the foregoing
      5     pages and that the same is a correct
            transcription of the answers given by me to
      6     the questions therein propounded, except for
            the corrections or changes in form or
      7     substance, if any, noted in the attached
            Errata Sheet.
      8
      9
     10
     11
     12     ________________________________________
            Nathan J. Hartle                          DATE
     13
     14
     15     Subscribed and sworn to before me this
     16     _______ day of _______________, 20 _____.
     17     My commission expires: _______________
     18
     19     Notary Public
     20
     21
     22
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     24
     25

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Case: Highly
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                                                                               Review

      1                          – – – – – – –

                                       ERRATA
      2                          – – – – – – –
      3      PAGE     LINE     CHANGE
      4      ____     ____     _____________________________
      5      ____     ____     _____________________________
      6      ____     ____     _____________________________
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Case: Highly
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                                                                               Review

      1                          – – – – – – –

                                 LAWYER'S NOTES
      2                          – – – – – – –
      3      PAGE     LINE
      4      ____     ____     _____________________________
      5      ____     ____     _____________________________
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     24      ____     ____     _____________________________
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